    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 1 of 128




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


IN RE: EpiPen (Epinephrine
       Injection, USP) Marketing,                            MDL No: 2785
       Sales Practices and Antitrust
       Litigation                                            Case No. 17-md-2785-DDC-TJJ


(This Document Applies to
Consumer Class Cases)


______________________________________

                               MEMORANDUM AND ORDER

        This Order addresses the pending Motions to Dismiss in one of the two separate tracks of

this MDL—the consumer class cases track. The consumer class track consists of cases filed by

individual consumers or third-party payors who allege they purchased EpiPens for consumption

by themselves, their families, or their members, employees, insureds, participants, or

beneficiaries. After the Judicial Panel on Multidistrict Litigation transferred five consumer class

cases and one other filed by Sanofi-Aventis U.S. LLC (“Sanofi”) to our court for coordinated

and consolidated proceedings (Docs. 1, 5, & 9), the consumer class plaintiffs filed a

Consolidated Class Action Complaint (“Class Complaint”) (Doc. 60). The Class Complaint

asserts federal and state antitrust claims, federal RICO Act violations, various state consumer

protection law violations, and unjust enrichment claims. The Class Complaint also seeks class

action certification.

        The Class Complaint asserts its claims against two groups of defendants who are either

sellers or manufacturers of the EpiPen. One group consists of defendants Mylan N.V., Mylan

Specialty L.P., Mylan Pharmaceuticals, Inc., and Mylan’s CEO Heather Bresch (collectively “the
     Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 2 of 128




Mylan Defendants”). The other group of defendants consists of Pfizer, Inc., King

Pharmaceuticals, Inc., and Meridian Medical Technologies, Inc. (collectively “the Pfizer

Defendants”). When referring to both sets of defendants, this Order simply calls them,

collectively, “defendants.”

        Defendants have filed separate motions asking the court to dismiss the Class Complaint.

Doc. 92 (Pfizer Defendants’ Motion to Dismiss Plaintiffs’ Consolidated Class Action

Complaint); Doc. 94 (Mylan Defendants’ Motion to Dismiss Plaintiffs’ Consolidated Class

Action Complaint). The class plaintiffs have submitted an Omnibus Response to the Motions to

Dismiss. Doc. 123. And both sets of defendants have filed Replies. Doc. 216 (Pfizer

Defendants’ Reply); Doc. 219 (Mylan Defendants’ Reply). Also, on March 14, 2018, the Mylan

Defendants submitted a Notice of Supplemental Authority under D. Kan. Rule 7.1(f). Doc. 394.

The class plaintiffs filed a response, objecting to the supplemental submission. Doc. 403. Then,

on July 6, 2018, the class plaintiffs filed a Notice of Supplemental Authority (Doc. 765), and the

Mylan Defendants submitted a response to their submission (Doc. 785). On July 11, 2018, the

class plaintiffs filed another Notice of Supplemental Authority (Doc. 781), and the Mylan

Defendants filed a response to that submission as well (Doc. 803). Finally, on August 12, 2018,

the class plaintiffs filed another Notice of Supplemental Authority (Doc. 874), and the Mylan

Defendants filed a response to that submission (Doc. 889).

        Thus, to say the least, the Motions to Dismiss are now thoroughly and fully briefed.

After carefully considering the arguments presented by the parties’ filings, the court is prepared

to rule.1 For the reasons explained below, the court grants defendants’ motions in part and

denies them in part.

                                                            
1
               Mylan has filed a Request for Oral Argument on their Motion to Dismiss under D. Kan. Rule 7.2.
Doc. 220. D. Kan. Rule 7.2 provides: “The court may set any motion for oral argument or hearing at the

                                                      2
 
     Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 3 of 128




        I.      Factual Background

        The following facts come from the Class Complaint. The court accepts the facts asserted

in the Class Complaint as true and views them in the light most favorable to the class plaintiffs.

Mayfield v. Bethards, 826 F.3d 1252, 1255 (10th Cir. 2016) (citation omitted).

        The EpiPen2 is a disposable, prefilled automatic injection device that delivers epinephrine

(also known as adrenaline) to treat severe allergic reactions known as anaphylaxis. Anaphylaxis

is a life-threatening allergic reaction that can occur rapidly after exposure to an allergen.

Anaphylaxis manifests in a variety of symptoms, including swelling of the tongue and throat,

vomiting, reduced blood pressure, difficulty breathing, and, if untreated, death. Most commonly,

anaphylaxis is caused by food allergens, but medications, latex, insect bites, and other unknown

substances also can cause anaphylaxis. About 15 million people have food allergies in the

United States. One of every 13 children in the United States has serious food allergies. And,

each year, allergic reactions account for some 200,000 emergency room visits. Anaphylaxis is

always considered a life-threatening medical emergency.

        Epinephrine is used to treat anaphylaxis and is available only by prescription. To treat

anaphylaxis effectively, one must administer epinephrine immediately. As little as a thirty

minute delay in applying epinephrine can cause death. As a result, patients prone to anaphylaxis




                                                            
request of a party or on its own initiative.” After reviewing the parties’ written submissions, the court
finds that they explain the parties’ positions quite effectively. The court concludes that oral argument will
not assist its work and thus, to grant it, would contradict Fed. R. Civ. P. 1. It is, simply, unnecessary.
Exercising its discretion, the court denies Mylan’s request.
2
        The Class Complaint uses the term “EpiPen” to refer to the EpiPen®, EpiPen 2-Pak®, EpiPen
Jr.®, EpiPen Jr. 2-Pak®, My EpiPen®, LIFE HAPPENS®, EpiPen4Schools®, Never-See-Needle®, and
Be Prepared®. Like the Class Complaint, the court refers to these devices collectively as the “EpiPen”
and omits the ® for readability.

                                                     3
 
     Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 4 of 128




are advised to carry an epinephrine auto-injector (“EAI”) at all times. By doing so, a patient can

use the EAI in an emergency when a risk of a severe allergic reaction presents itself.

        In 2007, Mylan acquired the right to market and distribute the EpiPen. Pfizer is the

exclusive supplier of EpiPens to Mylan. Pfizer provides Mylan with 100% of its EpiPen supply

through two of its wholly owned subsidiaries—King Pharmaceuticals, Inc., and Meridian

Medical Technologies, Inc.—who manufacture the epinephrine and hold the EpiPen patents.

Since at least 2009, Mylan’s market share of EAI devices in the United States EAI market has

remained above 80%. Since 2009, Mylan’s market share consistently has exceeded 90%, and, in

2012, its share was almost 100%. During the same time—and while the cost of the EpiPen’s

dose of epinephrine has remained about $1—Mylan has increased the EpiPen’s price by more

than 600%. In 2007, Mylan priced the EpiPen at $100. By 2016, Mylan was charging more than

$600. In 2015, Mylan announced that the EpiPen had reached $1 billion in annual sales for the

second consecutive year—up from $200 million in 2007.

        The Class Complaint alleges that the Mylan and Pfizer Defendants have maintained a

monopoly over the EpiPen market and its profitable revenues by devising an illegal scheme to

monopolize the market for EAI devices. The Class Complaint asserts that defendants carried out

their illegal scheme through several different avenues. The following paragraphs briefly

summarize each one, as the Class Complaint describes them.

    The Mylan Defendants Paid Pharmacy Benefit Managers (PBMs) to Exclude Competition

        Pharmacy Benefit Managers (“PBMs”) are third-party administrators of prescription drug

programs for commercial health plans, self-insured employer plans, Medicare Part D plans, the

Federal Employees Health Benefits Program, and state government employee plans. More

specifically, PBMs administer a health coverage provider’s prescription benefit program by



                                                 4
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 5 of 128




developing the coverage provider’s formulary (the list of prescription benefits included in the

coverage at various pricing “tiers”), processing claims, creating a network of retail pharmacies

who provide discounts in exchange for access to a provider’s plan participants, and negotiating

with manufacturers. The significant majority of patients with prescription drug insurance

coverage receive their benefits through a third-party payor whose drug formulary is determined

by a PBM. From 2013 to 2015, commercial third-party payors accounted for about 71% of the

EAI drug device market in the United States. So, for a competitor to enter and compete

vigorously in the EAI drug device market, it is imperative that it access these third-party payors’

drug formularies.

       Between 2013 and 2015, the Mylan Defendants took advantage of their monopoly power

by imposing significant increases in the EpiPen’s price. Mylan then used the additional profit

margins to offer PBMs significantly higher rebates and percentage discounts conditioned upon

exclusive or preferred placement on the PBMs’ drug formularies. For example, when Sanofi

launched a rival EAI device—Auvi-Q—in 2013, Mylan began taking steps to block Auvi-Q from

drug formularies. It did so by offering large rebates to the PBMs who controlled the formularies

for third-party payors—30% or higher—and expressly conditioning those rebates on:

(a) granting the EpiPen exclusive position on the formulary; and (b) removing (or severely

restricting) access to Auvi-Q. Mylan also targeted another rival EAI device—Adrenaclick—with

the exclusionary rebate program. Adrenaclick’s market share has ranged from only 2% in 2013

to 8% in 2016. Mylan knew that Adrenaclick—as well as Auvi-Q—could not raise prices to

inflate their margins sufficiently to offer rebates or discounts similar to those that Mylan was

offering to PBMs. In 2014, CVS Caremark added Adrenaclick to its Formulary Drug Removals




                                                 5
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 6 of 128




List, effectively removing a consumer or other end-payor’s opportunity to purchase Adrenaclick

as an alternative to the EpiPen.

       The class plaintiffs allege that the Mylan Defendants’ exclusionary rebate scheme

deprives patients of a fair price for EAI devices—the price that would result from normal market

forces. Instead of lowering its prices to gain market share, Mylan bargains for its market share

by providing ever-larger rebates and other kickbacks to PBMs, conditioned on exclusive

relationships with those PBMs. Mylan can position itself on the drug formularies by using its

monopoly power to charge consumers higher prices for its product. It then can share these

revenues with the PBMs (the ones who create the formularies) through substantially enhanced

rebates conditioned on excluding insurance coverage for rival products. This conduct, in turn,

inflates the prices that consumers pay for the EpiPens so that Mylan can preserve its net realized

price and sales volumes. The class plaintiffs contend that the net effect of this scheme harms

both consumers and competitors alike.

           The Mylan Defendants Entered into an Exclusive School Access Scheme

       The class plaintiffs next assert that the Mylan Defendants leveraged the EpiPen’s

dominant market position to foreclose competition in an EAI submarket—i.e., American public

schools. They did so by offering to supply a portion of each school’s need for EAI devices on a

free or discounted basis but conditioning those discounts on the school entering an exclusive

dealing contract. The Mylan Defendants created this important submarket by increasing federal

lobbying efforts to gain access to parents, educators, and medical professionals in public schools.

As part of the lobbying effort, Mylan spent a reported $4 million specifically lobbying to pass

the School Access to Emergency Epinephrine Act. The law was enacted in 2013. It gives

federal funding priority to schools who stockpile EAIs. Mylan’s lobbying efforts proved



                                                 6
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 7 of 128




enormously successful. Now, a majority of states permit their public schools to stockpile EAIs

while eleven states require EAI stockpiling. Given the EpiPen’s dominant market position, the

Act not only has provided EpiPen access to schools, but also it has mandated some schools to

stockpile the product.

       After securing the EAI stockpiling requirement, Mylan acted quickly to exclude

competing EAIs from this valuable school submarket. As part of the Mylan Defendants’

scheme, Mylan launched the “EpiPen4Schools” program. The program gives away free and

discounted EpiPens to school districts—ones subject to the new law now requiring (or strongly

encouraging) them to stockpile the devices. But Mylan conditioned the free and discounted

EpiPens on the schools entering exclusive dealing agreements with Mylan. The purpose of these

exclusive dealing agreements was to exclude competitors—like Auvi-Q and Adrenaclick—from

the public school submarket. In the fall of 2016, the New York Attorney General and members

of the United States Senate announced investigations into the anticompetitive terms of Mylan’s

EpiPen4Schools program. Later, Mylan eliminated the EpiPen4Schools program’s exclusivity

requirement.

         Defendants, Working Together, Used the Judicial and Regulatory Processes
                               to Protect their Monopoly

       The Class Complaint next asserts that the Mylan and Pfizer Defendants worked “hand-in-

hand,” using patent litigation and the Food and Drug Administration (“FDA”) regulatory process

to erect barriers to market entry and delay EAI competition. Class Compl. ¶ 314. The Pfizer

Defendants own the patents protecting the EpiPen and serve as the contract supplier of the

product. The Mylan Defendants own the trademarked brand names and control the worldwide

marketing and sale of the product. Together, defendants have a unified interest in protecting the

EpiPen monopoly. So, the class plaintiffs allege, defendants collaborated to enhance the

                                                7
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 8 of 128




EpiPen’s sales volume and profitability, fend off competitors, and protect the EpiPen patents by

using the judicial and regulatory process to restrain competition.

       Defendants did so by adding several more patents to the already-patented EpiPen to

prevent the launch of competing generics. Defendants have four patents on the EpiPen.

According to the class plaintiffs, none of them are designed to enhance the product. Instead, the

patents’ purposes are to stop generic competitors. Indeed, Mylan CEO Heather Bresch

announced during a public earnings call in 2009 that Mylan was adding another patent to the

already-patented EpiPen device that “will also put in another barrier to entry because . . . now

that market preferential would be the needle protected device and drug of which we have IP and

stuff around. So I just think it is a very, very difficult hurdle to get through, and so feel confident

that EpiPen is in good shape.” Class Compl. ¶ 238. On September 14, 2010, Meridian secured

U.S. Patent No. 7,794,432—less than three weeks before Intelliject (the inventor of Auvi-Q)

submitted its New Drug Application (“NDA”) to the FDA.

       Defendants also worked together to stop generic competition to the EpiPen by filing

patent infringement lawsuits. They filed such lawsuits against three generic EpiPen rivals—

Sandoz, Teva, and Intelliject—and then entered into anticompetitive settlements with impending

generic manufacturers.

                                          Teva Settlement

       In December 2008, Teva filed an Abbreviated New Drug Application (“ANDA”) seeking

FDA approval to market a generic EpiPen. In August 2009, Pfizer’s subsidiaries—King and

Meridian—sued Teva for infringing U.S. Patent No. 7,449,012 (“the Teva Litigation”). In

November 2010, King and Meridian filed a First Amended Complaint that included a claim for




                                                  8
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 9 of 128




infringing the newly secured ’432 patent. Later, King and Meridian dropped their claims based

on infringing the ’012 patent, leaving only the claims for infringing the ’432 patent.

       After discovery and a bench trial in March 2012, the parties settled the Teva Litigation on

April 27, 2012. According to the class plaintiffs, defendants and Teva entered an unlawful

settlement agreement that required Teva to delay launching its generic EAI for three years—until

June 22, 2015—in exchange for defendants providing significant consideration, incentives, and

benefits to Teva. The Class Complaint lists several facts about the Teva settlement that, the class

plaintiffs contend, show defendants made a substantial “reverse payment” to Teva to convince it

to delay bringing its competing product to market. These facts include:

              The court’s Markman rulings interpreting the terms of the ’432 patent were

               favorable to Teva.

              The parties settled the litigation after completing a full bench trial, meaning that

               the parties likely would incur marginal litigation expenses going forward, as

               compared to the expenses already incurred at settlement.

              No rational economic actor with a viable product (and who had spent millions of

               dollars developing it) would refrain from entering a lucrative market for 36

               months unless it received monetary compensation in exchange for non-entry.

              In 2012, the Federal Trade Commission reported seeing “a record number of

               settlements involv[ing] potential pay-for-delay agreements,” and that, in patent

               settlements involving a “first-filer” like Teva, the majority of the settlements

               involved explicit compensation in return for delayed entry (Class Compl. ¶¶ 267–

               68).




                                                 9
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 10 of 128




              On the same day of the Teva settlement, Mylan issued a joint press release

               announcing the settlement on its own behalf and for Pfizer.

              Four days after announcing the Teva settlement, Teva and Mylan settled another

               lawsuit where Teva had asserted patent infringement claims against Mylan based

               on Mylan’s application to market a generic version of Teva’s drug, Nuvigil. With

               the Nuvigil settlement, Mylan agreed to delay market entry until June 2016. Like

               the EpiPen, Nuvigil had annual sales hovering near $1 billion. So, procuring

               delayed entry of generics for both Nuvigil and the EpiPen was valuable to all

               parties involved.

              The Teva settlement has come under congressional scrutiny as a “pay-for-delay”

               agreement.

       During the same time period, the Teva settlement also prevented competition from any

other generic EAI device. Defendants knew that their agreement with Teva would delay market

entry because Teva was subject to the Hatch-Waxman Act’s 180-day exclusivity award. This

provision grants a six-month exclusivity period to the first generic to challenge a brand firm’s

patent, claiming it is invalid or not infringed. The exclusivity period begins when the first-filing

generic enters the market. Here, Teva was the first filer. So, with Teva delaying its market entry

under the parties’ settlement, Teva’s exclusivity period could not begin running until at least

three years in the future. As a result, defendants delayed all generics seeking ANDA

applications based on the EpiPen.

       In a public earnings call, Mylan’s CEO Heather Bresch described how the Teva

settlement had delayed market competition. Also, she appeared to concede that Mylan had

participated in the Teva settlement. In July 2012, she stated publicly: “So we certainly have


                                                 10
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 11 of 128




seen a benefit [to growing the EpiPen market] and obviously, now with the runway absolutely

clear for us through 2015, through our settlement with Teva, I can assure you, we are going to

continue as we see [the] response continue to invest in EpiPen as a franchise.” Class Compl. ¶

277 (emphasis added).

                                       Intelliject Settlement

       Defendants initiated another patent lawsuit against Intelliject—the inventor of Auvi-Q—

when Intelliject sought FDA approval for its competing EAI. In 2009, Sanofi announced it had

acquired the rights to Intelliject’s EAI and that under its license, Sanofi would manufacture and

commercialize the product while Intelliject would continue developing the product and work to

secure regulatory approval. On January 11, 2011, defendants—through King—filed a patent

infringement lawsuit against Intelliject seeking to block FDA approval of its NDA for its

product—one that later became known as Auvi-Q. King’s lawsuit alleged that Intelliject’s EAI

infringed the ’432 patent—a patent that Meridian secured more than a year after Intelliject began

developing its product and less than three weeks before Intelliject filed its NDA.

       On August 1, 2011—less than eight months after King filed its lawsuit—the FDA

announced that it was giving Intelliject’s EAI tentative final approval, pending resolution of the

patent litigation that King filed. Six months later, the parties announced that they had settled the

Intelliject litigation. Again, Mylan announced the settlement jointly for itself and Pfizer.

Although the parties did not make public the specific terms of the agreement, they announced

that the agreement prevented Intelliject and Sanofi from launching their EAI product for another

nine months—until November 15, 2012. Intelliject and Sanofi made the agreement not to enter

the market until November 15, 2012, in exchange for valuable consideration. Through the




                                                 11
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 12 of 128




Intelliject litigation, defendants effectively blocked competition from Intelliject’s competing

device for almost two years.

                                        Sandoz Settlement

       In 2010, another EAI competitor—Sandoz, Inc. (“Sandoz”)—attempted to enter the EAI

market by filing an ANDA for its own generic EpiPen alternative. Similar to the other lawsuits

against Teva and Intelliject, defendants—through King—filed a patent infringement suit against

Sandoz. According to the class plaintiffs, defendants’ approach to Sandoz was to stall its ANDA

by staying the action. The court administratively terminated the Sandoz litigation, giving the

parties the ability to reopen the case by letter request. No party has reopened the case. So, to

date, Sandoz’s FDA approval and any definitive ruling on the EpiPen patents are stayed

indefinitely. The class plaintiffs allege that defendants entered an agreement with Sandoz to stay

the case in exchange for valuable consideration paid to Sandoz.

                                      FDA Citizen Petition

       The Class Complaint next alleges that, with Teva’s generic EAI entry into the market

looming, defendants took another step to block generic competition from the market by filing an

FDA Citizen Petition. An FDA Citizen Petition provides the public with an avenue to present

safety concerns to the FDA. But here, the class plaintiffs allege, defendants used the FDA

Citizen Petition process to delay—further—Teva’s entry into the market and to prevent Teva’s

product from competing with the EpiPen.

       On January 16, 2015, Mylan filed a Citizen Petition “a mere six months before Teva was

scheduled (pursuant to the settlement) to enter the market.” Class Compl. ¶ 311. Antitrust

scholar Michael Carrier of Rutgers Law School described Mylan’s Petition in this fashion:

       In its petition, Mylan contended that Teva should be required to demonstrate that
       its product was the “same as” Mylan’s EpiPen. In other words, even though the

                                                12
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 13 of 128




       parties had already agreed through settlement to delay Teva’s generic entry for
       more than three years, Mylan sought to further delay the entry of Teva’s generic
       through its citizen petition.

       In addition to its January 2015 petition, the company waited almost five months
       after filing and only weeks before the FDA was required to respond, until May
       2015, to supplement its petition with a 48-page independent study purportedly
       showing that patients would not use Teva’s generic product correctly.

       Given that Teva’s generic product had been in development for at least six years
       before the petition’s filing, this late-filing of a supplemental study implicates
       significant timing questions. Why would such a study be submitted only weeks
       before the FDA was required to respond under the FDA’s 150-day clock?

Id. (quoting Michael A. Carrier & Daryl Wander, Citizen Petitions: An Empirical Study, 34

Cardozo L. Rev. 249, 279 (2012)). According to the class plaintiffs, Mylan’s submissions to the

FDA rested on fundamentally flawed studies and the medical opinions of a doctor whom Mylan

had paid some $95,000 in fees.

       According to the class plaintiffs, without defendants’ use of the FDA Citizen Petition

process, Teva would have entered the market much sooner after addressing any FDA concerns

and securing FDA approval. The class plaintiffs also assert that, from 2009 to present,

defendants’ actions deterred not only Teva, but also many more potential generics companies

from developing and launching competing products.

                           Defendants Implement a Pricing Scheme

       The Class Complaint next alleges that the Mylan Defendants implemented a pricing

scheme that defrauded U.S. consumers into paying an inflated price for the EpiPen—one that

climbed by more than 500%. The Mylan Defendants allegedly implemented this pricing scheme

working alongside PBMs. Mylan is a generics company that typically makes low margins on

drug sales. But the EpiPen—a specialty branded drug—represented a unique and highly

profitable revenue stream for Mylan. Recognizing this opportunity, Mylan CEO Heather Bresch



                                               13
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 14 of 128




and other executives decided to exploit the EpiPen to generate billions of dollars in revenue for

Mylan. According to the class plaintiffs, the Mylan Defendants and the PBMs distracted

consumers and regulators from the reality that defendants were raising the price of the EpiPen

from $100 to $600 by launching a campaign of false and misleading statements and actions.

         One of the ways that the Mylan Defendants allegedly implemented their pricing scheme

was changing the way Mylan sold the EpiPen. On August 24, 2011, Mylan announced that it no

longer would sell individual EpiPens in the U.S. Instead, Mylan forced U.S. consumers to

purchase EpiPens in pairs with the EpiPen 2-Pak. The class plaintiffs refer to this change as the

“hard switch.” And the class plaintiffs allege that the “hard switch” forced consumers and third-

party payors to overpay for the EpiPen 2-Pak because the switch, in effect, doubled the EpiPen’s

price.

         From 1987 to 2011, Mylan and others had sold the EpiPen one at a time in the U.S.

without incident. Nothing changed in 2011 that required Mylan to sell the EpiPen as a 2-Pak.

The EpiPen 2-Pak is just two individual EpiPens connected by a grey piece of plastic. The class

plaintiffs allege that no medical reason exists to force customers to purchase a 2-Pak instead of a

single EpiPen. Instead, Mylan deceptively suggested that the 2-Pak was medically required even

though EpiPens are sold individually in every other country besides the United States. Also,

Mylan’s packaging offers no medical instructions or guidelines for patients to know whether, or

when, to administer the second back-up EpiPen.

         Beginning in 2011, Mylan began raising the price of the EpiPen while forcing customers

to buy EpiPens in the 2-Pak. In October 2011, Mylan increased the price of an EpiPen 2-Pak to

$181. And by May 2016, the price of an EpiPen 2-Pak jumped to $608.




                                                14
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 15 of 128




       The Mylan Defendants Have Made Various Misrepresentations and Omissions
                 in an Effort to Conceal Their Anticompetitive Conduct

       Finally, the Class Complaint alleges that the Mylan Defendants have spread false and

misleading information and omitted material information as part of their scheme to monopolize

the EAI market. They spread, the Class Complaint alleges, four broad categories of false and

misleading information.

       First, the class plaintiffs allege, Mylan created and spread misinformation about a

competing EAI device—Auvi-Q. Although the FDA had determined that the epinephrine in

Auvi-Q is a bioequivalent to the epinephrine in the EpiPen, Mylan funded and promoted a study

entitled, “Auvi-Q versus EpiPen Auto-Injectors: Failure to Demonstrate Bioequivalence of

Epinephrine Delivery Based on Partial Area Under the Curve.” Class Compl. ¶ 229. Mylan

intended the study to undermine the FDA’s conclusion that Auvi-Q had demonstrated

bioequivalence to the epinephrine in the EpiPen—in direct contradiction to the FDA’s

conclusion.

       The class plaintiffs also allege that Mylan made false and misleading statements about

Auvi-Q’s formulary status. According to the class plaintiffs, Mylan’s anticompetitive conduct

caused major health plans either to limit their coverage of Auvi-Q or to exclude Auvi-Q from

coverage altogether. Mylan did so by paying formularies to exclude Auvi-Q from coverage. But

then, Mylan marketed to physicians the fact that Auvi-Q was not covered by formularies and

suggested that the decision to exclude Auvi-Q from coverage was based on clinical

recommendations—and not Mylan’s large, conditional rebate offers.

       Second, the class plaintiffs allege that Mylan made false and misleading statements about

the “hard switch” to the EpiPen 2-Pak. On August 24, 2011, Mylan issued a news release

entitled “Dey Pharma to Offer EpiPen 2-Pak and EpiPen Jr 2-Pak Exclusively.” Class Compl. ¶

                                               15
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 16 of 128




336. The press release’s subheadline provided: “Decision aligns with recent clinical guidelines

for patients at risk for or who have experienced anaphylaxis to have immediate access to two

doses of epinephrine.” Id. The Class Complaint alleges that the press release was fraudulent and

misleading for several reasons. They include:

              The press release cited a National Institute of Allergy and Infectious Diseases

               (“NIAID”) study that did not apply to the general population. Instead, it applied

               only to a narrow subset: allergy sufferers who had already (1) been hospitalized

               for (2) a food allergy.

              Mylan purported to rely on the World Allergy Organization (“WAO”) global

               standard in making the switch, but Mylan did not require sale of the EpiPen 2-Pak

               globally. Indeed, the press release states that the single EpiPen Auto-Injector

               package configuration will remain available outside of the U.S.

              The switch to the 2-Pak did not change patient access to two doses of epinephrine.

               Doctors could write, and often did write, prescriptions for two EpiPens. So, no

               need existed for Mylan to mandate something patients could purchase already.

              The medical guidelines recited did not state that providers must sell two doses of

               epinephrine. Instead, Mylan used the WAO’s vague statement as a false pretext

               for selling only the 2-Pak.

              No mandates required Mylan to sell the EpiPen exclusively as a 2-Pak, or not at

               all.

              No medical studies support the decision to sell the EpiPen exclusively as a 2-Pak.

              From 1987 until 2011, the EpiPen was sold individually without incident.

               Nothing changed suddenly in 2011 that required Mylan to sell only the 2-Pak.


                                                16
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 17 of 128




              When Mylan switched to the 2-Pak in 2011, it did not order a recall or insist that

               all U.S. EpiPen patients immediately go buy a second EpiPen.

              Although the press release relies on the WAO, the U.S. is the only country where

               Mylan required customers to purchase a 2-Pak of the EpiPen. 

              According to a study conducted by the American Academy of Allergy, Asthma &

               Immunology, only a small number of patients require a second dose. The reason

               for selling the device solely in packs of two is to account for user error due to the

               imperfect product design, i.e., 14% of parents accidently stick the needle in their

               own thumb instead of in their child’s leg.

              Mylan offers no medical guidelines or instructions to EpiPen 2-Pak consumers in

               its packaging or on the device to explain how or when to use (or even how to

               store) the second EpiPen in the 2-Pak.

              Mylan states that between 1–20% of patients might need a second device. But,

               according to class plaintiffs, the margin of 1–20% is so wide that it is meaningless

               and provides a false justification for the “hard switch” to the 2-Pak.

Class Compl. ¶ 339. The class plaintiffs also allege that the NIAID panel Mylan relied on to

justify the change to the 2-Pak was influenced and tainted by Mylan’s financial contributions.

The August 24, 2011, press release quotes Dr. Phillip Lieberman, a member of the NIAID panel,

as stating that up to 20% of patients will require more than one dose of epinephrine to relieve

symptoms. According to the class plaintiffs, Dr. Lieberman’s statement does not explain why a

2-Pak is necessary for 100% of patients when only “up to 20%” require more than one dose.

Also, his statement never explains why all patients must purchase two EpiPens instead of having




                                                 17
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 18 of 128




a prescription that allows two doses. The class plaintiffs allege that Dr. Lieberman made his

statement justifying the switch to the 2-Pak because Mylan paid him to do so.

       Third, the class plaintiffs allege, Mylan made false statements about coupons, rebates,

and generics. Mylan has stated publicly on its website and to the media throughout at least 2016

that 80% of consumers with insurance pay nothing for the EpiPen. According to the class

plaintiffs, this statement is false because third-party payors end up paying the bulk of the cost for

the EpiPen and, in turn, the third-party payors pass on the costs to patients with increased

premiums. Mylan also announced recently that it will begin offering a $300 generic version of

the EpiPen. The class plaintiffs assert that Mylan’s admission that it can make a $300 generic

using the same factories and components used to make the $600 EpiPen shows that Mylan is

price gouging consumers with its current list price for the EpiPen.

       Finally, the Class Complaint alleges that Mylan made false statements to Congress under

oath to help cover up its fraud and to deceive the public about the EpiPen price increases. The

Class Complaint asserts that CEO Heather Bresch falsely testified to Congress on September 21,

2016, when she: (1) misrepresented Mylan’s profit on the EpiPen as $50 per device, but,

according to a Wall Street Journal article, Mylan’s profits were 60% higher than that amount; (2)

misrepresented that Mylan had invested more than $1 billion in the EpiPen when, in fact, Mylan

acquired the EpiPen in 2007 without incurring any research and development expenses; (3)

misrepresented that Mylan had provided free EpiPens to more than 66,000 U.S. schools with “no

strings attached,” but Mylan, in fact, did attach strings to the free EpiPens by requiring the

schools to sign a contract agreeing not to purchase any products from Mylan’s competitors for a

twelve-month period; (4) misrepresented that Mylan had reduced U.S. healthcare costs by about




                                                 18
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 19 of 128




$180 billion; and (5) mispresented that 85% of EpiPen patients pay less than $100 for a 2-Pak

and a majority pay less than $50.

        II.     Legal Standard

        Fed. R. Civ. P. 8(a)(2) provides that a complaint must contain “a short and plain

statement of the claim showing that the pleader is entitled to relief.” Although this Rule “does

not require ‘detailed factual allegations,’” it demands more than “[a] pleading that offers ‘labels

and conclusions’ or ‘a formulaic recitation of the elements of a cause of action’” which, as the

Supreme Court explained, “will not do.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).

        When considering a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6),

the court must assume that the factual allegations in the complaint are true. Id. (citing Twombly,

550 U.S. at 555). But the court is “‘not bound to accept as true a legal conclusion couched as a

factual allegation.’” Id. (quoting Twombly, 550 U.S. at 555). “‘Threadbare recitals of the

elements of a cause of action, supported by mere conclusory statements, do not suffice’” to state

a claim for relief. Bixler v. Foster, 596 F.3d 751, 756 (10th Cir. 2010) (quoting Iqbal, 556 U.S.

at 678). Also, the complaint’s “[f]actual allegations must be enough to raise a right to relief

above the speculative level.” Twombly, 550 U.S. at 555 (citations omitted).

        For a complaint to survive a motion to dismiss under Rule 12(b)(6), the pleading “must

contain sufficient factual matter, accepted as true, to ‘state a claim for relief that is plausible on

its face.’” Iqbal, 556 U.S. at 679 (quoting Twombly, 550 U.S. at 570). “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. at 678 (citing Twombly,

550 U.S. at 556). “The plausibility standard is not akin to a ‘probability requirement,’ but it asks



                                                  19
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 20 of 128




for more than a sheer possibility that a defendant has acted unlawfully.” Id. (quoting Twombly,

550 U.S. at 556); see also Christy Sports, LLC v. Deer Valley Resort Co., Ltd., 555 F.3d 1188,

1192 (10th Cir. 2009) (“The question is whether, if the allegations are true, it is plausible and not

merely possible that the plaintiff is entitled to relief under the relevant law.” (citation omitted)).

        In the antitrust context, the Supreme Court observed in Twombly that “proceeding to

antitrust discovery can be expensive.” Twombly, 550 U.S. at 558 (applying the plausibility

pleading standard to Sherman Act claims). So, courts must “‘insist upon some specificity in

pleading before allowing a potentially massive factual controversy to proceed.’” Id. (quoting

Associated Gen. Contractors of Cal., Inc. v. Cal. State Council of Carpenters, 459 U.S. 519, 528

n.17 (1983)). But still, antitrust cases are not subject to a standard requiring “heightened fact

pleading of specifics.” Id. at 570. Instead, an antitrust Complaint must allege “only enough facts

to state a claim to relief that is plausible on its face” sufficient to “nudge[ ] the[ ] claims across

the line from conceivable to plausible.” Id.; see also In re Urethane Antitrust Litig., 663 F.

Supp. 2d 1067, 1074 (D. Kan. 2009) (explaining on a Rule 12(b)(6) motion to dismiss antitrust

claims that “the Court must ensure that plaintiffs have alleged facts to support those elements

sufficient to provide the ‘heft’ to show an entitlement to relief and to ‘nudge’ plaintiffs’ claims

over the line from mere[ ] possibility or speculation to plausibility” (quoting Twombly, 550 U.S.

at 557, 570)).

        The court’s analysis, below, applies this governing standard to defendants’ Rule 12(b)(6)

dismissal arguments.

        III.     Analysis

        The Class Complaint asserts nine claims against the Mylan Defendants: (1) Sherman Act

§§ 1 and 2 violations (Count I); (2) Clayton Act § 3 violations (Count II); (3) conspiracy



                                                   20
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 21 of 128




violating state antitrust statutes (Count III); (4) monopolization violating state antitrust statutes

(Count IV); (5) attempted monopolization violating state antitrust statutes (Count V); (6) tying

violating state antitrust statutes (Count VI); (7) RICO Act violations (Count VII); (8) violation of

state consumer protection laws (Count VIII); and (9) unjust enrichment (Count IX). The Class

Complaint asserts just Counts I–V and VII jointly against the Mylan and Pfizer Defendants.

        Both the Mylan and Pfizer Defendants move the court to dismiss each claim asserted in

the Class Complaint. The court addresses each of defendants’ arguments in the subsections,

below. The first section addresses whether the Class Complaint states plausible claims of federal

and state antitrust violations. The second section discusses whether the class plaintiffs have

alleged viable RICO claims. The third section addresses whether the Class Complaint states

plausible claims for relief under state consumer protection laws. Finally, the fourth section

considers whether the class plaintiffs have stated a claim for unjust enrichment.

                 A. Antitrust Claims

        Defendants assert eight different arguments why the class plaintiffs’ factual allegations

never state a plausible antitrust claim under either federal or state law. The court addresses each

one of the eight arguments, in turn, below.

                          1. Have the class plaintiffs alleged a plausible tying claim based on
                             the EpiPen 2-Pak?

        The Mylan Defendants3 argue that the Class Complaint fails to allege a plausible tying

claim because it never alleges the existence of two distinct products. Instead, the Mylan

Defendants contend, the class plaintiffs premise their tying claim on the EpiPen 2-Pak, i.e.




                                                            
3
               The class plaintiffs assert their tying claim just against the Mylan Defendants—not the Pfizer
Defendants.

                                                       21
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 22 of 128




selling two EpiPen devices in one package. Defendants assert that this practice—because it

involves selling two identical products—is not an unlawful tying arrangement.

       Tying is an arrangement involving the sale of “two distinct products or services as a

package.” Jefferson Parish Hosp. Dist. No. 2 v. Hyde, 466 U.S. 2, 33 (1984) (Brennan, J.,

concurring), abrogated on other grounds by Ill. Tool Works Inc. v. Indep. Ink, Inc., 547 U.S. 28

(2006) (further citation omitted). “[T]he essential characteristic of an invalid tying arrangement

lies in the seller’s exploitation of its control over the tying product to force the buyer into the

purchase of a tied product that the buyer either did not want at all, or might have preferred to

purchase elsewhere on different terms.” Id. at 12. But “a tying arrangement cannot exist unless

two separate product markets have been linked.” Id. at 21. And “the question whether one or

two products are involved turns not on the functional relation between them, but rather on the

character of the demand for the two items.” Id. at 19; see also Eastman Kodak Co. v. Image

Tech. Servs., Inc., 504 U.S. 451, 456 (1992) (“[T]o be considered two distinct products, there

must be sufficient consumer demand so that it is efficient for a firm to provide [one] separately

from [the other].”).

       The class plaintiffs respond that they have alleged a tying arrangement involving two

separate product markets—one for the primary EAI device, and the other for a “spare” (or “back-

up”) EAI device. Class Compl. ¶¶ 575–79. The Class Complaint describes how Mylan and

others sold the EpiPen individually in the U.S. from 1987 to 2011 without incident. But, in

2011, Mylan imposed the “hard switch,” requiring patients to purchase EpiPens in pairs in the

EpiPen 2-Pak. The class plaintiffs allege that, before the “hard switch,” “[t]here was sufficient

independent demand for some patients to either not purchase a second EpiPen at all or to

purchase an EpiPen and a cheaper, alternative back-up.” Id. ¶ 577. But, after the hard switch,



                                                  22
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 23 of 128




Mylan forced patients to buy two separate devices—the primary EAI device and back-up EAI

device—even though “each EpiPen expires annually and the vast majority of EpiPens expire

before they can be used.” Id. ¶ 577. As the Class Complaint describes: “Consumers no longer

had the choice or ability to purchase a back-up or spare device from another manufacturer, or to

decline to purchase a second EpiPen based on whether they needed it, chose to purchase it, or

were prescribed it by a doctor.” Id. ¶ 579.

        Viewing these allegations in the class plaintiffs’ favor, the Class Complaint alleges a

“sufficient consumer demand” in the U.S. to purchase a primary EAI device separately from a

back-up device or none at all “so that it is efficient for a firm to provide [one] separately from

[the other].” Eastman Kodak Co., 504 U.S. at 456; see also Multi-State Legal Studies, Inc. v.

Harcourt Brace Jovanovich Legal & Prof’l Pubs., Inc., 63 F.3d 1540, 1547–48 (10th Cir. 1995)

(holding that the case’s summary judgment facts presented a factual dispute whether “enough

consumer demand [existed] in Colorado” for one product such that it was efficient to sell the two

products separately).

       The court recognizes that the class plaintiffs have alleged a tying relationship based on

two products that are functionally identical. The Mylan Defendants assert that the two products

thus are interchangeable. For example, a patient could use either one of the two EpiPens in a 2-

Pak as the primary device and the other one as the back-up device. The Mylan Defendants thus

argue that it is not plausible that the primary EAI device and backup EAI device belong to

separate markets. Indeed, the Tenth Circuit has defined the “relevant product market in any

given case” as one “‘composed of products that have reasonable interchangeability for the

purposes for which they are produced—price, use and qualities considered.’” Buccaneer Energy

(USA) Inc. v. Gunnison Energy Corp., 846 F.3d 1297, 1313 (10th Cir. 2017) (quoting SCFC ILC,



                                                 23
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 24 of 128




Inc. v. Visa USA, Inc., 36 F.3d 958, 966 (10th Cir. 1994)) (emphasis added). Although the two

products here have the same qualities, the Class Complaint defines how patients use them in a

functional sense as two separate products. A patient uses one EpiPen as the primary EAI device

and the other as the back-up device.

        The parties do not cite, and the court’s research has not revealed, any tying cases

involving identical products with different and distinct uses—what the class plaintiffs allege

here. The Mylan Defendants cite two cases where courts refused to find two separate products to

support a tying claim, but those cases involved preliminary injunction motions where the factual

record failed to demonstrate the existence of two separate product markets. See Metromedia

Broad. Corp. v. MGM/UA Entm’t Co., 611 F. Supp. 415, 422–24 (C.D. Cal. 1985) (recognizing

that questions existed whether “the demand for first runs [of TV series] is separate from that for

reruns,” but refusing to “carve up” a copyright for the purposes of licensing “a single intellectual

property” because both the first runs and reruns shared the “same copyright and uniqueness,”

which “was the product from which market power derives”); Paul v. Pulitzer Publ’g Co., No 74-

327C(A), 1974 WL 887, at *5 (E.D. Mo. May 24, 1974) (holding that “different issues of the

same newspaper are not separate products” but never discussing whether consumer demand

existed for selling weekday editions separately from the Saturday edition).

        In contrast here, the Class Complaint asserts facts that plausibly allege two separate

product markets—one for EAI primary devices and the other for back-up devices. These

allegations are sufficient to state a claim at this stage of the litigation. Ultimately, to prevail on

their tying claim, the class plaintiffs must adduce admissible evidence to support a reasonable

finding that two separate product markets exist. But, to survive the Motions to Dismiss,




                                                  24
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 25 of 128




plaintiffs need only make plausible factual allegations of two different product markets. They

have satisfied that requirement.

                       2. Have the class plaintiffs alleged plausible exclusive dealing claims
                          based on Mylan’s exclusive dealing contracts with PBMs and
                          schools?

       The Mylan Defendants assert that the class plaintiffs have failed to allege plausible

antitrust claims based on Mylan’s exclusive dealing contracts with PBMs and schools.

Defendants offer five arguments to support their assertion.

       First, the Mylan Defendants argue, the Class Complaint never alleges that Mylan’s

rebates and discount offers resulted in EpiPen prices below the cost of their production. Six days

after the Mylan Defendants filed their Motions to Dismiss the Class Complaint, the court issued

a Memorandum and Order in the other of the two separate tracks in this MDL—the Sanofi track.

The court’s Order granted Mylan’s Motion to Dismiss the Sanofi Complaint in part, and denied

that motion in part (“the Sanofi Order”). Doc. 98. In the Sanofi Order, the court rejected the

same argument asserted here—i.e., that Sanofi’s exclusive dealing claims fail as a matter of law

because the Sanofi Complaint never alleges that Mylan’s rebate offers resulted in prices that

were below its costs to produce the EpiPen. See id. at 10–15. The court recognized that the

price-cost test does not apply to bar exclusive dealing claims when price itself is not the clearly

predominant mechanism of exclusion. Id. at 12–13 (citing ZF Meritor, LLC v. Eaton Corp., 696

F.3d 254, 277 (3d Cir. 2012) (further citations omitted)). And, viewing the allegations in

Sanofi’s favor, the court concluded that the Sanofi Complaint “does not rely ‘solely on the

exclusionary effect of [Mylan’s] prices’ to support its exclusive dealing claim based on Mylan’s

rebate program.” Id. at 13 (quoting ZF Meritor, 696 F.3d at 277).




                                                 25
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 26 of 128




        The same is true of the Class Complaint.4 The Class Complaint alleges that Mylan

leveraged its greater-than-90% market share by offering large rebates to PBMs to exclude Auvi-

Q from the formularies. Class Compl. ¶ 177. The Class Complaint asserts that no legitimate

business reason existed for Mylan’s deep conditional rebates except blocking Auvi-Q from the

market. Id. ¶ 178. Also, it asserts that Mylan’s rebates effectively prevented competitors from

accessing formularies of the two largest PBMs—Express Scripts and CVS Caremark—that

combine to cover more than 50% of the PBM market in the United States. Id. ¶¶ 162, 168. The

Class Complaint alleges that Mylan’s conditional rebates unlawfully increased Sanofi’s cost to

enter the market if it wanted to match Mylan’s rebates. Id. ¶ 182. And, the Class Complaint

alleges, after Mylan successfully excluded Auvi-Q from coverage, it sent misleading marketing

materials to physicians asserting that EpiPen was the “preferred” EAI device for 99% of patients

while Auvi-Q was “preferred” for only 2% of patients. According to the class plaintiffs, the

marketing materials suggested that the reason for Auvi-Q’s exclusion was based on clinical

recommendations—and not the large, conditional rebate offers. Id. ¶¶ 232–35. These

allegations assert that Mylan’s rebate program involved anticompetitive conduct—beyond

pricing itself—that was designed to exclude competition in the EAI drug market.

        Second, the Mylan Defendants contend that the Class Complaint never alleges that

Mylan’s rebates harmed the class plaintiffs by excluding Auvi-Q from the market because

Sanofi’s decision not to compete with the EpiPen was based on other factors, all unrelated to

Mylan’s conduct. The Mylan Defendants cite a paragraph from the Sanofi Complaint asserting

that Sanofi voluntarily recalled Auvi-Q in October 2015 following reports of manufacturing

                                                            
4
               Mylan’s Reply—filed after the court issued its Sanofi Order—concedes that the Sanofi Order
decided against this argument and states that Mylan is not relitigating the issue. Doc. 219 at 18 n.5. But
Mylan’s Reply incorporates the arguments made in its opening brief and preserves the issue for further
review. Id.

                                                    26
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 27 of 128




issues. Doc. 95 at 44. But, as the court concluded in the Sanofi Order, the Sanofi Complaint

plausibly alleges that Mylan’s conduct forced Sanofi to exit the EAI drug market. Doc. 98 at 40.

The Class Complaint contains similar allegations. As the court already has held, Mylan’s

arguments that the voluntary recall—and not Mylan’s alleged anticompetitive conduct—caused

Sanofi’s injuries present a factual dispute that the court cannot resolve on a motion to dismiss.

Id. For the same reasons as the Sanofi Order discussed, the court declines to dismiss the class

plaintiffs’ exclusive dealing claims based on Mylan’s argument that Sanofi’s decision to exit the

EAI market was based on factors other than Mylan’s anticompetitive conduct.

       Third, the Mylan Defendants assert that the Class Complaint never alleges that Mylan’s

exclusive dealing contracts harmed competition. The court rejected this same argument in the

Sanofi Order. It rejects it again here for the same reasons. The Class Complaint, construed in

favor of the class plaintiffs, plausibly alleges that Mylan’s anticompetitive conduct harmed

competition. The Class Complaint alleges that defendants implemented a pricing scheme that

raised the price of the EpiPen from a little over $100 for two EpiPens in 2007 to more than $600

for the same two EpiPens in 2016. Class Compl. ¶¶ 349–60. According to the class plaintiffs,

the price increases allowed Mylan to share its monopoly profits with PBMs through larger

rebates for excluding competing products. Id. ¶¶ 165–66. Mylan’s exclusionary contracts then

prevented consumers in a substantial share of the market from accessing or choosing competing

EAI devices such as the Auvi-Q and others. Id. at ¶¶ 168, 491. These allegations, if true, are

capable of supporting a finding or inference of harm to competition, and thus, they state a

plausible antitrust claim.

       Fourth, the Mylan Defendants assert that the class plaintiffs’ claims based on discounts

or rebates Mylan offered to states or state agencies are barred by the Noerr-Pennington doctrine.



                                                27
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 28 of 128




The Noerr-Pennington doctrine “‘exempts from antitrust liability any legitimate use of the

political process by private individuals, even if their intent is to eliminate competition.’” Tal v.

Hogan, 453 F.3d 1244, 1257 n.13, 1259–60 (10th Cir. 2006) (quoting Zimomra v. Alamo Rent-A-

Car, Inc., 111 F.3d 1495, 1503 (10th Cir. 1997)). The scope of the Noerr-Pennington doctrine

depends “on the source, context, and nature of the anticompetitive restraint at issue.” Allied

Tube & Conduit Corp. v. Indian Head, Inc., 486 U.S. 492, 499 (1988).

       But “Noerr-Pennington immunity does not apply if the purported effort to influence or

obtain government action is in fact only an attempt to interfere with the business relationships of

a competitor.” Classic Commc’ns, Inc. v. Rural Tel. Serv. Co., 956 F. Supp. 910, 917 (D. Kan.

1997) (first citing E. R.R. Presidents Conference v. Noerr Motor Freight, Inc., 365 U.S. 127, 144

(1961); then citing Cal. Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508, 511 (1972)).

“This is the so-called ‘sham’ exception to the Noerr-Pennington doctrine.” Id. The sham

exception applies “when ‘persons use the governmental process—as opposed to the outcome of

that process—as an anticompetitive weapon.’” GF Gaming Corp. v. City of Black Hawk, 405

F.3d 876, 884 (10th Cir. 2005) (quoting City of Columbia v. Omni Outdoor Advert., Inc., 499

U.S. 365, 380 (1991)). “The exception thus ‘involves a defendant whose activities are not

genuinely aimed at procuring favorable government action at all,’ such as a defendant who files

‘frivolous objections to the license application of a competitor, with no expectation of achieving

denial of the license but simply in order to impose expense and delay.’” Id. (quoting City of

Columbia, 499 U.S. at 380).

       In the Sanofi Order, the court held that the Noerr-Pennington doctrine barred Sanofi’s

exclusive dealing claims based on Mylan’s discounts or rebates to state-based Medicaid

agencies. Doc. 98 at 22–24. The court reasoned that Sanofi’s allegations accused Mylan of



                                                 28
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 29 of 128




using the outcome of the government process—i.e., exclusion of Auvi-Q from the drug

formularies—not the process itself, to harm a competitor. Id. at 22. Thus, the court concluded,

Noerr-Pennington immunity applied to Sanofi’s claims based on discounts or rebates offered to

state-based Medicaid agencies. Id.

       The class plaintiffs argue the court should reach a different result here because, they

contend, the Class Complaint’s allegations differ from Sanofi’s. First, the class plaintiffs

contend that their antitrust claims are premised on Mylan’s misclassification of the EpiPen and

that this misclassification influenced decisions by state-based Medicaid agencies to exclude

Auvi-Q. The Class Complaint alleges that Mylan’s misclassification of the EpiPen allowed it to

“amass millions of dollars each year in unpaid rebates to cash-strapped state Medicaid agencies.”

Class Compl. ¶ 187. And, according to the Class Complaint, these “outstanding underpaid

rebates led benefit managers to continue favoring the EpiPen over competitors in the expectation

of receiving a large make-up payment if and when Mylan was forced to classify the EpiPen as a

brand.” Id. ¶ 188. The class plaintiffs assert that the Noerr-Pennington doctrine does not shield

Mylan’s misrepresentations about the EpiPen’s classification from antitrust liability because

“[m]isrepresentations, condoned in the political arena, are not immunized when used in the

adjudicatory process.” Cal. Motor Transp., 404 U.S. at 513.

       The court disagrees that the class plaintiffs’ allegation about the EpiPen’s

misclassification—in this one paragraph of their 1,429 paragraph Class Complaint—places the

claim outside of Noerr-Pennington immunity. Indeed, “[n]ot every fraudulent misrepresentation

during an adjudicative or administrative proceeding can give rise to antitrust liability.” Mercatus

Grp., LLC v. Lake Forest Hosp., 641 F.3d 834, 843 (7th Cir. 2011). “[A] misrepresentation

renders an adjudicative proceeding a sham only if the misrepresentation (1) was intentionally



                                                29
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 30 of 128




made, with knowledge of its falsity; and (2) was material, in the sense that it actually altered the

outcome of the proceeding.” Id. at 843; see also Cheminor Drugs, Ltd. v. Ethyl Corp., 168 F.3d

119, 123 (3d Cir. 1999) (“While we do not condone misrepresentations in a judicial setting,

neither will we deprive litigants of immunity derived from the First Amendment’s right to

petition the government if the alleged misrepresentations do not affect the core of the litigant’s . .

. case.”).

        Here, the class plaintiffs’ allegation never asserts explicitly that the misclassification

caused any state-based Medicaid agencies to exclude EpiPen rivals from the formularies.

Instead, the allegation refers generally to “benefit managers.” And it recites that these benefit

managers continued to “favor” the EpiPen over competitors. Also, the allegation asserts that the

benefit managers knew about the misclassification and thus anticipated a large make-up payment

when Mylan was forced to reclassify the EpiPen. Thus, according to the allegation, the benefit

managers never made their decisions based on any false representations that Mylan made to

them. To the contrary, the allegation asserts that the benefit managers understood that Mylan

had misclassified the EpiPen. So, nothing about the misclassification affected the decision-

making abilities of benefit managers when they chose which EAI devices to include in the

formularies. Construed in the class plaintiffs’ favor, the exclusive dealing allegations based on

Mylan’s discounts or rebates to state-based Medicaid agencies assert that Mylan’s conduct

violated the antitrust laws by offering the rebates in exchange for exclusivity. The Noerr-

Pennington doctrine precludes liability for this type of conduct, even if the intent was to exclude

competition. Thus, the Class Complaint fails to allege a plausible antitrust claim based on

Mylan’s discounts or rebates to state-based Medicaid agencies.




                                                  30
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 31 of 128




        Finally, the Mylan Defendants argue that the Class Complaint never alleges that Mylan’s

EpiPen4Schools program foreclosed competitors from a substantial share of the relevant market.5

To assert a plausible exclusive dealing claim, a plaintiff must plead facts capable of supporting a

finding or inference that the “probable effect” of “performance of the contract will foreclose

competition in a substantial share of the line of commerce affected.” Tampa Elec. Co. v.

Nashville Coal Co., 365 U.S. 320, 327 (1961); see also Perington Wholesale, Inc. v. Burger King

Corp., 631 F.2d 1369, 1374 (10th Cir. 1979) (“Thus, a complaining trader must allege and prove

that a particular arrangement unreasonably restricts the opportunities of the seller’s competitors

to market their product.”).

        The Supreme Court has instructed lower courts “[t]o determine substantiality in a given

case” by “weigh[ing] the probable effect of the contract on the relevant area of effective

competition, taking into account the relative strength of the parties, the proportionate volume of

commerce involved in relation to the total volume of commerce in the relevant market area, and

the probable immediate and future effects which pre-emption of that share of the market might

have on effective competition therein.” Tampa Elec., 365 U.S. at 329. When considering

whether the contract at issue in Tampa Electric tended to foreclose a substantial volume of

competition, the Supreme Court considered several things. Id. at 334–35. They include the

relative dominance of a seller’s position in the market, whether the market has “myriad outlets



                                                            
5
               The Mylan Defendants also assert that “[a]t best, Plaintiffs allege that Mylan engaged in
legitimate state and federal lobbying efforts to allow schools to participate in the program” and that the
Noerr-Pennington doctrine shields such conduct from antitrust liability. Doc. 95 at 46. But the class
plaintiffs do not base their antitrust claims on Mylan’s lobbying activities. Instead, the claims are
premised on Mylan’s alleged anticompetitive conduct in offering free and discounted EpiPens to school
districts but making those offers contingent on the school districts entering into illegal exclusive dealing
agreements with Mylan. The Mylan Defendants never argue that the Noerr-Pennington doctrine
immunizes that alleged anticompetitive conduct—i.e., the conduct on which the class plaintiffs base their
antitrust claims for the EpiPen4Schools program.

                                                     31
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 32 of 128




with substantial sales volume,” the prevalence in the industry of exclusive contracts, the duration

of the contract, and the existence of any pro-competitive justifications for the contract. Id.

       The class plaintiffs assert that the Class Complaint plausibly alleges facts capable of

supporting a finding or inference of substantial market foreclosure. The Class Complaint alleges

that Mylan’s exclusionary contracts with PBMs prevented competitors from accessing

formularies covering more than 50% of the PBM market in the U.S. Also, the Class Complaint

alleges that Mylan created a substantial, additional need for EpiPens by adding school districts to

the market for EAI devices. Class Compl. ¶ 208. More than 67,000 school districts now

purchase EpiPens, and the districts usually are “bulk” purchasers. Id. For example, the public

schools in Fairfax County, Virginia, order about 1,100 EpiPen 2-Paks annually to have them on

hand for their 180,000 students. Id. The Class Complaint also alleges that Mylan gained another

advantage by opening up the school market—gaining access to nursing staff and creating

familiarity with the EpiPen among parents. Id. ¶ 209.

       Although these allegations never assert definitively that the EpiPen4Schools program’s

exclusionary contracts foreclosed a substantial share of the market, the court declines to conclude

at the motion to dismiss stage that these facts fail to plead adequate foreclosure. Indeed, our

court has recognized that Tampa Electric provides a “number of other factors which may be

relevant to a rule of reason analysis in an exclusive dealing claim,” and thus it has refused to

“decide at the pleading stage that plaintiff had failed to plead adequate foreclosure levels” to

state an exclusive dealing claim. Suture Express, Inc. v. Cardinal Health 200, LLC, 963 F. Supp.

2d 1212, 1229 (D. Kan. 2013) (Rogers, J.). The court comes to the same conclusion here. To

determine whether the EpiPen4Schools program’s exclusionary contracts foreclosed a substantial

share of the market, the court must weigh the various factors outlined in Tampa Electric. The



                                                 32
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 33 of 128




court cannot engage in such an analysis at the pleading stage. Instead, the court considers the

Class Complaint’s allegations in the light most favorable to the class plaintiffs. And it concludes

that the class plaintiffs plausibly have alleged facts supporting a finding or inference that the

probable effect of Mylan’s exclusionary contracts in the EpiPen4Schools program substantially

foreclosed competition. The court thus concludes that the class plaintiffs have stated a plausible

exclusive dealing claim based on Mylan’s EpiPen4Schools program.

                        3. Have the class plaintiffs alleged causation to support their
                           antitrust claims based on the patent litigation settlements?

        Next, defendants argue that the class plaintiffs lack standing to assert their antitrust

claims based on the patent litigation settlements with potential competitors. This argument

asserts that the class plaintiffs have alleged no facts capable of supporting a finding or inference

of causation. To establish antitrust standing, a plaintiff must allege “(1) an ‘antitrust injury’; and

(2) a direct causal connection between that injury and a defendant’s violation of the antitrust

laws.” Tal v. Hogan, 453 F.3d 1244, 1253 (10th Cir. 2006) (citations and internal quotation

marks omitted); see also Sharp v. United Airlines, Inc., 967 F.2d 404, 406 (10th Cir. 1992)

(explaining that antitrust standing requires “the causal connection between the antitrust violation

and the plaintiff’s injury”).

        Defendants contend that the class plaintiffs have not alleged plausibly that they caused

any delay in the sale of potential competitors’ EAI devices by initiating the patent lawsuits and

entering into settlement agreements with potential competitors.6 Instead, defendants provide two

                                                            
6
               The Mylan Defendants also argue that the Class Complaint never alleges that Mylan was a party
to or participated in the patent litigation with Teva, Intelliject, or Sandoz. Thus, the Mylan Defendants
argue, the Class Complaint fails to state a claim against them based on the patent litigation and
settlements. As explained in the following subsection (see infra Part III.A.4.), the court concludes that
plaintiffs have alleged a plausible conspiracy between Mylan and Pfizer that included their coordinated
scheme to initiate patent litigation against potential competitors in the EAI market, and then, to settle
those lawsuits by agreeing to pay those potential competitors to postpone entry into the market. The court

                                                    33
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 34 of 128




reasons—unrelated to the patent litigation and settlements—that prevented potential competitors

Teva, Intelliject, and Sandoz from entering the EAI market. First, defendants assert, Teva and

Sandoz never entered the market because they never secured FDA approval for their EAI

devices. Second, defendants contend, these potential competitors could not enter the market

lawfully without infringing Pfizer’s EpiPen device patents—ones that don’t expire until 2025.

The class plaintiffs respond, asserting that both arguments require the court to make factual

determinations—something it cannot do on a motion to dismiss. Instead, the class plaintiffs

argue, the Class Complaint alleges facts from which one could infer plausibly that defendants’

conduct prevented potential competitors from entering the EAI market. The court agrees with

them, for reasons explained below.

        In response to defendants’ first argument, the class plaintiffs concede that the Class

Complaint recites that Teva and Sandoz never secured FDA approval for their competing EAI

devices. Class Compl. ¶¶ 302, 319. But it also alleges that Teva and Sandoz were anticipating

imminent launches into the EAI market and taking the steps to gain FDA approval of their

generic, competing products so that they could enter the market. See id. ¶¶ 251–52 (reciting that

defendants’ alleged “pay-for-delay” settlements were designed “to stop Teva’s imminent generic

competition” after Teva had filed an ANDA in December 2008 seeking approval to market a

generic EpiPen); see also id. ¶ 302 (reciting that “[i]n 2010, Sandoz . . . made a similar attempt to

enter the market through a generic alternative to EpiPen” by filing an ANDA). And, the Class

Complaint alleges, defendants’ unlawful conduct—i.e., filing the lawsuits and entering into

reverse payment settlements for purposes of delaying these potential competitors’ entry into the

market—caused Teva and Sandoz’s failure to secure FDA approval.

                                                            
thus rejects the Mylan Defendants’ argument that the Class Complaint never alleges that they participated
in the patent litigation and settlements.

                                                   34
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 35 of 128




       Indeed, the Class Complaint recognizes that the “FDA ultimately rejected Teva’s generic

product when it was under review.” Id. ¶ 319. But it also alleges that “it is likely that Teva may

have been able to fix those problems if the patent lawsuit had not delayed its ability to enter the

market.” Id. (citation and internal quotation marks omitted). The Class Complaint also alleges:

“But for Mylan’s anti-competitive assault campaign, Teva would have entered the market much

sooner and fixed the deficiencies that led to the FDA’s rejection of Teva’s generic.” Id. ¶ 322.

And it contends: “By sidelining Teva from 2012 to 2015, Mylan, King, and Meridian disrupted

Teva’s trajectory toward FDA approval and also gained a three-year guaranteed monopoly

period in which Mylan could raise prices on consumers without any fear of generic competition

from Teva.” Id.

       Also, the Class Complaint alleges that Sandoz never secured FDA approval because

defendants’ litigation has resulted in “the court entering an order staying the FDA process and

administratively terminating the action, to be reopened upon letter request by any of the parties.”

Id. ¶ 302. And, to date, “[n]o party has reopened the case.” Id.

       The class plaintiffs argue that these allegations plausibly assert causation because the

delay for potential competitors entering the market “was a foreseeable consequence of the

original antitrust violation.” In re Flonase Antitrust Litig., 798 F. Supp. 2d 619, 630 (E.D. Pa.

2011); see also id. at 629–33 (denying summary judgment against antitrust claims because,

among other things, plaintiffs presented sufficient evidence to raise genuine issues of material

fact whether the FDA’s deficiency notices sent to a potential competing generic “was indeed

proximately caused by, or was the foreseeable consequences of, [defendant’s] alleged antitrust

violations”). The court agrees with this argument. Viewing the allegations in the class

plaintiffs’ favor, the Class Complaint asserts that defendants’ alleged unlawful reverse payment



                                                 35
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 36 of 128




settlements caused both the potential competitors’ delay in entering the EAI device market and

their delay in securing FDA approval.

       Defendants cite several cases where district courts have dismissed antitrust claims based

on reverse payment settlements for lack of causation because, those courts held, the absence of

FDA approval had caused the generic’s delay in entering the market—not defendants’ alleged

conduct. Defendants urge the court to apply the same reasoning here. But these cases differ

from this one because the complaints in those cases never alleged that defendants had caused the

delay to secure FDA approval. See, e.g., In re Asacol Antitrust Litig., No. 15-cv-12730-DJC,

2016 WL 4083333, at *7 (D. Mass. July 20, 2016) (dismissing antitrust claim based on alleged

reverse payment settlements because “the amended complaint contains no plausible allegation

that [defendants] sought to delay or sabotage FDA approval” and, instead, “the lack of FDA

approval today remains ‘the limiting factor’ in [the generic’s] ability to bring its generic drug to

market”); In re Sologyn (Minocycline Hydrochlorine) Antitrust Litig., No. 14-md-02503-DJC,

2015 WL 5458570, at *9 (D. Mass. Sept. 16, 2015) (holding that plaintiffs’ allegations that a

reverse payment settlement delayed entry of a competing product never asserted a “plausible

allegation of delay by defendants” because the competing product never received FDA approval

to launch its product before the parties’ agreed entry date under the settlement); Brotech Corp. v.

White Eagle Int’l Tech. Grp., Inc., No. Civ.A.03-232, 2004 WL 1427136, at *6 (E.D. Pa. June

21, 2004) (holding that a counterclaim alleged no antitrust injury when it “[did] not allege facts

establishing [a competitor’s] intent and preparedness to enter the market for its [competing]

product, that it would be prepared to enter the market for said product in the absence of the

instant lawsuit, or that FDA approval of said products is probable). The facts alleged here differ.

The class plaintiffs have alleged that defendants’ reverse payment settlements delayed competing



                                                 36
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 37 of 128




products—not only from entering the market but from securing FDA approval. See Class

Compl. ¶¶ 302, 319, 322. These allegations suffice to state a claim for relief at the pleading

stage.

         In response to defendants’ second argument—that a generic competitor could not enter

the market lawfully without infringing Pfizer’s patents—the class plaintiffs assert the Class

Complaint plausibly alleges that Pfizer’s patent rights were not sufficient to preclude generic

competition (even though the patents did not expire until 2025). The class plaintiffs contend

that, without defendants’ alleged unlawful settlements, defendants faced a high probability of

generic competition because it was likely that the courts would find the patents invalid or

conclude that the generic competing devices were non-infringing. Indeed, the Class Complaint

alleges that “given the trial court’s previous rulings [in the Teva Litigation] it requires no great

leap to infer that, had the parties waited for a decision, the ‘432 patent would have been found

invalid.” Id. ¶ 284. It goes on to allege: “That, in turn, would have removed the most

significant barrier to entry for Teva—or any other putative generic manufacturer, making it more

likely that at least one would have entered or attempted to enter the market.” Id. The Class

Complaint also alleges facts about the trial court proceedings that allow a plausible finding or

inference of invalidity or non-infringement. These alleged facts include: (1) the trial court

issued Markman rulings interpreting the ’432 patent favorable to Teva; (2) the parties settled

after the trial court had held a full bench trial, meaning that the parties’ additional litigation

expenses were minimal compared to the expenses they already had incurred when they settled;

and (3) “[n]o rational economic actor with a viable product (and who had spent millions of

dollars developing it) would refrain from entering a lucrative ‘blockbuster’ market for 36 months

unless it received monetary compensation in exchange for non-entry.” Id. ¶ 265.



                                                   37
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 38 of 128




        Defendants assert that these allegations fail to state a plausible claim because they merely

speculate that a generic would have proved invalidity or non-infringement in a patent lawsuit.

For support, defendants cite two cases where district courts dismissed antitrust claims based on

alleged unlawful reverse payments because the plaintiffs never asserted plausible allegations

about a generic’s ability to prevail in patent litigation with the patent holders. See, e.g., FTC v.

AbbVie, Inc., 107 F. Supp. 3d 428, 437 (E.D. Pa. 2015) (holding that plaintiff’s allegations that

the patent litigation was a sham “is merely speculation” because “[n]o judicial determination of

the sham issue had been made when the parties settled the case”); In re Ciprofloxacin

Hydrochloride Antitrust Litig., 261 F. Supp. 2d 188, 201–02 (E.D.N.Y. 2003) (holding that

plaintiff’s allegations that a generic would have prevailed in patent litigation were too

speculative, especially because of judicially noticed facts about “post-settlement affirmations of

the . . . [p]atent’s validity”).

        The court disagrees that the class plaintiffs’ allegations here are merely speculative. In

contrast to defendants’ cited cases, the class plaintiffs here allege facts capable of supporting a

finding or inference that a potential generic competitor could have shown that Pfizer’s patents

were invalid, or that its competing device did not infringe the patents. These factual allegations

include ones about what transpired in the Teva Litigation—i.e., that the trial court issued a

Markman ruling that was allegedly favorable to Teva and that the timing of the parties’

settlement suggests the patent holders recognized the risk of the trial court finding the patents

invalid or the competing product non-infringing.

        Recently, the Massachusetts federal district court denied summary judgment against an

antitrust claim based on a reverse payment settlement. Analyzing the causation issue, that court

noted, “the Supreme Court [has] explained that ‘it is normally not necessary to litigate patent



                                                 38
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 39 of 128




validity to answer the antitrust question (unless, perhaps, to determine whether the patent

litigation is a sham)’ because ‘[a]n unexplained large reverse payment itself would normally

suggest that the patentee has some serious doubts about the patent’s survival.’” In re Sologyn

(Minocycline Hydrochlorine) Antitrust Litig., No. 14-md-02503-DJC, 2018 WL 563144, at *14

(D. Mass. Jan. 25, 2018) (quoting FTC v. Actavis, Inc., 570 U.S. 136, 157 (2013)). Also, the

court recognized “as a general matter, ‘[i]t is well established that the burden of proving

infringement generally rests upon the patentee.’” Id. (quoting Medtronic, Inc. v. Mirowski

Family Ventures, LLC, 571 U.S. 191, 198 (2014)). The Massachusetts court thus concluded that,

on summary judgment, “the standard requiring Plaintiffs to produce ‘some evidence’ of

invalidity or noninfringement does not require Plaintiffs ‘to prove that the generic defendant

would have won, only that it could have.’” Id. (quoting United Food & Commercial Workers

Local 1776 v. Teikoku Pharma USA, 296 F. Supp. 3d 1142, 1155 (N.D. Cal. 2017)).

        Applying that reasoning here,7 the class plaintiffs need not allege that Teva would have

prevailed in the patent litigation—it merely needs to allege that it could have. The Class

Complaint’s allegations assert plausibly that Teva could have prevailed in the patent litigation if

the parties has not resolved the case through an alleged reverse payment settlement. These

allegations thus sufficiently assert that Pfizer’s patents did not bar a generic competitor from

entering the market. And the class plaintiffs have stated a plausible antitrust claim based on the

alleged unlawful reverse payment settlements. See In re Niaspan Antitrust Litig., 42 F. Supp. 3d

735, 755 (E.D. Pa. 2014) (denying motion to dismiss antitrust claim for lack of an injury caused

by a patent litigation settlement because, the court concluded, plaintiffs “plausibly alleged that,

                                                            
7
               The parties do not cite, and the court’s research has not located, any Tenth Circuit cases
discussing the viability of antitrust claims based on reverse payment settlements. The court predicts that
the Tenth Circuit, if presented with this issue, would find In re Sologyn persuasive and apply its reasoning
to the facts alleged here.

                                                    39
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 40 of 128




but for the anticompetitive settlement agreements, [the generic] would have prevailed in the

underlying patent litigation against [the patent holder]”).

                         4. Have the class plaintiffs alleged a plausible conspiracy between
                            Mylan and Pfizer?

        Defendants next assert that the class plaintiffs have failed to allege a plausible conspiracy

between the Mylan and Pfizer Defendants under the antitrust laws. Defendants concede that the

Class Complaint alleges that “[b]eginning in 2012 with the settlement of the Teva Litigation,

Defendants [Mylan, King, Meridian] engaged in a continuing illegal contract, combination, and

conspiracy in restraint of trade, the purpose and effect of which was to prevent the sale of a

generic version of the EpiPen in the United States . . . .” Class Compl. ¶ 543 (Count III alleging

state law antitrust violations); see also id. ¶ 530 (“By their agreement, Defendants intentionally

and wrongfully conspired and combined in an unreasonable restraint of trade in a per se violation

of § 1 of the Sherman Act . . . .” (Count I, alleging violations of federal antitrust law)). But,

defendants contend, the Class Complaint alleges no facts capable of supporting a finding or

inference of an agreement or conspiracy to exclude competing devices in the EAI market.8

                                                            
8
               The Mylan Defendants’ opening brief asserts that the class plaintiffs’ claims—premised on
alleged reverse payment settlements—are evaluated under a rule of reason analysis—not the per se rule.
Doc. 52 at 106–07; see also FTC v. Actavis, Inc., 570 U.S. 136, 159 (2013) (holding that courts must
apply a rule of reason analysis to reverse payment settlement agreements alleged to violate the antitrust
laws). The class plaintiffs’ response concedes that an individual reverse payment settlement is analyzed
under a rule of reason analysis. Doc. 64 at 151 n.203. But, the class plaintiffs assert, their conspiracy
claims are not based just on the reverse payment settlements. Id. Instead, they argue, that the court must
look to the totality of the conduct allegedly supporting the conspiracy claims. Id. But they never cite any
case law showing that the per se rule applies to that other conduct that, they contend, supports their
conspiracy claim. Id.

          Nevertheless, at this stage of the litigation, the court need not decide what rule to apply to analyze
the reasonableness of the alleged restraints of trade supporting the class plaintiffs’ conspiracy claims. See
CSR Ltd. v. Fed. Ins. Co., 40 F. Supp. 2d 559, 564 (D.N.J. 1998) (“At this early [motion to dismiss] stage
of the proceeding, the court does not find it necessary to determine which mode of analysis [per se or rule
of reason] it will ultimately employ in evaluating the defendants’ activities.”); see also Swarthmore
Radiation Oncology, Inc. v. Lapes, 812 F. Supp. 517, 520 (E.D. Pa. 1992) (“[The court] need not decide,
at this stage of the proceedings, whether a per se rule or a ‘rule of reason’ applies.”). In ruling the

                                                      40
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 41 of 128




        To state a claim under Sherman Act § 1, a complaint must allege “enough factual matter

(taken as true) to suggest that an agreement was made.” Bell Atl. Corp. v. Twombly, 550 U.S.

544, 556 (2007); see also TV Commc’ns Network, Inc. v. Turner Network Television, Inc., 964

F.2d 1022, 1027 (10th Cir. 1992) (“To state a claim for a violation of section one [of the

Sherman Act] the plaintiff must allege facts which show: the defendant entered a contract,

combination or conspiracy that unreasonably restrains trade in the relevant market.”).

        “An agreement or conspiracy under federal antitrust laws is said to exist when ‘there is a

unity of purpose, a common design and understanding, a meeting of the minds, or a conscious

commitment to a common scheme.’” Suture Express, Inc. v. Cardinal Health 200, LLC, 963 F.

Supp. 2d 1212, 1223 (D. Kan. 2013) (quoting W. Penn Allegheny Health Sys. v. UPMC, 627

F.3d 85, 99 (3d Cir. 2010)). “‘A plaintiff may plead an agreement by alleging direct or

circumstantial evidence, or a combination of the two,’ but allegations of direct evidence, that are

adequately detailed, are sufficient alone.” Id. (quoting W. Penn Allegheny, 627 F.3d at 99).

However, “[b]are bones accusations of a conspiracy without any supporting facts are insufficient

to state an antitrust claim.” Tal v. Hogan, 453 F.3d 1244, 1261 (2006) (citation omitted).

        Here, the class plaintiffs contend that they have alleged facts which one can use to infer

plausibly that defendants conspired to exclude competing EAI devices from the market. The

Class Complaint asserts that defendants engaged in a “multi-faceted, fraudulent scheme to obtain

and maintain a monopoly” in the EAI market. Class Compl. ¶ 6. The Class Complaint alleges

that defendants effectuated their scheme by combining and conspiring to: assert and prosecute

invalid patents to dissuade competitors from entering the EAI market; intervene in regulatory



                                                            
pending motion, the court just needs to determine whether the class plaintiffs have alleged a plausible
conspiracy under the antitrust laws. The class plaintiffs have shouldered that burden here.

                                                    41
 
     Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 42 of 128




proceedings to delay competitors’ entry in the EAI market; and enter into unlawful “pay-for-

delay” settlement agreements with competitors to maintain Mylan’s power. Id.9

        The Class Complaint alleges that the Mylan and Pfizer Defendants engaged in this

scheme to fend off EpiPen competitors because they had a “unified interest” to protect their

monopoly. Id. ¶ 241. It asserts that the Pfizer Defendants (as the EpiPen patent holders and

suppliers) and the Mylan Defendants (as the EpiPen sellers) worked collaboratively to enhance

the EpiPen’s sales volume and profitability because their related revenues rise and fall together.

Id. ¶ 241.

        The Class Complaint, construed in the class plaintiffs’ favor, also alleges that defendants

worked together to secure patents solely for the purpose of preventing generic competition. Id.

¶¶ 236–39. It describes how Mylan CEO Heather Bresch announced during a public earnings

call in 2009, that Mylan was adding another patent to the already-patented EpiPen device that

“will also put in [place] another barrier to entry . . . .” Id. ¶ 238 (emphasis added). Shortly

afterward, Meridian—not Mylan—secured the ’432 patent. Also, the Class Complaint alleges

that Mylan Specialty LP took over as sponsor of the EpiPen patents in the Orange Book10 from


                                                            
9
               This paragraph of the Class Complaint asserts other alleged unlawful conduct supported the
alleged conspiracy—such as the EpiPen misclassification, the exclusivity contracts offered through the
EpiPen4Schools Program, deceptive marketing practices, the “hard switch” to the EpiPen 2-Pak, and false
testimony to Congress. But the Pfizer Defendants argue that the Class Complaint makes no factual
allegations capable of supporting a finding or inference that Pfizer participated in any of this other
alleged conspiratorial conduct. The court agrees. The court thus confines its discussion to the factual
allegations supporting Pfizer’s alleged involvement in an antitrust conspiracy to exclude EpiPen
competitors—i.e., the Class Complaint’s allegations about Pfizer’s involvement in securing patents,
initiating patent infringement litigation, and entering into unlawful reverse payment settlements.
10
         The Orange Book is the common name for the FDA’s publication, Approved Drug Products with
Therapeutic Equivalence Evaluations. See Approved Drug Products with Therapeutic Equivalence
Evaluations (Orange Book), U.S. Food & Drug Administration, (2018),
https://www.fda.gov/drugs/informationondrugs/ucm129662.htm. According to the FDA, the Orange
Book “identifies drug products approved on the basis of safety and effectiveness by the [FDA] under the
Federal Food, Drug, and Cosmetic Act (the Act) and related patent and exclusivity information.” Id.

                                                   42
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 43 of 128




Meridian. Id. ¶ 247. The Class Complaint asserts that this sponsorship change shows “concerted

action by Mylan and Pfizer to share the burdens and rewards of their EpiPen monopoly.” Id. ¶¶

247, 314.

       The Class Complaint also alleges that the Mylan Defendants and Pfizer Defendants

worked together to prevent competitors from entering the market by filing patent infringement

lawsuits and entering into “pay-for-delay” settlement agreements. Id. ¶¶ 236–303. While Mylan

was not a party to the patent litigation lawsuits, one can infer plausibly from the Class

Complaint’s allegations that Mylan was participating in the concerted action. Indeed, the class

plaintiffs allege that Mylan CEO Heather Bresch appeared to concede that Mylan participated in

the Teva settlement by publicly referring to it as “our settlement with Teva.” Id. ¶ 277

(emphasis added). Mylan also issued joint press releases with Pfizer announcing the Teva and

Intelliject settlements. Id. ¶¶ 270, 298. The Class Complaint also quotes an antitrust scholar

who has concluded “[a]t the time (and to this day), Mylan was working hand-in-hand with

Meridian/King, with the former taking over Orange Book sponsorship of the drug application

and the latter targeting rivals in litigation.” Id. ¶ 314. The Class Complaint also describes that

Congress has questioned whether the Teva settlement is an unlawful “pay-for-delay” settlement.

Id. ¶ 280. In the inquiry, Congress directed questions about the settlement to Mylan, even

though Mylan was not a party to the lawsuit. Id.

       Defendants assert that all of class plaintiffs’ allegations merely amount to “loosely

parallel conduct” that cannot state a plausible conspiracy claim. Doc. 95 at 53 (citing Twombly,

550 U.S. at 556 (“[A]n allegation of parallel conduct and a bare assertion of conspiracy will not

suffice.”)). Defendants assert that the allegations about patent infringement lawsuits and

settlements involve different cases with different patents and different parties—and sometimes



                                                 43
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 44 of 128




different products. Defendants contend that one cannot infer plausibly from these allegations

that defendants agreed to join a conspiracy. Instead, defendants assert, these allegations just

show unilateral and independent conduct—not a horizontal agreement—and thus, defendants

argue, the allegations do not suffice to state a conspiracy claim.

       Indeed, the Supreme Court requires: “[W]hen allegations of parallel conduct are set out

in order to make a § 1 claim, they must be placed in a context that raises a suggestion of

preceding agreement, not merely parallel conduct that could just as well be independent action.”

Twombly, 550 U.S. at 557. This is so because “lawful parallel conduct fails to bespeak unlawful

agreement.” Id. at 556. See also Mitchael v. Intracorp, Inc., 179 F.3d 847, 859 (10th Cir. 1999)

(“While consciously parallel behavior may contribute to a finding of antitrust conspiracy, it is

insufficient, standing alone, to prove conspiracy.”); Cayman Express Corp. v. United Gas Pipe

Line Co., 873 F.2d 1357, 1361 (10th Cir. 1989) (“[C]onscious parallel business behavior,

standing alone, is insufficient to prove conspiracy.”). Thus, “an allegation of parallel conduct

and a bare assertion of conspiracy will not suffice. Without more, parallel conduct does not

suggest conspiracy, and a conclusory allegation of agreement at some unidentified point does not

supply facts adequate to show illegality.” Twombly, 550 U.S. at 556. Instead, a plaintiff must

allege “conspiracy evidence [that] tend[s] to rule out the possibility that the defendants were

acting independently.” Id. at 554.

       The Tenth Circuit has held that “parallel behavior may, however, support the existence of

an illegal agreement ‘when augmented by additional evidence from which an understanding

among the parties may be inferred.’” Mitchael, 179 F.3d at 859 (quoting Monument Builders of

Greater Kansas City, Inc. v. Am. Cemetery Ass’n, 891 F.2d 1473, 1481 (10th Cir. 1989) (further

citation and internal quotation marks omitted)). “‘Such evidence may include a showing that the



                                                 44
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 45 of 128




parties are acting against their own individual business interests, or that there is motivation to

enter into an agreement requiring parallel behavior.’” Id. (quoting Monument Builders, 891 F.2d

at 1481 (further citation and internal quotation marks omitted)); see also In re Ins. Brokerage

Antitrust Litig., 618 F.3d 300, 321–22 (3d Cir. 2010) (explaining that “[s]ome courts have

denominated these [additional] facts, the presence of which may indicate the existence of an

actionable agreement, as ‘plus factors’” and identifying “at least three such plus factors:

(1) evidence that the defendant had a motive to enter into a price fixing conspiracy; (2) evidence

that the defendant acted contrary to its interests; and (3) evidence implying a traditional

conspiracy” (citations and internal quotation marks omitted)).

       Here, the Class Complaint alleges parallel conduct by asserting, plausibly, that both the

Mylan and Pfizer Defendants participated in a scheme to secure invalid EpiPen patents, initiate

patent infringement litigation, and then settle those lawsuits with reverse payment settlements.

The court also concludes that the Class Complaint, construed in the class plaintiffs’ favor, alleges

sufficient “plus factors” and thus allows one to infer plausibly that an actionable agreement

existed. The class plaintiffs allege facts supporting a plausible inference that defendants were

motivated to enter an agreement to exclude competitors from entering the EAI market. See Class

Compl. ¶¶ 241 (alleging that defendants’ EpiPen-related revenues rise and fall together), 244

(alleging that, when Pfizer acquired King and Meridian, “Mylan was rightly concerned that

Pfizer might try to compete with Mylan by marketing the same device to consumers under a

different trade name. But rather than compete with Mylan, Pfizer agreed to continue supplying

the device to Mylan under terms that are not publicly available.”). The class plaintiffs also allege

that defendants worked together to effectuate this scheme by securing patents, litigating patent

infringement lawsuits, and entering into reverse payment settlements. Id. ¶¶ 238–39, 247, 270,



                                                 45
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 46 of 128




277, 298, 314, 632. The court recognizes that “each of [these] allegations of circumstantial

agreement standing alone may not be sufficient to imply agreement,” but, “taken together, they

provide a sufficient basis to plausibly contextualize the agreement necessary for pleading a § 1

claim.” Evergreen Partnering Grp., Inc. v. Pactiv Corp., 720 F.3d 33, 47 (1st Cir. 2013).

       Defendants argue that the Class Complaint asserts no allegations supporting at least one

of the plus factors—i.e., that defendants acted against their own economic interest. Defendants

assert that the Class Complaint alleges that the Mylan and Pfizer Defendants had a “unified

interest” in protecting the EpiPen monopoly and “work[ed] collaboratively to enhance the

product[’s] sales volume and profitability.” Class Compl. ¶ 241. According to defendants, these

allegations allow only an inference of lawful parallel conduct—not an unlawful agreement. But

the class plaintiffs respond that the Class Complaint alleges that Pfizer also participates in the

EAI market through its generic division Greenstone’s distribution of the Adrenaclick generic

EAI. Id. ¶ 101 n.16. So, the class plaintiffs contend, Pfizer was able to control a portion of the

small amount of the EpiPen’s competition. From these allegations, one could reasonably infer

that Pfizer acted against its own interests by conspiring with Mylan to exclude EpiPen

competition—competition that includes the generic Adrenaclick that Pfizer also distributes

through its Greenstone division.

       The court thus concludes that the Class Complaint sufficiently alleges facts capable of

supporting a finding or inference of requisite “plus factors.” Combined with defendants’ alleged

parallel business behavior, they state a plausible antitrust claim. The court thus denies

defendants’ Motions to Dismiss on this basis.

       Finally, in a footnote, defendants assert that the Copperweld doctrine bars the class

plaintiffs’ conspiracy claims because the Mylan and Pfizer Defendants are parties with a unified



                                                 46
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 47 of 128




interest and thus incapable of conspiring with each other for purposes of Sherman Act § 1. See

Copperweld Corp. v. Indep. Tube Corp., 467 U.S. 752, 777 (1984) (holding that a parent and its

wholly owned subsidiary are incapable of conspiring with each other under the Sherman Act);

see also Shionogi Pharma, Inc. v. Mylan, Inc., No. 10-1077, 2011 WL 2174499, at *5 (D. Del.

May 26, 2011) (recognizing that “district courts have held that other parties with unified

interests, such as a patent holder and licensee, are incapable of conspiring”). But Copperweld

does not hold that a patent holder and licensee never can conspire to violate the antitrust laws.

Indeed, as other courts have recognized, a patent holder and its licensee can conspire in violation

of the antitrust laws “only if [the conspiracy] deprives the marketplace of independent actors.”

Levi Case Co., Inc. v. ATS Prods., Inc., 788 F. Supp. 428, 431 (N.D. Cal. 1992); see also In re

Suboxone (Buprenorphine Hydrochloride & Naloxone) Antitrust Litig., No. 13-MD-2445, 2017

WL 4910673, at *8–9 (E.D. Pa. Oct. 30, 2017) (rejecting argument that alleged co-conspirators

were “a single economic entity as patent licensor and licensee” and refusing to apply the

Copperweld doctrine because the complaint alleged “two separate entities that engaged in

concerted action to jointly advance their economic interests”); Townshend v. Rockwell Int’l

Corp., No. C99-0400SBA, 2000 WL 433505, at *6 (N.D. Cal. Mar. 28, 2000) (denying Rule

12(b)(6) motion to dismiss conspiracy claims because the case law did not establish that patent

holder and licensee are “legally incapable of entering into a conspiracy” and concluding that

defendants’ capability of entering a conspiracy was a “question of fact” that the court could not

resolve on a motion to dismiss).

       Likewise, here, the court finds that the Class Complaint sufficiently alleges facts capable

of supporting a finding or inference that the Mylan and Pfizer Defendants are “two separate

entities that engaged in concerted action to jointly advance their economic interests.” In re



                                                 47
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 48 of 128




Suboxone, 2017 WL 4910673, at *9. Although the Class Complaint alleges that the Mylan and

Pfizer Defendants shared a “unified interest” in protecting the EpiPen monopoly (Class Compl. ¶

241), it also alleges that defendants had separate interests—Mylan through its sale of the EpiPen

and Pfizer with its control of a portion of the small amount of the EpiPen’s competition through

its Greenstone division’s distribution of the generic Adrenaclick. Indeed, the Class Complaint

alleges that both compete in the EAI market. The Class Complaint also alleges “anticompetitive

conduct at the heart of the alleged conspiracy”—i.e., the concerted effort to procure patents,

initiate patent infringement litigation, and enter into reverse payment settlements in an effort to

prevent EpiPen competitors from entering the EAI market—that is “ancillary” to the

patentee/licensee relationship. In re Suboxone, 2017 WL 4910673, at *9. For these reasons, the

court refuses to apply the Copperweld doctrine here.

                       5. Have the class plaintiffs alleged a viable antitrust claim based on
                          the “reverse” patent litigation settlements?

       Next, defendants argue that the class plaintiffs have failed to allege plausible antitrust

claims based on alleged reverse payment settlements. The Supreme Court has held that reverse

payment settlements “can sometimes violate the antitrust laws.” FTC v. Actavis, Inc., 570 U.S.

136, 141 (2013). A reverse payment settlement refers to an agreement by a brand-name

manufacturer and patent holder to compensate a generic manufacturer and alleged patent

infringer in exchange for settling patent infringement litigation, thus delaying the generic’s

market entry. In re Nexium (Esomeprazole) Antitrust Litig., 842 F.3d 34, 41 (1st Cir. 2016)

(citing Actavis, 570 U.S. at 145). “When a brand-name manufacturer pays to delay the first

filer’s generic launch, that reverse payment postpones not only the first filer’s product but also

those of all other generic manufacturers, who must wait out the 180-day exclusivity period

before going to market.” Id. Because a reverse payment settlement effectively delays generic

                                                 48
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 49 of 128




competition in the market, Actavis recognized that “a reverse payment, where large and

unjustified, can bring with it the risk of significant anticompetitive effects.” Actavis, 570 U.S. at

158.

        To determine whether a reverse payment settlement has anticompetitive effects, the

Supreme Court has instructed that “a detailed exploration of the validity of the patent itself” is

not necessary. Id. at 158. Instead, the anticompetitive effects of a reverse payment depend on

“its size, its scale in relation to the payor’s anticipated future litigation costs, its independence

from other services for which it might represent payment, and the lack of any other convincing

justification.” Id. at 159. The Supreme Court also recognized that “[t]he existence and degree of

any anticompetitive consequence may also vary as among industries.” Id. Because of “[t]hese

complexities,” the Supreme Court has held that courts must analyze alleged unlawful reverse

payment settlements under the rule of reason. Id.

        Here, defendants assert that the Class Complaint fails to plead facts showing that

defendants actually made any payments in the patent litigation settlements with Teva, Intelliject,

and Sandoz. Thus, defendants contend, the class plaintiffs fail to state a plausible claim based on

any of these settlements. The court addresses each of the three settlements separately, below.

                                a. Teva Settlement

        The class plaintiffs assert that one plausibly can infer from the Class Complaint’s

allegations that defendants made a large and unjustified reverse payment settlement in the Teva

Litigation. The Class Complaint alleges that one reasonably can infer “[f]rom the facts

surrounding the settlement” that “King and Meridian made a substantial ‘reverse payment’ to

Teva to convince it to delay bringing its competing generic auto-injector to market.” Class

Compl. ¶ 265. According to the Class Complaint, these facts include: (1) the district court in the



                                                   49
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 50 of 128




Teva Litigation had issued a Markman ruling interpreting the ’432 patent favorable to Teva; (2)

the parties settled after a full bench trial, meaning that the parties already had expended

significant litigation expenses compared to the marginal ones they would incur going forward;

and (3) it makes little sense that a “rational economic actor with a viable product (and who had

spent millions of dollars developing it) would refrain from entering a lucrative ‘blockbuster’

market for 36 months unless it received monetary compensation in exchange for non-entry.” Id.

       The Class Complaint never alleges the amount of the alleged settlement payment, but it

explains that the terms of the Teva settlement are confidential and not publicly available. Id. ¶

264. At least one court has held that a plaintiff need not plead a precise monetary settlement

amount, recognizing that “very precise and particularized estimates of fair value and anticipated

litigation costs may require evidence in the exclusive possession of the defendants, as well as

expert analysis, and that these issues are sufficiently factual to require discovery.” In re

Aggrenox Antitrust Litig., 94 F. Supp. 3d 224, 244 (D. Conn. 2015). Instead, to plead that a large

and unjustified reverse payment occurred, a plaintiff must assert “specific allegations about the

terms of the settlement and their relative value that are plausible on their face.” Id.; see also

King Drug Co. of Florence, Inc. v. Smithkline Beecham Corp., 791 F.3d 388, 410 (3d Cir. 2015)

(reversing a district court’s Rule 12(b)(6) dismissal of antitrust claims because “plaintiffs’

allegations, and the plausible inferences that can be drawn from them, are sufficient to state a

rule-of-reason claim under Twombly and Iqbal for violation of the Sherman Act on the ground

that [defendant] sought to induce [a generic] to delay its entry into the lamotrigine tablet market

by way of an unjustified no-AG agreement”); In re Loestrin 24 Fe Antitrust Litig., 814 F.3d 538,

552 (1st Cir. 2016) (declining to “require heightened fact pleading of specifics” such as “precise

figures and calculations at the pleading stage” but holding that “the plaintiffs must allege facts



                                                 50
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 51 of 128




sufficient to support the legal conclusion that the settlement at issue involves a large and

unjustified reverse payment under Actavis”).

       Defendants assert that the class plaintiffs’ allegations here fall short of this pleading

standard. For support, defendants rely on FTC v. AbbVie, Inc., 107 F. Supp. 3d 428 (E.D. Pa.

2015), where the court held that plaintiff had failed to state a plausible antitrust claim because

the patentees “did not make any payment, reverse or otherwise, to the claimed infringer . . . .”

Id. at 436. AbbVie’s facts differ significantly from the ones alleged here. The class plaintiffs

specifically allege that defendants “provided significant consideration, incentives, and benefits to

Teva to delay bringing their competing product to market.” Class Compl. ¶ 263. And, the court

concludes, the allegations assert specific facts—described above—that are capable of supporting

a reasonable inference that the consideration provided as part of the Teva settlement constituted a

substantial reverse payment. Id. ¶ 265.

       Defendants disagree. They argue that the asserted facts cannot support a plausible

inference of a reverse payment settlement. But their arguments invite the court to weigh the

Class Complaint’s factual allegations—something it cannot do on a motion to dismiss. For

example, defendants assert that the Teva settlement was not the product of an unlawful reverse

payment but, instead, a settlement that the trial court expressly encouraged. Doc. 93 at 14.

Defendants also disagree with the class plaintiffs’ assertion that the parties settled after they had

already incurred the most significant attorney’s fees through a bench trial. Defendants argue that

the Teva Litigation was “subject to the uncertainty, expense, and burden of protracted appeals

and possible remands.” Id. at 15. And, defendants contend, the Markman ruling was not

favorable to Teva but instead was more of a “mixed conclusion,” with the court rejecting two of

Teva’s proposed constructions. Id. (citations and internal quotations omitted).



                                                 51
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 52 of 128




       All these arguments require the court to consider disputed factual allegations. And that

function is not a proper one on a Rule 12(b)(6) motion to dismiss. See In re Cardizem CD

Antitrust Litig., 332 F.3d 896, 900 (6th Cir. 2003) (affirming district court’s denial of a motion to

dismiss because “[t]he defendants’ claim that [the generic manufacturer’s] decision to stay off

the market was motivated not by the [reverse payment], but by its fear of damages in the pending

patent infringement litigation, merely raise[d] a disputed issue of fact that cannot be resolved on

a motion to dismiss”). Instead, viewing the allegations in the class plaintiffs’ favor, the court

concludes that the Class Complaint alleges “enough facts” to allow a reasonable inference that

the Teva settlement constituted an unlawful reverse payment and thus is sufficient to “nudge[ ]

the[ ] claims across the line from conceivable to plausible.” Twombly, 550 U.S. at 570.

                               b. Intelliject Settlement

       Defendants next argue that the class plaintiffs assert conclusory allegations to support

their theory that the Intelliject settlement constitutes an unlawful reverse payment settlement.

Thus, defendants contend, the class plaintiffs fail to state a plausible claim for relief based on it.

For the same reasons already discussed, the court rejects defendants’ argument.

       Viewing the Class Complaint’s allegations in the class plaintiffs’ favor, one can infer

plausibly that defendants made a reverse payment in the Intelliject settlement. The Class

Complaint alleges that, in February 2012, Mylan and Pfizer jointly announced settlement of the

Intelliject litigation. Class Compl. ¶ 298. Like the Teva settlement, the terms of the Intelliject

settlement are confidential. Id. But Mylan and Pfizer publicly stated that “the agreement

prevented Intelliject and Sanofi from launching their e-cue device for another nine months, until

November 15, 2012.” Id. The Class Complaint asserts that “[t]he relatively short duration of

delay before entry of the e-cue likely indicates the strength of Intelliject’s defenses to the patent



                                                  52
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 53 of 128




litigation.” Id. The Class Complaint also contends, “on information and belief, Intelliject and

Sanofi agreed not to enter the market until November 15, 2012[,] in exchange for valuable

consideration.” Id. ¶ 299. These allegations can support a plausible inference that defendants

settled the Intelliject litigation by making a reverse payment.

       Defendants contend that these facts won’t allow such an inference because the settlement

granted Intelliject a market entry date that was 13 years before the EpiPen patents expire.

Defendants argue that this allegation shows just that the Intelliject settlement is a traditional

settlement agreement involving a negotiated early entry date. And that type of settlement

agreement is not subject to antitrust scrutiny. Actavis, 570 U.S. at 158. With this argument,

defendants again ask the court to weigh disputed factual allegations. The court cannot engage in

such fact-finding on a motion to dismiss. For these reasons, the court finds that the Class

Complaint plausibly asserts that the Intelliject settlement constituted a large and unjustified

reverse payment settlement sufficient to support an antitrust claim.

                               c. Sandoz Settlement

       Finally, defendants assert that the Class Complaint fails to allege that the Sandoz

settlement involved a large and unjustified reverse payment settlement. The Class Complaint

alleges that, in 2010, Sandoz attempted to enter the EAI market with a generic alternative to the

EpiPen. Class Compl. ¶ 302. The Class Complaint asserts that “defendants conspired to have

King file a patent infringement suit against Sandoz in response to its ANDA filing.” Id. Pfizer

filed a Form 10-Q with the SEC in 2016. Id. It recited that Sandoz’s ANDA is ongoing and the

litigation is stalled because the court had entered an order staying the FDA process and

administratively terminating the action, subject to the parties seeking to reopen the case by letter

request. Id. To date, no party has reopened the case. Id. The Class Complaint describes how



                                                  53
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 54 of 128




staying the litigation also stays a definitive ruling on any challenge to the EpiPen patents. Id.

And it asserts “[o]n information and belief” that defendants “entered into an agreement with

Sandoz to stay the case indefinitely in exchange for valuable consideration to Sandoz.” Id. at ¶

303.

       Although the class plaintiffs cannot provide the precise terms of the Sandoz agreement

without the benefit of discovery, one plausibly can infer from Sandoz’s actions that it received

significant consideration in exchange for its actions—i.e., agreeing to stay its ANDA application

for its generic product. Indeed, one also could infer the opposite conclusion—that Sandoz

agreed to stay its ANDA application because it considered the patent infringement claims valid

and appreciated the risk that it would lose the patent infringement litigation. But, at the pleading

stage, the court cannot make that determination. Instead, the court must consider the facts

alleged in the class plaintiffs’ favor and draw reasonable inferences from them. Applying that

standard here, the court concludes that the class plaintiffs have asserted a plausible antitrust

claim based on their allegations that the Sandoz settlement involved an unlawful reverse

payment settlement.

                       6. Have the class plaintiffs stated a plausible antitrust claim based on
                          the FDA Citizen Petition?

       Next, the Mylan Defendants argue that the class plaintiffs’ allegations about the FDA

Citizen Petition fail to state a plausible antitrust claim. The Mylan Defendants assert two

arguments supporting dismissal.

       First, the Mylan Defendants contend, the Class Complaint never alleges that the Citizen

Petition caused any delay in the FDA approval process. The Mylan Defendants explain that a

federal statute requires the FDA to take final agency action on a Citizen Petition within 150 days

(about five months). 21 U.S.C. § 355(q)(1)(F). And, 21 U.S.C. § 355(q)(1)(A) provides that the

                                                 54
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 55 of 128




Secretary “shall not delay approval” of a pending ANDA based on the filing of a Citizen

Petition. But, as Mylan concedes, this statute also contains an exception. It authorizes “the

Secretary, upon reviewing the petition,” to determine whether a further delay is necessary to

protect public health. 21 U.S.C. § 355(q)(1)(A)(ii). And, as the Class Complaint alleges, legal

scholars and Congress have recognized the “dangerous potential” of Citizen Petitions (such as

Mylan’s) to extend brand monopolies and delay approval of generics. Class Compl. ¶¶ 306, 308.

       The Class Complaint asserts that Mylan filed a Citizen Petition on January 16, 2015, “a

mere six months before Teva was scheduled (pursuant to the settlement) to enter the market.” Id.

¶ 311. It also alleges that Mylan waited until May 2015—almost five months after filing its

Citizen Petition and only weeks before the FDA was required to respond—to supplement its

Petition with a 48-page independent study purportedly showing that patients would not use

Teva’s generic product correctly. Id. ¶ 311. The Class Complaint quotes a legal scholar who has

questioned the timing of Mylan’s Citizen Petition and suggested that it was part of a strategy to

delay Teva’s ANDA approval. Id. ¶¶ 311, 314. And, the Class Complaint asserts, “[b]ut for

Mylan’s anti-competitive assault campaign” that included the FDA Citizen Petition, “Teva

would have entered the market much sooner and fixed the deficiencies that led to the FDA’s

rejection of Teva’s generic.” Id. ¶ 322.

       At least one court has concluded that allegations similar to those asserted here—ones that

asserted, generally, that citizen petitions can delay the FDA approval process, and, more

specifically, that a defendant had delayed approval of a generic competitor—“plausibly pleads

that the citizen petition resulted in delay of the FDA’s approval of the generic ANDAs.” In re

Suboxone (Buprenorphine Hydrochloride and Naloxone) Antitrust Litig., No. 13-MD-2445, 2017

WL 3967911, at *18 (E.D. Pa. Sept. 8, 2017) (denying a Rule 12(b)(6) motion to dismiss



                                                55
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 56 of 128




antitrust claims based on alleged delay caused by FDA citizen petition because the Amended

Complaint plausibly pleaded delay and “[w]hether such a delay actually occurred in this case is a

subject more properly left for resolution after discovery”). For the same reasons, the court finds

that the class plaintiffs plausibly have alleged that Mylan’s Citizen Petition delayed the FDA

approval process.11

        Second, the Mylan Defendants assert that the Noerr-Pennington doctrine bars the class

plaintiffs’ claims based on the FDA Citizen Petition. As discussed, the Noerr-Pennington

doctrine “exempts from antitrust liability any legitimate use of the political process by private

individuals, even if their intent is to eliminate competition.” Tal v. Hogan, 453 F.3d 1244, 1259

(10th Cir. 2006) (citation and internal quotations marks omitted). But Noerr-Pennington

immunity does not apply to “sham” activities. Prof’l Real Estate Inv’rs, Inc. v. Columbia

Pictures Indus., Inc., 508 U.S. 49, 60–61 (1993). Petitioning the government is a “sham”

activity if: (1) it is “objectively baseless in the sense that no reasonable litigant could

realistically expect success on the merits,” and (2) it “uses the governmental process—as

opposed to the outcome of that process—as an anticompetitive weapon.” Id. (citations and

internal quotation marks omitted).

        The Mylan Defendants assert that the Class Complaint’s allegations don’t satisfy these

two requirements to plead adequately that Mylan’s Citizen Petition falls within the sham

exception to the Noerr-Pennington doctrine. First, the Mylan Defendants argue that the

                                                            
11
               In the same vein, the Mylan Defendants argue that the Citizen Petition never delayed the FDA
approval process because the FDA ultimately denied Teva’s application. But, for reasons explained in
Part III.A.3. above, the Class Complaint adequately alleges “[b]ut for Mylan’s anticompetitive assault
campaign”—described in the Class Complaint as the patent settlement litigation, reverse payment
settlements, and FDA Citizen Complaint—“Teva would have entered the market much sooner and fixed
the deficiencies that led to the FDA’s rejection of Teva’s generic.” Class Compl. ¶ 322. As the court
concluded already, these allegations sufficiently allege causation. They also support the class plaintiffs’
claim that Mylan’s FDA Citizen Petition delayed Teva’s entry into the market.

                                                     56
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 57 of 128




allegations don’t plead facts capable of supporting a finding or inference that Mylan’s Citizen

Petition was objectively baseless. Some courts have found that the question “[w]hether

petitioning activity is a sham is generally [one] for the jury.” In re Suboxone (Buprenorphine

Hydrochloride and Naloxone) Antitrust Litig., 64 F. Supp. 3d 665, 689 (E.D. Pa. 2014) (citing In

re Flonase Antitrust Litig., 795 F. Supp. 2d 300, 310 (E.D. Pa. 2011)). But “‘a court may decide

probable cause as a matter of law’ where ‘there is no dispute over the predicate facts of the

underlying . . . proceeding.’” Id. (quoting Prof’l Real Estate Inv’rs, Inc., 508 U.S. at 63).

       The Class Complaint asserts facts supporting a plausible inference that the Citizen

Petition was objectively baseless because of its timing and contents. Mylan waited until January

2015—six months before Teva was scheduled to enter the market—to file the Citizen Petition

even though Teva had been developing the drug for six years, the parties had litigated the patent

infringement suit for three years, and the parties settled that litigation three years before the

Petition’s filing. Class Compl. ¶¶ 311, 314. The Class Complaint also asserts that Mylan’s

Citizen Petition relied on a medical statement from a doctor who Mylan paid to render the

opinion. Id. ¶¶ 317, 318. And Mylan’s Citizen Petition never disclosed that it had made such a

payment. Id. ¶ 318.

       The Class Complaint also alleges that Mylan waited just weeks before the FDA was

required to respond to the ANDA to supplement its Citizen Petition by submitting a study. Id. ¶

311. The Class Complaint asserts that this study had “numerous flaws that demonstrate that

Mylan was not acting in good faith” by submitting it to the FDA. Id. ¶ 313. The Class

Complaint identifies specific flaws: the study lacked a control group; it did not use the actual

generic device, but a prototype; it used a small number of participants; the researchers failed to




                                                  57
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 58 of 128




provide proper instructions to the study’s participants for using the prototype; and the researchers

told the participants to watch a video instead of actually use the prototype. Id.

       The Mylan Defendants respond with various arguments attacking these allegations. They

explain the legitimacy of the filings’ timing, the doctor’s medical statement, the payments the

doctor received (noting that the doctor received payments from other pharmaceutical companies,

including Teva), and the supplemental study. But these arguments present disputed fact issues

that the court cannot decide at the pleading stage. On a motion to dismiss, the court considers

the allegations in the class plaintiffs’ favor and concludes they sufficiently allege that Mylan’s

FDA Citizen Petition was objectively baseless. See In re Suboxone Antitrust Litig., 2017 WL

3967911, at *17 (explaining that federal antitrust claims “based on the filing of a sham citizen

petition survived dismissal” because the complaint “sets forth multiple facts which could create

an inference that the petition was objectively baseless”); see also La. Wholesale Drug Co. v.

Sanofi-Aventis, No. 07 Civ.7343(HB), 2008 WL 169362, at *5 (S.D.N.Y. Jan. 18, 2008)

(denying motion to dismiss antitrust claims based on an alleged sham petition because plaintiff

alleged triable fact issues about “the reasonability and viability” of the citizen petition and was

entitled to additional discovery to prove the allegations).

       The court also finds that the Class Complaint plausibly alleges that Mylan used the

process of filing the FDA Citizen Petition—not the outcome of that proceeding—to restrain

competition. The Class Complaint repeatedly alleges that Mylan used the FDA Citizen Petition

process as a means to delay Teva’s market entry. Class Compl. ¶¶ 304, 310, 311, 316, 319, 321.

These allegations suffice to state an antirust claim based on Mylan’s Citizen Petition that falls

within the sham exception to the Noerr-Pennington doctrine.




                                                 58
 
     Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 59 of 128




                         7. Have the class plaintiffs alleged a plausible antitrust claim based
                            on allegedly misleading statements?

        The Mylan Defendants next argue that the Class Complaint fails to allege plausible

antitrust claims based on the Mylan Defendants’ misrepresentations about Auvi-Q’s

bioequivalence and not-covered status.12 Deceptive speech can support Sherman Act claims

because “in some cases, such defamation, which plainly is not competition on the merits, can

give rise to antitrust liability, especially when it is combined with other anticompetitive acts.”

W. Penn Allegheny Health Sys., Inc. v. UPMC, 627 F.3d 85, 109 n.14 (3d Cir. 2010); see also

Caldera, Inc. v. Microsoft Corp., 87 F. Supp. 2d 1244, 1249 (D. Utah 1999) (holding that alleged

misleading statements about the plaintiff’s product viewed with other anticompetitive behavior

supported a Sherman Act § 2 claim sufficient to survive summary judgment).

        The Tenth Circuit presumes that allegedly false speech “bears only a de minimis effect on

competition.” Lenox MacLaren Surgical Corp. v. Medtronic, Inc., 762 F.3d 1114, 1127 (10th

Cir. 2014); see also Nat’l Ass’n of Pharm. Mfrs., Inc. v. Ayerst Labs., 850 F.2d 904, 916 (2d Cir.

1988) (“[A] plaintiff asserting a monopolization claim based on misleading advertising must

overcome a presumption that the effect on competition of such a practice was de minimis.”

(citation and internal quotation marks omitted)).13 An antitrust plaintiff “may rebut this

                                                            
12
               The Mylan Defendants also recognize another type of deceptive speech that the Class Complaint
appears to allege to support an antitrust claim. The class plaintiffs assert that Mylan failed to disclose the
“bought-and-paid-for” physician statements supporting the EpiPen 2-Pak. Doc. 95 at 60. The Mylan
Defendants assert that these allegations cannot support an antitrust claim based on deceptive speech
because they involve omissions—not deceptive statements. The class plaintiffs’ Opposition never
responds to this argument. Doc. 123 at 58–60. And instead, it confines its arguments to allegedly false
statements that Mylan made about the Auvi-Q. Id. The court thus concludes that the class plaintiffs have
abandoned any attempt to base their deceptive speech claims on Mylan’s failure to disclose that it
allegedly paid physicians for their statements supporting the EpiPen 2-Pak. The court thus dismisses any
of the class plaintiffs’ antitrust deceptive speech claims based on this alleged failure to disclose.
13
        The class plaintiffs assert that the de minimis test applies only to competitors asserting a
deceptive speech claim—not consumers like the class plaintiffs here. But they cite no case law
supporting this argument. And the Mylan Defendants respond that the Ninth Circuit has applied the de

                                                     59
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 60 of 128




presumption by satisfying a six-factor test, showing that the disparagement was: (1) clearly

false, (2) clearly material, (3) clearly likely to induce reasonable reliance, (4) made to buyers

without knowledge of the subject matter, (5) continued for prolonged periods, and (6) not readily

susceptible to neutralization or other offset by rivals. Lenox, 762 F.3d at 1127 (citing Am. Prof’l

Testing Serv., Inc. v. Harcourt Brace Jovanovich Legal & Prof’l Publ’ns, Inc., 108 F.3d 1147,

1152 (9th Cir. 1997)); see also Ayerst Labs., 850 F.2d at 916 (quoting III P. Areeda & D. Turner,

Antitrust Law ¶ 738a, at 278–79 (1978)). The Tenth Circuit has not decided whether a plaintiff

must satisfy all six factors to overcome the de minimis presumption. Lenox, 762 F.3d at 1128

n.9; see also Duty Free Ams., Inc. v. Estee Lauder Cos., 797 F.3d 1248, 1269 (11th Cir. 2015)

(holding that it need not determine whether a plaintiff must allege all six factors because the

complaint failed to allege falsity).

        In Ayerst, the Second Circuit held that a district court had erred by dismissing a Sherman

Act § 2 claim. Plaintiff there based its claim on an allegedly false and deceptive letter that

defendant had sent to customers. The court found that plaintiff’s Complaint alleged several of

the factors required to overtake the de minimis presumption—including that the letter was clearly

false, clearly material, and clearly likely to induce reasonable reliance. Id. But the court also

agreed with defendant: plaintiff had not alleged other certain factors because the Complaint

asserted that defendant sent the letter to pharmacists—persons likely to have knowledge about

the subject matter—and that defendant only could have made the misrepresentations for a short

time period. Id. at 917. Nevertheless, the court concluded, “several factors . . . cannot be

                                                            
minimis presumption to competitors and consumers alike. See Am. Prof’l Testing Serv., Inc. v. Harcourt
Brace Jovanovich Legal & Prof’l Publ’ns, Inc., 108 F.3d 1147, 1152 (9th Cir. 1997) (explaining that the
court “insist[s] on a preliminary showing of significant and more-than-temporary harmful effects on
competition (and not merely upon a competitor or customer) before [disparaging of a rival product] can
rise to the level of exclusionary conduct” (emphasis added)). Without any authority supporting the class
plaintiffs’ position, the court declines to hold the de minimis test does not apply to their claims here.

                                                   60
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 61 of 128




adequately evaluated until the discovery process has moved forward to a greater extent than it

has thus far.” Id. The court thus held that the Complaint pleaded a Sherman Act § 2 claim

sufficient to survive Rule 12(b)(6) dismissal.

       Viewing the facts alleged here in the light most favorable to the class plaintiffs, the Class

Complaint alleges several of the factors required to overcome a presumption that deceptive

statements have had a de minimis effect on competition. The class plaintiffs allege that Mylan:

(1) created and spread misinformation about the Auvi-Q and its bioequivalence to the EpiPen;

(2) funded and promoted a study that was intended to undermine the FDA’s conclusion that

Auvi-Q demonstrated bioequivalence to the epinephrine in the EpiPen; and (3) made misleading

statements to physicians that the EpiPen was the “preferred” brand based on Auvi-Q’s coverage

exclusions when Mylan itself produced the exclusion with its large, conditional rebate offers.

Class Compl. ¶¶ 229, 232–34. The class plaintiffs assert that these allegedly false and

misleading statements blocked Auvi-Q from competing in the market, thus excluding

competition. Id. ¶¶ 229–31, 235.

       The Mylan Defendants contend that the class plaintiffs’ allegations fail to assert that

Mylan’s allegedly deceptive statements were “clearly false,” as the first factor of the six-factor

test requires. The court disagrees. One plausibly can infer from the Class Complaint’s

allegations that Mylan’s statements about Auvi-Q were clearly false. Although the Class

Complaint does not use those precise words, it calls the statements “misinformation” and so

“misleading” that they “ensur[ed] that physicians would think that the EpiPen was the only

realistic choice for their patients.” Id. ¶¶ 229, 234–35. Of course, to prevail on their speech-

based claims, the class plaintiffs must come forward with evidence showing that these alleged

statements produced anticompetitive effects in violation of the antitrust laws. But, at the



                                                 61
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 62 of 128




pleading stage, the court applies Ayerst’s rationale and concludes that the class plaintiffs “should

be allowed to go forward with the discovery process to substantiate [their] claim” that Mylan’s

allegedly deceptive speech violated the antitrust laws. Ayerst Labs., 850 F.2d at 917.

        Also, following Ayerst, the court need not decide whether the Class Complaint alleges

facts capable of supporting each factor before it could overtake the de minimis presumption. The

Ayerst plaintiff did not satisfy such an obligation at the pleading stage. The court finds

persuasive Ayerst’s conclusion that these factors require factual development through the

discovery process. Here, the court cannot evaluate several of the factors adequately without the

facts that discovery may or may not produce. So, the court denies the motion to dismiss the class

plaintiffs’ deceptive speech claim at the pleading stage. See id. at 917.

                        8. Have the class plaintiffs stated plausible claims for relief under
                           state antitrust laws?

        Finally, defendants argue that the Class Complaint fails to allege any plausible claims

under all the state antitrust laws invoked by the Class Complaint. Defendants contend that the

state antitrust claims fail for the same reasons that the federal claims fail. But, as discussed

above, the court concludes that the Class Complaint states plausible claims for relief under the

federal antitrust laws. It reaches the same conclusion about defendants’ repackaged arguments

attacking the state law claims.

        Also, defendants advance three other arguments that, they say, warrant dismissal of

certain state antitrust claims. First, defendants argue that the court should dismiss state antitrust

claims asserted under the laws of Alaska, Arizona,14 the District of Columbia, Iowa, New


                                                            
14
               The Class Complaint names only one plaintiff who resides in Arizona—Cassandra Bredek. Class
Compl. ¶ 14. But Ms. Bredek voluntarily dismissed her claims on February 7, 2018. Doc. 139. So, no
Arizona plaintiffs remain in the case.


                                                   62
 
     Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 63 of 128




Mexico, North and South Dakota, Oregon,15 Puerto Rico, Rhode Island, Vermont,16 and

Wisconsin 17 because the Class Complaint includes no named plaintiff who resides in any of

these states. Our court has recognized that “[s]everal courts, including other district courts in the

Tenth Circuit, have determined that the plaintiffs in a putative class action may only assert a state

law claim if a named plaintiff resides in, does business in, or has some other connection to that

state.” Roco, Inc. v. EOG Res., Inc., No. 14-1065-JAR-KMH, 2014 WL 5430251, at *3 (D. Kan.

Oct. 24, 2014) (first citing Griffin v. Dugger, 823 F.2d 1476, 1483 (11th Cir. 1987); then citing

Thomas v. Metro. Life Ins. Co., 540 F. Supp. 2d 1212, 1226–27 (W.D. Okla. 2008) (other

citations omitted)). Because the Class Complaint names no plaintiff who resides in the 12 states

listed above, the court agrees with defendants. The named class plaintiffs lack standing to assert

claims under the antitrust laws of these states.

        The class plaintiffs argue that a number of courts have refused to dismiss antitrust state

law claims at the motion to dismiss stage simply because the complaint includes no named

plaintiff from that particular state. But the class plaintiffs cite district court cases from outside

the Tenth Circuit to support this position. In contrast, the Tenth Circuit has held: “Prior to class

certification, the named plaintiffs’ failure to maintain a live case or controversy is fatal to the

case as a whole—that unnamed plaintiffs might have a case or controversy is irrelevant.”



                                                            
15
               The Class Complaint names just one plaintiff who resides in Oregon—David Smith. Class
Compl. ¶ 50. But Mr. Smith voluntarily dismissed his claims on February 7, 2018. Doc. 139. So, no
Oregon plaintiffs remain in the case.
16
       The Class Complaint names just one plaintiff who resides in Vermont—John Dodge. Class
Compl. ¶ 58. But Mr. Dodge voluntarily dismissed his claims on February 7, 2018. Doc. 139. So, no
Vermont plaintiffs remain in the case.
17
       The Class Complaint names just one plaintiff who resides in Wisconsin—Heather Rutland. Class
Compl. ¶ 63. But Ms. Rutland voluntarily dismissed her claims on February 7, 2018. Doc. 139. So, no
Wisconsin plaintiffs remain in the case.

                                                   63
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 64 of 128




Thomas v. Metro. Life Ins. Co., 631 F.3d 1153, 1159 (10th Cir. 2011) (citations omitted); see

also Roco, 2014 WL 5430251, at *4 (“Where the only named plaintiff in a putative class action

lacks standing from the outset of the case, and a class is yet to be certified, the proper course is

dismissal.” (citations omitted)); Smith v. Pizza Hut, Inc., No. 09-cv-1632-CMA-BNB, 2011 WL

2791331, at *9 (D. Colo. July 14, 2011) (holding, “Plaintiff lacks standing to bring claims under

state laws to which Plaintiff has never been subjected and the class action claim must therefore

be dismissed for lack of standing”). Based on this authority, including the binding Circuit

precedent, the court dismisses the antitrust state law claims for which the Class Complaint

includes no named plaintiff from that state.

       Alternatively, the class plaintiffs seek leave to amend the Class Complaint to cure the

absence of certain states’ representatives. The court finds it premature to grant such relief. The

class plaintiffs provide no information about these additional representatives, including whether

they have located any representative from any of these 12 states. To the extent the class

plaintiffs identify class representatives from any of these states, they may file an appropriate

motion seeking leave to amend the Class Complaint to add them as parties.

       Second, defendants argue, the class plaintiffs are indirect purchasers who cannot assert

claims for relief under the antitrust laws of Alaska, Arkansas, Illinois, Massachusetts, Missouri,

Puerto Rico, Rhode Island, and West Virginia. Defendants assert that these state laws bar

indirect purchaser claims.

       In Illinois Brick Co. v. Illinois, 431 U.S. 720 (1997), the Supreme Court held that only

direct purchasers may bring claims for damages under the federal antitrust laws. Id. at 737. To

avoid the Illinois Brick rule, some states have passed “repealer” statutes allowing indirect

purchasers to recover under state antitrust laws. See In re Broiler Chicken Antitrust Litig., 290 F.



                                                  64
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 65 of 128




Supp. 3d 772, 818 (N.D. Ill. 2017). Here, defendants contend, the class plaintiffs assert claims

under certain state laws that still bar indirect purchaser claims consistent with the rule in Illinois

Brick.

         In response to this argument, the class plaintiffs concede that Alaska does not permit

indirect purchaser claims. But they stand on their claims asserted under the other seven states’

laws. For two of those seven states—Puerto Rico and Rhode Island—the Class Complaint

includes no named plaintiff. The court dismisses those claims for the same reason already

discussed. Thus, the court need not address defendants’ argument that these state laws bar

indirect purchaser claims.

         For Illinois, defendants assert that the Illinois Antitrust Act specifically provides: “[N]o

person other than the Attorney General of this State shall be authorized to maintain a class action

in any court of this State for indirect purchasers asserting claims under this Act.” 740 Ill. Comp.

Stat. § 10/7(2); see also In re Flonase Antitrust Litig., 692 F. Supp. 2d 524, 539 (E.D. Pa. 2010)

(prohibiting plaintiffs from asserting class action claims under the Illinois Antitrust Act because

“the Act does not provide relief to indirect purchasers through class actions”). But several courts

have concluded that the class action prohibition in the Illinois Antitrust Act is procedural in

nature and that Rule 23 applies to determine whether a claim may be brought as a class action.

So, because “[t]he availability of the class action procedure does not change the substantive

rights or remedies available to [plaintiffs] under Illinois law,” courts have refused to dismiss

Illinois Antitrust Act claims “on the basis of the Illinois’s class action bar.” In re Broiler

Chicken Antitrust Litig., 290 F. Supp. 3d at 818; see also, e.g., In re Propranolol Antitrust Litig.,

249 F. Supp. 3d 712, 728 (S.D.N.Y. 2017); In re Aggrenox Antitrust Litig., No. 14-MD-

2516(SRU), 2016 WL 4204478, at *6 (D. Conn. Aug. 9, 2016); In re Lithium Ion Batteries



                                                  65
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 66 of 128




Antitrust Litig., No. 13-MD-2420-YGR, 2014 WL 4955377, at *21 (N.D. Cal. Oct. 2, 2014); In

re TFT-LCD (Flat Panel) Antitrust Litig., No. M 07-1827-SI, 2011 WL 13152270, at *5 (N.D.

Cal. Aug. 24, 2011). Although these cases are not binding precedent in our Circuit,18 the court

finds their reasoning persuasive. And, for the same reason, the court concludes that the class

plaintiffs’ Illinois antitrust claims survive dismissal at the pleading stage.

        For the West Virginia claim, defendants argue that the state’s Code includes a

harmonization provision, directing courts to construe the state’s Antitrust Act “in harmony with

ruling judicial interpretations of comparable federal antitrust statutes.” W. Va. Code § 47-18-16.

Defendants contend that the West Virginia legislature enacted this provision one year after the

Supreme Court decided Illinois Brick and that it has not otherwise abrogated Illinois Brick by

statute. But, plaintiffs respond, the West Virginia Attorney General has issued a Legislative

Rule providing that “[a]ny person who is injured directly or indirectly by reason of a violation of

the West Virginia Antitrust Act may bring an action for damages.” W. Va. Code St. R. § 142-9-

2. Relying on this rule, several federal courts have held that the West Virginia Antitrust Act

permits indirect purchaser claims. See, e.g., In re Broiler Chicken Antitrust Litig., 290 F. Supp.

3d at 812; In re Chocolate Confectionary Antitrust Litig., 602 F. Supp. 2d 538, 582 n.55 (M.D.

Pa. 2009); In re Dynamic Random Access Memory (Dram) Antitrust Litig., 516 F. Supp. 2d

1072, 1097 (N.D. Cal. 2007); In re New Motor Vehicles Canadian Export Antitrust Litig., 350 F.

Supp. 2d 160, 173–75 (D. Me. 2004); In re Terazosin Hydrochloride Antitrust Litig., 160 F.

Supp. 2d 1365, 1376, n.8 (S.D. Fla. 2001). Following the reasoning of these decisions, the court

joins them and denies defendants’ motion to dismiss the West Virginia antitrust claims.



                                                            
18
               The parties do not cite, and the court has not located, a Tenth Circuit decision addressing this
issue, or even one from a district court within our Circuit.

                                                        66
 
     Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 67 of 128




        For the other state antitrust laws, the class plaintiffs rely on case law that does not support

their argument that indirect purchasers may bring a cause of action under these state statutes.

Instead, the authority that defendants cite establishes that indirect purchasers may not bring a

cause of action under the antitrust laws of Arkansas, 19 Massachusetts, 20 and Missouri.21 The

court thus dismisses these state law antitrust claims.

        Third, defendants argue that the court must dismiss the California, Kansas, New York,

and Tennessee antitrust claims brought in Counts IV, V, and VI (monopolization, attempted

monopolization, and tying) because these states do not recognize unilateral conduct claims. The

class plaintiffs’ response concedes that the New York claims are not viable. Doc. 123 at 83

n.282. The court thus dismisses the New York claims asserted under Counts IV, V, and VI.

                                                            
19
               Plaintiffs assert their Arkansas antitrust claim under Ark. Code Ann. § 4-75-212(b). Class
Compl. ¶ 562.d. That statute authorizes the Attorney General to sue on behalf of persons injured “directly
or indirectly.” Ark. Code Ann. § 4-75-212(b). Other courts have dismissed indirect purchaser claims
brought under similar provisions in the Arkansas Unfair Practices Act because they do “not provide for a
private individual to bring an action and only permit[ ] actions by the Attorney General.” In re Cast Iron
Soil Pipe & Fittings Antitrust Litig., No. 1:14-md-2508, 2015 WL 5166014, at *22 (E.D. Tenn. June 24,
2015). See also In re TFT-LCD (Flat Panel) Antitrust Litig., 599 F. Supp. 2d 1179, 1181 (N.D. Cal.
2009) (holding that plaintiffs could not “circumvent the restrictions on antitrust claims under Arkansas
. . . law by reframing those claims as unjust enrichment actions”).
20
         The Massachusetts Supreme Court has held that “indirect purchasers can assert claims for price-
fixing or other anticompetitive conduct under [Mass. Gen. Laws ch.] 93A § 9, where they have no
standing [otherwise] to bring such claims under the Massachusetts Antitrust Act [Mass. Gen. Laws ch.]
93 §§ 1-14A.” Ciardi v. F. Hoffmann-La Roche, Ltd., 762 N.E.2d 303, 306 (Mass. 2002) (emphasis
added). Here, the class plaintiffs assert their state antitrust claim under the latter chapter that Ciardi
discusses, i.e. Mass. Gen. Laws Ch. 93, § 1 et seq. Class Compl. ¶ 562.l. And, as Ciardi holds, an
indirect purchaser has no standing to sue under this chapter. Ciardi, 762 N.E.2d at 306.
21
         The class plaintiffs’ response asserts that the Missouri Merchandising Practices Act, Mo. Rev.
Stat. §§ 407.020, does not bar indirect purchaser suits. But that’s not the Missouri antitrust statute that
the Class Complaint asserts to support its state antitrust claim. Instead, the Class Complaint relies on Mo.
Rev. Stat. § 416.011, et seq. And, as several courts have held, “Missouri’s antitrust laws . . . prohibit
recovery by indirect purchasers.” In re Lithium Ion Batteries Antitrust Litig., No. 13-MD-2420-YGR,
2014 WL 4955377, at *19 (N.D. Cal. Oct. 2, 2014); see also In re Asacol Antitrust Litig., No. 15-cv-
12730-DJC, 2016 WL 4083333, at *12 (D. Mass. July 20, 2016); In re Pool Prods. Distrib. Mkt. Antitrust
Litig., 946 F. Supp. 2d 554, 570 (E.D. La. 2013); Duvall v. Silvers, Asher, Sher & McLaren, M.D.’s, 998
S.W.2d 821, 824 (Mo. Ct. App. 1999).


                                                    67
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 68 of 128




       For the California claim, the Class Complaint asserts state antitrust claims under

California’s Cartwright Act (Cal. Bus. & Prof. Code §§ 16700, et seq.) and California’s Unfair

Competition Law (Cal. Bus. & Prof. Code §§ 17200 et seq.). Class Compl. ¶ 562.e. The

Cartwright Act does not prohibit unilateral conduct. Dimidowich v. Bell & Howell, 803 F.2d

1473, 1478 (9th Cir. 1986); see also Bondi v. Jewels by Edwar, Ltd., 73 Cal. Rptr. 494, 498 (Cal.

Ct. App. 1968) (concluding that Cartwright Act prohibits agreements in restraint of trade). But,

in contrast, the class plaintiffs may assert a claim based on unilateral conduct under California’s

Unfair Competition Law. See, e.g., In re Relafen Antitrust Litig., 221 F.R.D. 260, 283 (D. Mass.

2004); In re Terazosin Hydrochloride Antitrust Litig., 160 F. Supp. 2d 1365, 1379 (S.D. Fla.

2001). However, the class plaintiffs’ remedies under that provision are “generally limited to

injunctive relief and restitution.” Cel-Tech Commc’ns, Inc. v. L.A. Cellular Tel. Co., 973 P.2d

527, 539 (Cal. 1999); see also In re Terazosin Hydrochloride Antitrust Litig., 160 F. Supp. 2d at

1379 (explaining that the “Unfair Competition Law does not authorize awards of damages at

law”). The court thus denies defendants’ motion to dismiss the claims asserted under

California’s Unfair Competition Law but dismisses the state antitrust claims based on unilateral

conduct and asserted in Counts IV, V, and VI under California’s Cartwright Act.

       For Kansas, the class plaintiffs assert that Kan. Stat. Ann. § 50-161(b) permits indirect

purchasers to recover if “damaged or injured by any agreement, monopoly, trust, conspiracy or

combination . . . .” Id. (emphasis added). But, as one court has observed, “the Kansas

Monopolies and Unfair Trade Act . . . by its terms prohibits combinations and conspiracies

only.” In re Relafin Antitrust Litig., 221 F.R.D. 260, 283 (D. Mass. 2004) (citing Kan. Stat. Ann.

§ 50-132 (“No person, servant, agent or employee of any person doing business within the state

of Kansas shall conspire or combine with any other persons, within or without the state for the



                                                68
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 69 of 128




purpose of monopolizing any line of business . . . .” (emphasis added))). Thus, In re Relafin

reasoned, the Kansas Restraint of Trade Act does not permit unilateral conduct claims. Id.

Finding no other case law addressing this issue and finding In re Relafin’s reasoning persuasive,

the court dismisses the class plaintiffs’ Kansas antitrust law claims based on unilateral conduct

and asserted in Counts IV, V, and VI.

       For Tennessee, the class plaintiffs assert their state antitrust claims under the Tennessee

Trade Practices Act, Tenn. Code Ann. § 47-25-101. Class Compl. ¶ 562.cc. The Tennessee

statute “declare[s]” that certain anticompetitive conduct is “against public policy, unlawful, and

void.” Tenn. Code Ann. § 47-25-101. Such conduct includes “all arrangements, contracts,

agreements, trusts, or combinations between persons or corporations designed, or which tend, to

advance, reduce, or control the price or the cost to the producer or the consumer of any such

product or article.” Id. (emphasis added). As one court has explained, “[n]one of these terms

appears to include unilateral conduct.” In re Relafin Antitrust Litig., 221 F.R.D. at 283 (citing 6

Julian O. von Kalinowski, Antitrust Laws and Trade Regulation § 116.03 (2d ed. 2003)).

Likewise, at least two other courts have held that the Tennessee Trade Practices Act does not

cover unilateral conduct claims. See, e.g., In re Flonase Antitrust Litig., 610 F. Supp. 2d 409,

415–16 (E.D. Pa. 2009); In re Ditropan XL Antitrust Litig., 529 F. Supp. 2d 1098, 1108–09

(N.D. Cal. 2007).

       The class plaintiffs cite only one case where a federal court has permitted antitrust claims

asserted under the Tennessee Trade Practices Act to survive a motion to dismiss. See In re

Asacol Antitrust Litig., No. 15-12730-DJC, 2016 WL 4083333, at *15 (D. Mass. July 20, 2016).

The Asacol court relied on two Tennessee cases allowing antitrust claims to proceed under the

Act. Id. But, as Asacol recognized, the two Tennessee cases never addressed whether the statute



                                                 69
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 70 of 128




permits claims based on unilateral conduct. Id. The court is not persuaded by Asacol’s

reasoning, at least not as applied to the unilateral conduct claimed here. Instead, it finds

persuasive the federal district court cases cited above. These cases considered the plain language

of the Tennessee statute, specifically addressed whether it applies to unilateral conduct, and

determined that it does not reach such claims. For this reason, the court dismisses the class

plaintiffs’ Tennessee antitrust claims based on unilateral conduct, as asserted in Counts IV, V,

and VI.

                 B. RICO Claim

          The court now considers whether the class plaintiffs have asserted a plausible RICO

claim against defendants. Subsection 1962(c) of RICO makes it:

          unlawful for any person employed by or associated with any enterprise engaged in,
          or the activities of which affect, interstate or foreign commerce, to conduct or
          participate, directly or indirectly, in the conduct of such enterprise’s affairs through
          a pattern of racketeering activity or collection of unlawful debt.

18 U.S.C. § 1962(c). Subsection 1962(d) makes it “unlawful for any person to conspire to

violate” subsection 1962(c). Id. § 1962(d). RICO also provides a private civil cause of action

for those who are injured by violations of § 1962 and allows recovery of treble damages, costs,

and attorney fees. Id. § 1964(c).

          When addressing plaintiffs’ RICO claim below, the court is mindful that “RICO is to be

read broadly.” Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 497 (1985). “To successfully state

a RICO claim, a plaintiff must allege four elements: (1) conduct (2) of an enterprise (3) through

a pattern (4) of racketeering activity.” Robbins v. Wilkie, 300 F.3d 1208, 1210 (10th Cir. 2002)

(citations and internal quotation marks omitted). And, to have standing to assert a RICO claim,

the plaintiff must allege that the RICO violation proximately caused plaintiff’s injuries. Bixler v.

Foster, 596 F.3d 751, 756 (10th Cir. 2010).

                                                    70
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 71 of 128




       Defendants assert eight reasons why the class plaintiffs’ RICO claim fails to state a

plausible claim as a matter of law. The court concludes that none of these arguments warrant

dismissal at the pleading stage. The court explains why in the eight subsections that follow.

                       1. RICO Enterprise

       First, defendants assert that the Class Complaint fails to assert a plausible RICO claim

because it never alleges facts capable of supporting a finding or inference of a RICO enterprise.

Instead, defendants contend, the Class Complaint alleges only that defendants engaged in arms-

length business activities that do not suffice to state a RICO claim.

       As already described, RICO prohibits a “person” who is associated with an “enterprise”

to conduct its affairs through a pattern of racketeering activity. See 18 U.S.C. § 1962(c). “RICO

broadly defines ‘enterprise’ as ‘any individual, partnership, corporation, association, or other

legal entity, and any union or group of individuals associated in fact although not a legal entity.’”

George v. Urban Settlement Servs., 833 F.3d 1242, 1248 (10th Cir. 2016) (quoting 18 U.S.C. §

1961(4)).

       Here, the class plaintiffs allege that the RICO enterprise is an “association-in-fact

enterprise,” consisting of the RICO Defendants (Mylan N.V., Mylan Specialty, LP, Heather

Bresch, Pfizer, King Pharmaceuticals, and Meridian) and the PBM Conspirators (defined as at

least four PBMs: CVS Health Corporation, Express Scripts Inc., Optum Rx Inc., and Prime

Therapeutics LLC ), “formed for the purpose of engaging in a scheme to defraud the public

regarding the pricing of the EpiPen, the medical necessity, quality, and characteristics of EpiPens

and the EpiPen 2-Pak, and Mylan’s profits and efforts to control the price of the EpiPen.” Class

Compl. ¶ 604.




                                                 71
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 72 of 128




       The Supreme Court has explained that “‘an enterprise includes any union or group of

individuals associated in fact[,]’ and that ‘RICO reaches ‘a group of persons associated together

for a common purpose of engaging in a course of conduct.’” Boyle v. United States, 556 U.S.

938, 944 (2009) (quoting United States v. Turkette, 452 U.S. 576, 580, 583 (1981)). An

association-in-fact enterprise requires: (1) “a purpose,” (2) “relationships among those

associated with the enterprise,” and (3) “longevity sufficient to permit these associates to pursue

the enterprise’s purpose.” Id. at 946.

       The class plaintiffs assert that their Class Complaint alleges all three requirements of an

association-in-fact enterprise. First, they assert, the Class Complaint alleges that the common

purpose of the “EpiPen Pricing Enterprise” was to overcharge consumers for the EpiPen to

enrich defendants. Doc. 123 at 99; Class Compl. ¶¶ 600, 604, 643, 648.

       Second, the Class Complaint alleges relationships between the Mylan and Pfizer

Defendants and that they worked together to operate and manage the EpiPen Pricing Enterprise.

Also, the Class Complaint alleges that the Mylan and Pfizer Defendants worked together to stop

generic competition for the EpiPen by filing patent infringement lawsuits between 2009 and

2012 against at least three generic rivals—Teva, Sandoz, and Intelliject. Class Compl. ¶ 629; see

also id. ¶¶ 236–324. Also, the Class Complaint alleges that Pfizer (through Meridian) and

Mylan “jointly” settled the Teva Litigation by entering a settlement agreement that secretly

restrained competition and ensured that the EpiPen Pricing Enterprise could continue

successfully without facing competition from Teva. Id. ¶¶ 630–31; see also id. ¶ 270 (describing

how Mylan and Pfizer issued a joint press release about the Teva settlement); see also id. ¶ 277

(describing how Mylan CEO Heather Bresch referred to the Teva settlement as “our settlement

with Teva”) (emphasis added). The Class Complaint also alleges that Mylan Specialty LP took



                                                72
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 73 of 128




over for Meridian as sponsor of the EpiPen patents in the Orange Book. Id. ¶ 247. Although the

class plaintiffs don’t assert exactly why or how this change occurred, they allege that it shows

“concerted action by Mylan and Pfizer to share the burden and rewards of their EpiPen

monopoly.” Id.

       The Class Complaint also describes how Mylan and Pfizer’s relationship is not

completely clear because they never have asserted publicly that they share more than a

manufacturer/seller relationship. Id. ¶ 632. But, as the Class Complaint describes, commenters

have noted that Pfizer received significant revenues from its relationship with Mylan based on

EpiPen sales. Id. And, the Class Complaint asserts, this shared interest in generating revenues

has caused Mylan and Pfizer to work together to ward off competition through patent litigation

and unlawful reverse payment settlements. Id. ¶ 241 (asserting that Mylan and Pfizer’s “divided

intellectual property ownership of the EpiPen and their licensing agreements for it have caused

the two companies to work collaboratively to enhance the products sales volume and

profitability” because their “EpiPen-related revenues rise (or fall) together”).

       Defendants argue that these allegations only describe how Pfizer defended its patent

rights and provided Mylan products subject to a routine commercial arrangement. Defendants

characterize these allegations as “routine business relationships” that cannot establish a RICO

claim. Doc. 95 at 67 (first citing Robins v. Glob. Fitness Holdings, LLC, 838 F. Supp. 2d 631,

652–53 (N.D. Ohio 2012); then citing Brannon v. Boatmen’s First Nat’l Bank of Okla., 153 F.3d

1144, 1148 (10th Cir. 1998) (affirming dismissal of a RICO claim because plaintiffs’

“allegations do nothing more than define a legitimate corporate and financial relationship

between [defendant] and its holding company.”) (further citations omitted)). But, construing the

Class Complaint as describing just “routine business relationships” requires the court to draw



                                                 73
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 74 of 128




inferences against the class plaintiffs’ allegations. And that is not a proper endeavor for the court

on a motion to dismiss. Instead, the court must take plaintiffs’ allegations as true and view them

in the light most favorable to the class plaintiffs. Mayfield v. Bethards, 826 F.3d 1252, 1255

(10th Cir. 2016). Applying that standard, one plausibly can infer from the Class Complaint’s

allegations that the Mylan and Pfizer Defendants—persons or entities associated with the

enterprise—formed relationships sufficient to satisfy the pleading requirements for a RICO

enterprise.

       Defendants also argue that the class plaintiffs’ allegations about PBMs fail to allege

adequately their participation in a RICO enterprise. The Class Complaint alleges, during the past

decade, “the PBM Conspirators and other PBMs began to exert influence in their role as

insurance-industry middle-men to dictate the success or failure of certain drugs in the

marketplace by offering to include or threatening to exclude certain medications from some or all

of their formularies and, in the process, extracting hundreds of millions of dollars in the form of

‘discounts’ or ‘rebate’ payments from drug manufacturers in exchange.” Class Compl. ¶ 636.

The class plaintiffs assert that PBMs and drug manufacturers engage in negotiations during

“complex, closed-door meetings, during which PBMs sell access to their formularies in exchange

for large rebates or discounts, a substantial portion of which they pocket as pure profit.” Id. ¶

637. During those negotiations, the class plaintiffs contend, the RICO Defendants “participated

in a scheme with the PBM Conspirators to increase the list price of the EpiPen.” Id. ¶ 638

(emphasis added). The purpose of the RICO Defendants’ scheme was to “[t]o facilitate the

payment of ‘rebates’ to PBMs, and ensure their position on certain formularies without

impacting their bottom line.” Id. And also, the scheme “increase[d] the profits of PBMs through

artificially increasing the list price of EpiPens” to the detriment of consumers. Id. ¶ 639.



                                                 74
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 75 of 128




       The Class Complaint describes how the RICO Defendants and PBM Conspirators

advanced the goals of the EpiPen Pricing Enterprise allegedly by “affirmatively

misrepresent[ing] or conceal[ing] the existence of the inflated and fraudulent nature of these list

price increases as well as the existence, amount, and purpose of the discounts given to the PBM

Conspirators to Plaintiffs, the Classes, consumers, health care payers, and the general public.”

Id. ¶ 641. Also, the Class Complaint alleges that the PBM Conspirators “exerted substantial

control over the EpiPen Pricing Enterprise, and participated in the affairs of the enterprise”

through a variety of specific actions. Id. ¶ 651. This conduct includes the PBM Conspirators’

negotiating and offering to discount the EpiPen; misrepresenting and concealing the existence,

amount, and purpose of the EpiPen discounts; misrepresenting and concealing the true nature of

the relationship and agreements between the enterprise’s members as well as its effect on the

pricing of the EpiPen; and, ensuring that the other RICO Defendants and members of the EpiPen

Pricing Enterprise concealed the fraudulent scheme. Id.

       Defendants characterize these allegations as “[a] commercial negotiation, where the

parties have their own independent business interests and one party demands higher rebates and

lower prices from the other.” Doc. 95 at 69. And, they contend, “[t]o recognize a RICO

enterprise here would be tantamount to holding that negotiating strategies by PBMs, insurers,

state Medicaid agencies, and other healthcare payors throughout the U.S. amount to organized

criminal conduct—which obviously cannot be, and is not, the law.” Id. Perhaps a factfinder

would accredit defendants’ characterization of these interactions. But it might not, and the court

cannot accept defendants’ characterization of the allegations at the pleading stage. Instead, when

one accepts the allegations as true and views them in the class plaintiffs’ favor, one reasonably

can infer that the PBMs’ alleged conduct amounted to far more than a commercial negotiation.



                                                 75
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 76 of 128




Instead, the Class Complaint alleges that the PBMs formed relationships with defendants

sufficient to plead a plausible RICO enterprise.

       And finally, the Class Complaint alleges an enterprise with longevity sufficient to permit

the associates to pursue the enterprise’s purpose. The class plaintiffs assert that, beginning at

least on January 1, 2009, to the present, the associates have engaged in various activities to

pursue the enterprise’s purpose. Class Compl. ¶¶ 601, 629 (discussing how the Mylan and Pfizer

Defendants worked together to stop generic competition for the EpiPen by filing patent

infringement lawsuits throughout 2009 to 2012); 642, 655–56. The Class Complaint plausibly

pleads a RICO enterprise.

                       2. Conducted the Affairs of a RICO Enterprise

       Next, defendants assert that the Class Complaint never alleges that defendants

“conduct[ed] or participate[d], directly or indirectly, in the conduct of such enterprise’s affairs

through a pattern of racketeering activity . . . .” 18 U.S.C. § 1962(c). As the Supreme Court has

explained, RICO liability “‘depends on showing that the defendants conducted or participated in

the conduct of the “enterprise’s affairs,” not just their own affairs.’” Cedric Kushner

Promotions, Ltd. v. King, 533 U.S. 158, 163 (2001) (quoting Reves v. Ernst & Young, 507 U.S.

170, 185 (1993)).

       Our Circuit has described Reves’s “operation and management test” as a standard

requiring the defendant to have “‘some part in directing’ the enterprise’s affairs.” George v.

Urban Settlement Servs., 833 F.3d 1242, 1251 (10th Cir. 2016) (quoting Reves, 507 U.S. at 179).

“But importantly, the defendant need not have ‘primary responsibility for the enterprise’s

affairs,’ ‘a formal position in the enterprise,’ or ‘significant control over or within an

enterprise.’” Id. (quoting Reves, 507 U.S. at 179 & n.4, 184). This test requires less. “Instead,



                                                   76
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 77 of 128




even ‘lower rung participants in the enterprise who are under the direction of upper management’

may be liable under RICO if they have ‘some part’ in operating or managing the enterprise’s

affairs.” Id. (quoting Reves, 507 U.S. at 179, 184). Yet, allegations that simply describe a

defendant’s conduct “through its regular course of business, goods and services that ultimately

benefit the enterprise” do not suffice to state a RICO claim. Id. (citing BancOklahoma Mortg.

Corp. v. Capital Title Co., 194 F.3d 1089, 1101–02 (10th Cir. 1999)).

       Here again, defendants assert that the Class Complaint alleges nothing more than two

corporations pursuing routine, arms-length business activities. And, they contend, these

activities fail to allege conduct or participation in the RICO enterprise’s affairs instead of simply

their own affairs. The court disagrees with defendants’ construction of the Class Complaint’s

allegations.

       Instead, as the court already has described, one plausibly can infer from the Class

Complaint’s allegations that the Mylan and Pfizer Defendants worked together to operate and

manage the EpiPen Pricing Enterprise. Class Compl. ¶ 600. Specifically, the Class Complaint

alleges that the Mylan Defendants committed various acts as part of a scheme to defraud the

public about the EpiPen’s pricing, the medical necessity, quality, and characteristics of the

EpiPen, and the EpiPen 2-Pak. See, e.g., id. ¶ 604; see also id. ¶¶ 152, 229, 325–47, 354. And

the Class Complaint alleges that the Mylan and Pfizer Defendants, working together, participated

in various conduct designed to stifle generic competition, e.g., filing patent infringement lawsuits

and then resolving those lawsuits through unlawful reverse payment settlements. Id. ¶¶ 629–31;

see also id. ¶¶ 236–324. These alleged facts permit a reasonable inference that both the Mylan

and Pfizer Defendants “played some part—even a bit part—in conducting the enterprise’s




                                                 77
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 78 of 128




affairs.” George, 833 F.3d at 1252. And these allegations suffice to support a plausible RICO

claim.

                        3. Pattern of Racketeering Activity

         Defendants next argue that the Class Complaint never alleges a “pattern of racketeering

activity,” as 18 U.S.C. § 1962(c) requires. The RICO statute defines a “pattern” of racketeering

as “at least two acts of racketeering activity, . . . which occurred within ten years” of one another.

18 U.S.C. § 1961(5). But “proof of two or more predicate acts [is] not sufficient to prove a

pattern unless there is a relationship between the predicate acts and a threat of continuing

activity.” Tal v. Hogan, 453 F.3d 1244, 1267 (10th Cir. 2006) (first citing H.J. Inc. v. Nw. Bell

Tel. Co., 492 U.S. 229, 239 (1989); then citing Duran v. Carris, 238 F.3d 1268, 1271 (10th Cir.

2001)). “Continuity of threat requires both proof of ‘a series of related predicates extending over

a substantial period of time,’ as well as a ‘showing that the predicates themselves involve a

distinct threat of long-term racketeering activity . . . or that the predicates are a regular way of

conducting the defendant’s ongoing legitimate business or the RICO enterprise.’” Id. (quoting

Resolution Tr. Corp. v. Stone, 998 F.2d 1534, 1543 (10th Cir. 1993)).

         Defendants assert that the Class Complaint, at best, makes conclusory allegations of a

pattern of racketeering activity. Defendants describe the Class Complaint to allege unrelated

predicate acts with just one thing in common—they simply involve Mylan and the EpiPen.

Defendants thus assert that these allegations lack the common thread tying them together, as

required to support a plausible RICO claim.

         This simply is wrong. Defendants read the class plaintiffs’ allegations disjunctively.

But, when one views the Class Complaint’s allegations in the class plaintiffs’ favor and

collectively, the allegations describe predicate acts made as part of the EpiPen pricing scheme—



                                                  78
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 79 of 128




i.e., defendants’ fraudulent scheme caused American consumers to pay artificially inflated prices

for the EpiPen. As defendants recognize, the Class Complaint alleges that defendants used the

mails and the wires to disseminate fraudulent information and corrupted an official proceeding.

See, e.g., Class Complaint ¶¶ 655.a. (describing how Ms. Bresch made several statements about

Mylan’s intent to add more patents in a 2009 quarterly earnings call), 655.c. (describing Mylan

and Pfizer’s joint announcement of its settlement agreement with Teva which, the class plaintiffs

contend, really was a pay-for-delay settlement), 655.g. (asserting that Ms. Bresch made several

false statements when she testified before Congress on September 21, 2016). One can infer from

these alleged facts that the common thread among the predicate acts is that defendants made

these communications to advance their EpiPen pricing scheme. See id. ¶ 659 (asserting that “[t]o

effectuate the goals of the EpiPen Pricing Enterprise, including but not limited to maximizing

profit and controlling a dominant market position, the RICO Defendants . . . launched a

campaign of false and misleading statements and actions to distract consumers and regulators

from the reality that the RICO Defendants were raising the price of the EpiPen from $100 to

$600” that included Mylan’s false statements about competitors, Mylan and Pfizer’s “pay-for-

delay” settlements, and Ms. Bresch’s alleged false testimony to Congress about Mylan’s profits).

These facts suffice to allege a pattern of racketeering activity. See George v. Urban Settlement

Servs., 833 F.3d 1242 1254–57 (10th Cir. 2016) (holding that plaintiffs adequately alleged a

pattern of racketeering activity because their complaint asserted defendants committed several

acts of mail and wire fraud while executing a fraudulent scheme to deny Home Affordable

Modification Program loans to eligible borrowers); see also Resolution Tr. Corp., 998 F.3d at

1543 (holding that sufficient evidence of a pattern of racketeering activity existed to support the




                                                 79
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 80 of 128




jury’s finding because the “jury could find that the wire fraud activity was associated with on-

going acts of fraud”).

       Also, our Circuit recognizes that “[w]hether a pattern [of racketeering activity] exists is a

question of fact for the jury to determine.” Resolution Tr. Corp., 998 F.2d at 1543; see also Tal,

453 F.3d at 1268 (holding that “because the extensiveness of the threat is a question of fact” the

court would “assume for the purposes of this opinion that the predicate acts alleged . . . establish

a pattern of racketeering activity”). Here, the Class Complaint sufficiently alleges facts that, if

true, would permit a jury to find or infer a pattern of racketeering activity and thus support a

RICO claim.

                         4. RICO Causation

       Defendants next assert that the class plaintiffs’ RICO claim fails because the Class

Complaint never alleges causation. To state a plausible RICO claim, a plaintiff must allege that

he was a “person injured in his business or property by reason of a violation of section 1962 of

this chapter.” 18 U.S.C. § 1964(c). The Supreme Court has interpreted this provision as one

requiring a RICO plaintiff’s damages to “flow from the commission of the predicate acts.”

Sedima, S.P.R.L. v. Imrex Co., Inc., 473 U.S. 479, 497 (1985); see also Hemi Grp., LLC v. City

of New York, 559 U.S. 1, 13 (2010) (“[T]he compensable injury flowing from a [RICO] violation

. . . necessarily is the harm caused by [the] predicate acts.” (citations and internal quotation

marks omitted)).

       Section 1964(c)’s causation requirement requires a RICO plaintiff to allege “‘that the

defendant’s violation not only was a “but for” cause of his injury, but was the proximate cause as

well . . . .’” Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639, 654 (2008) (quoting Holmes v.

Sec. Inv’r Prot. Corp., 503 U.S. 258, 268 (1992)). The Supreme Court has defined RICO



                                                  80
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 81 of 128




proximate causation as “a flexible concept that does not lend itself to ‘a black-letter rule that will

dictate the result in every case.’” Id. (quoting Holmes, 503 U.S. at 272 n.20 (further citations

and internal quotation marks omitted)). Instead, proximate cause provides a “‘label generically

[for] the judicial tools used to limit a person’s responsibility for the consequences of that

person’s own acts . . . .’” Id. (quoting Holmes, 503 U.S. at 268). And it includes “a particular

emphasis on the ‘demand for some direct relation between the injury asserted and the injurious

conduct alleged.’” Id. (quoting Holmes, 503 U.S. at 268).

       Thus, “‘[w]hen a court evaluates a RICO claim for proximate causation, the central

question it must ask is whether the alleged violation led directly to the plaintiff’s injuries.’” Safe

Streets All. v. Hickenlooper, 859 F.3d 865, 889 (10th Cir. 2017) (quoting Anza v. Ideal Steel

Supply Corp., 547 U.S. 451, 461 (2006)). The Supreme Court has instructed that “no need

[exists] to broaden the universe of actionable harms to permit RICO suits by parties who have

been injured only indirectly.’” Id. (quoting Anza, 547 U.S. at 460).

       But, in the context of RICO claims premised on predicate acts of mail fraud, the Supreme

Court has held that “a plaintiff is not required to plead that he is a victim of the defendant’s

underlying crime (e.g., that he relied on the fraudulent mailings) to establish a direct injury.” Id.

(citing Bridge, 553 U.S. at 649–50). “Rather, a plaintiff may establish proximate causation by

plausibly pleading that his business or property has been directly injured as a result of the

defendants’ § 1962 violation.” Id. (citing Bridge, 553 U.S. at 649–50).

       Here, the Class Complaint alleges, defendants’ pattern of racketeering activity has injured

the class plaintiffs in their business or property. Class Compl. ¶¶ 680, 682. The Class Complaint

also asserts that defendants’ fraudulent scheme has allowed them to “illegally extract[ ] revenues

of millions or billions of dollars from Plaintiffs and the Class.” Id. ¶ 602. More precisely, the



                                                  81
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 82 of 128




class plaintiffs allege, “but for” defendants’ unlawful conduct, the class plaintiffs “would have

paid less for both branded and generic versions of EpiPen by: (a) substituting their purchases of

EpiPen with less-expensive generic versions of EpiPen; (b) purchasing generic EpiPen at lower

prices sooner; (c) purchasing individual, rather than pairs, of EpiPen injectors; (d) buying spare

auto-injectors that were generic or cheaper brands; and (e) purchasing branded EpiPen at a

reduced price.” Id. ¶ 492.

       One reasonably can infer from these allegations that defendants’ actions produced the

alleged harm—i.e., paying inflated prices for the EpiPen. Defendants disagree, asserting the

Class Complaint alleges no plausible relationship between defendants’ alleged false and

fraudulent statements and the class plaintiffs’ purchasing decisions. See Doc. 219 at 36. The

court reads the Class Complaint quite differently. As Bridge held, to state a plausible RICO

claim, the class plaintiffs need not plead that they relied on the alleged false statements when

purchasing the EpiPen. Bridge, 553 U.S. at 649–50. Instead, they must allege plausibly that

defendants’ RICO violation injured their business or property directly. Here, the class plaintiffs’

allegations satisfy that pleading burden.

       The class plaintiffs allege that the fraudulent statements advanced defendants’ pricing

scheme in several ways. They include forcing consumers to purchase the EpiPen 2-Pak (instead

of individual EpiPens), restricting access to generic competition, and driving up the EpiPen’s

price (from $100 in 2007 to more than $600 in 2016). Class Compl. ¶¶ 600, 655, 657, 659, 664.

It is plausible to infer from these allegations that defendants’ conduct injured the class plaintiffs

directly. With this conduct, the class plaintiffs allege, defendants effectively limited consumers’

purchasing decisions by restricting consumer access to competing products—all while hiking the

price of the EpiPen and thus forcing consumers to pay inflated prices.



                                                  82
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 83 of 128




       The class plaintiffs are suing to recover for their own injuries—as EpiPen consumers or

third-party payors—from having to pay the inflated prices for the EpiPen. See Safe Streets, 859

F.3d at 890 (holding that plaintiffs stated a RICO claim because they sought “to recover for

injuries to their own land, not harms to third parties”); In re Neurontin Mktg. and Sales Practices

Litig., 712 F.3d 21, 37 (1st Cir. 2013) (affirming RICO verdict because the jury could infer from

the evidence that plaintiff was a “primary and intended victim” of defendants’ “scheme to

defraud”). And one plausibly can infer from the Class Complaint that the class plaintiffs’ alleged

injuries were “a foreseeable and natural consequence of [defendants’] scheme” to defraud the

public about the EpiPen’s price. See Bridge, 553 U.S. at 658 (concluding that the “alleged

injury—the loss of valuable liens—is the direct result of petitioner’s fraud” because “[i]t was a

foreseeable and natural consequence of petitioners’ scheme to obtain more liens for themselves

that other bidders would obtain fewer liens”); see also In re Avandia Mktg., Sales Practices &

Prod. Liab. Litig., 804 F.3d 633, 645 (3d Cir. 2015) (holding plaintiffs pleaded direct injury

sufficient to satisfy the RICO proximate causation requirement—regardless of whether plaintiffs

had relied on the alleged misrepresentations because the alleged “fraudulent scheme could have

been successful only if plaintiffs paid for [a drug used to treat Type II diabetes], and this is the

very injury that plaintiffs seek recovery for”); Safe Streets, 859 F.3d at 890 (holding that

plaintiffs stated a plausible RICO claim because the complaint alleged “[n]o intermediary break[

] [in] the casual chain” between the enterprise’s RICO violations and the plaintiffs’ injuries).

The court finds the class plaintiffs’ allegations sufficient to allege RICO causation.

                       5. Predicate Acts of Racketeering Activity

       Next, defendants assert that the Class Complaint never alleges any racketeering activity

sufficient to support a RICO claim. “‘RICO is founded on the concept of racketeering activity.’”



                                                  83
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 84 of 128




Safe Streets, 859 F.3d at 882 (quoting RJR Nabisco, Inc. v. European Cmty., 136 S. Ct. 2090,

2096 (2016)). This statute “defines ‘racketeering activity’ to encompass dozens of state and

federal offenses, known in RICO parlance as predicates.” Id. (quoting RJR, 136 S. Ct. at 2097).

“‘These predicates include any act “indictable” under specified federal statutes . . . . ’” Id.

(quoting RJR, 136 S. Ct. at 2096 (quoting 18 U.S.C. § 1961(1))). Such predicates include those

“indictable” under 18 U.S.C. “section 1341 (relating to mail fraud),” “section 1343 (relating to

wire fraud),” and “section 1512 (relating to tampering with a witness, victim, or an informant).”

18 U.S.C. § 1961(1)(B).

       Here, the Class Complaint alleges that defendants engaged in a pattern of racketeering

activity involving mail and wire fraud, violating 18 U.S.C. §§ 1341 & 1343. Class Compl. ¶¶

652, 654.a., 654.b. It also alleges that the Mylan Defendants corrupted an official proceeding,

violating 18 U.S.C. § 1512(c)(2), by having Ms. Bresch testify falsely before Congress on

September 21, 2016. Id. ¶¶ 653, 654.c.

       “To support the mail and wire fraud allegations, the plaintiffs must plausibly allege ‘the

existence of a scheme or artifice to defraud or obtain money or property by false pretenses,

representations or promises,’ and that [defendants] communicated, or caused communications to

occur, through the U.S. mail or interstate wires to execute that fraudulent scheme.” George v.

Urban Settlement Servs., 833 F.3d 1242, 1254 (10th Cir. 2016) (quoting Tal v. Hogan, 453 F.3d

1244, 1263 (10th Cir. 2006)). “And because Fed. R. Civ. P. 9(b) requires a plaintiff to plead

mail and wire fraud with particularity, the plaintiffs must ‘set forth the time, place and contents

of the false representation, the identity of the party making the false statements and the

consequences thereof.’” Id. (quoting Koch v. Koch Indus., Inc., 203 F.3d 1202, 1236 (10th Cir.

2000)) (emphasis added).



                                                 84
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 85 of 128




        Defendants assert that the Class Complaint never identifies the consequences of the

alleged fraudulent communications. More specifically, they contend that the class plaintiffs’

allegations never identify how defendants’ fraudulent mail and wire communications advanced

the alleged scheme to defraud. See Doc. 219 at 36. Separately, the Pfizer Defendants assert that

the RICO claim fails to state a plausible claim because the class plaintiffs never alleged any

predicate acts by any of the Pfizer Defendants, as required to support the claim. See Doc. 93 at

20. The court rejects defendants’ arguments.

        The class plaintiffs have alleged that defendants made various false representations using

the mails and wires—including press releases and earnings calls. The Class Complaint describes

the time, place, contents, and identity of the person making the allegedly false statements. Class

Compl. ¶ 655. And, the class plaintiffs allege, the purpose of the communications was “to

fraudulently mislead and deceive American consumers to purchase the EpiPen at an inflated

price, to purchase the EpiPen as a 2-Pak only, and to cause consumers to pay an artificially

inflated price for EpiPens.” Id. ¶ 600. These communications include various representations

about the medical necessity of the EpiPen 2-Pak. The class plaintiffs allege that these

representations were false and misleading because they relied on flawed medical studies and

paid-for medical opinions. The communications also include various representations about

Mylan’s efforts to provide “free” EpiPens to schools and to encourage anaphylaxis awareness.

Id. ¶¶ 655.d., 655.e., 659.a. But, the class plaintiffs allege, these representations were fraudulent

because Mylan actually used the school program as an anticompetitive means to implement

exclusive dealing contracts, hook consumers on the EpiPen, and then raise the EpiPen price. Id.

¶¶ 655.d., 655.e., 655.g.iii.




                                                 85
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 86 of 128




        The alleged fraudulent communications also include jointly issued statements about

Mylan and Pfizer’s patent litigation settlements. The Pfizer Defendants assert that their

settlement of patent litigation cannot support a predicate act. The court doesn’t read the class

plaintiffs’ allegations that way. Instead, the class plaintiffs allege that Mylan and Pfizer entered

into unlawful reverse payment settlements, but then—together—issued false press releases

describing the settlements as a legitimate means to resolve patent litigation. One reasonably can

infer the Class Complaint to allege that defendants advanced their scheme to inflate the price of

the EpiPen by fraudulently representing to the public that they were resolving valid patent

litigation. But the class plaintiffs allege that defendants, in reality, used the patent litigation and

resulting “pay-for-delay” settlements as a means to prevent generic competition, to protect the

EpiPen monopoly, and to continue raising prices on the EpiPen. Indeed, the Class Complaint

alleges that the “pay-for-delay” settlements “concealed from consumers the true, anti-

competitive aims of its pay-for-delay arrangements.” Id. ¶ 659.e.

        It is reasonable to infer from these allegations that defendants’ communications

fraudulently misled, deceived, and caused American consumers to purchase the EpiPen at an

inflated price. These allegations sufficiently set forth the “time, place and contents of the false

representation, the identity of the party making the false statements and the consequences

thereof” and thus state a plausible RICO claim. George, 833 F.3d at 1254.

        Defendants also assert that the Class Complaint fails to plead facts capable of supporting

a violation of 18 U.S.C. § 1512(c)(2) for corrupting an official proceeding. This statute makes it

unlawful to “obstruct[ ], influence[ ], or impede[ ] any official proceeding, or attempt[ ] to do

so,” and imposes a “fine[ ] under this title or imprison[ment] not more than 20 years, or both.”

18 U.S.C. § 1512(c)(2). The Class Complaint alleges that Ms. Bresch corruptly influenced an



                                                  86
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 87 of 128




official proceeding by giving false testimony before Congress. Class Complaint ¶¶ 654.c.,

655.g., 659.h., 659.i. Defendants assert that the class plaintiffs provided “no evidence” and only

“bald assertions” to support the allegation that Ms. Bresch’s testimony was false. Doc. 95 at 77.

Defendants characterize the class plaintiffs’ allegations as merely “subjective disagree[ment]”

with Ms. Bresch’s testimony that cannot support an obstruction violation. Doc. 219 at 38. At

the pleading stage, the court cannot weigh the class plaintiffs’ allegations and determine whether

they describe false testimony or simply report subjective disagreement with Ms. Bresch’s

statements. Instead, taking the allegations as true, the class plaintiffs assert that Mr. Bresch

testified before Congress on September 21, 2016, and that she repeatedly gave false testimony

about a number of topics in an effort to advance defendants’ ongoing scheme to defraud

consumers into purchasing the EpiPen at inflated prices. These allegations are sufficient to state

a plausible § 1512(c)(2) violation.

                       6. Standing

       Defendants assert that the class plaintiffs lack standing to assert a RICO claim for two

reasons. Neither one permits the court to dismiss the RICO claim at the pleading stage.

       First, defendants contend that the class plaintiffs—as indirect purchasers—lack standing

to assert a RICO claim. The Tenth Circuit has recognized, albeit in the antitrust context, that

“only the direct purchaser, and no other [person] in the distribution chain, is the ‘party injured’”

who “may sue for and recover the full amount of the illegal overcharge.” In re Wy. Tight Sands

Antitrust Cases, 866 F.2d 1286, 1290 (10th Cir. 1989) (first citing Hanover Shoe, Inc. v. United

Shoe Machinery Corp., 392 U.S. 481 (1968); then citing Illinois Brick Co. v. Illinois, 431 U.S.

720 (1977)). Citing cases from outside the Tenth Circuit, defendants argue that the court should




                                                 87
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 88 of 128




apply this rule to civil RICO claims. See Doc. 95 at 77–78 (citing McCarthy v. Recordex Serv.,

Inc., 80 F.3d 842, 855 (3d Cir. 1996) (further citations omitted)).

       The class plaintiffs respond that such a rule defies the Tenth Circuit’s most recent

guidance about standing—i.e., a RICO plaintiff has standing if he has pleaded proximate

causation. See Safe Streets, 859 F.3d at 887 (holding that “RICO standing” is determined under

“the usual pleading-stage inquiry: whether the plaintiff has plausibly pled a cause of action

under RICO”); see also id. at 885 (explaining that a RICO claim requires “(1) injuries to

[plaintiffs’] property (2) that were caused by those [RICO] violations”); Bixler v. Foster, 596

F.3d 751, 756 (10th Cir. 2010) (“A plaintiff has standing only if his injuries were proximately

caused by the RICO violation.”). The class plaintiffs also assert that applying the indirect-

purchaser rule is contrary to the Supreme Court’s decision in Bridge, holding that first-party

reliance is not required to allege RICO causation. See Bridge, 553 U.S. at 649–50.

       Indeed, the Supreme Court has recognized in the RICO context that its requirements for

“antitrust injury” have “no analogue in the RICO setting.” Holmes v. Sec. Inv’r Prot. Corp., 503

U.S. 258, 269 n.15 (1992). And, the Court has cautioned, “our use of the term ‘direct’ should

merely be understood as a reference to the proximate-cause enquiry that is informed by the

concerns set out in the text. We do not necessarily use it in the same sense as courts before us

have and [we] intimate no opinion on results they reached.” Id. at 272 n.20; see also Israel

Travel Advisory Serv., Inc. v. Israel Identity Tours, 61 F.3d 1250, 1257 (7th Cir.), cert. denied,

517 U.S. 1220 (1995) (“The Supreme Court observed that it did not mean to preclude all

possibility of recovery for injury that was transmitted indirectly; the holding of Holmes is no

more than that common law ideas about proximate causation inform the understanding of

RICO.” (citation omitted)). Instead, the Supreme Court has recognized that “the infinite variety



                                                 88
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 89 of 128




of claims that may arise [under RICO] make it virtually impossible to announce a black-letter

rule that will dictate the result in every case” for determining whether an alleged RICO violation

was the proximate cause of a plaintiff’s injuries. Id.

        Because defendants just cite cases from outside the Tenth Circuit to support their

argument that indirect purchasers lack RICO standing,22 the court declines to apply that rule

here. Instead, applying the guidance from our Circuit in Safe Streets, the court already has

determined that the class plaintiffs adequately have alleged that defendants’ RICO violations

proximately caused their injuries. See supra Part III.B.4. These allegations suffice to confer

RICO standing. See Safe Streets, 859 F.3d at 886–890; see also Bixler, 596 F.3d at 756.

        Second, defendants assert the class plaintiffs lack RICO standing because they cannot

assert a claim based on overpaying for pharmaceuticals when they received the benefit of their

bargain, i.e., effective drugs. To support this argument, defendants cite two cases from the

District of New Jersey. See In re Schering-Plough Corp. Intron/Temodar Consumer Class

Action, No. 2:06-cv-5774, 2009 WL 2043604, at *10 (D.N.J. July 10, 2009) (dismissing

plaintiffs’ RICO claims for failing to allege a plausible injury based on paying an inflated price

for pharmaceuticals because “purchasers of pharmaceutical products have no private cause of

action where they receive the benefit of their bargain in the form of effective drugs”); see also

Dist. 1199P Health & Welfare Plan v. Janssen, L.P., 784 F. Supp. 2d 508, 519 (D.N.J. 2011)

(dismissing RICO claim because “[p]laintiffs’ injury theory based on financial losses of



                                                            
22
               Although defendants cite a District of New Mexico case to support their argument, the cited case
never holds that indirect purchasers lack RICO standing. See N.M. Oncology & Hematology Consultants,
Ltd. v. Presbyterian Healthcare Servs., 54 F. Supp. 3d 1189 (D.N.M. 2014). Instead, the New Mexico
court applied Supreme Court and Tenth Circuit precedent to determine whether plaintiff had alleged
proximate causation because “proximate cause is necessary to confer [RICO] standing.” Id. at 1244; see
also id. at 1245 (“To have standing to pursue these claims, Plaintiff must allege facts that support a
finding of proximate cause.”).

                                                      89
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 90 of 128




overpayment” for pharmaceuticals “is inadequate for sustaining a RICO injury, absent

allegations that Defendants’ drug was on some level inferior and therefore worth less than what

[Plaintiffs] paid for it” (citations and internal quotation marks omitted)).

        The persuasive value of these two cases is tempered by the Third Circuit’s more recent

decision, In re Avandia Marketing, Sales Practices & Product Liability Litigation, 804 F.3d 633

(3d Cir. 2015). In that case, a defendant pharmaceutical manufacturer argued that plaintiffs

lacked standing to bring RICO claims because plaintiffs never alleged that they received unsafe

or ineffective prescriptions. Instead, defendant argued, plaintiffs “received exactly what they

bargained for” and thus had “not suffered a concrete injury.” Id. at 639. The Third Circuit

disagreed. Id. at 639–40. It held that plaintiffs’ “damages do not depend on the effectiveness of

the [drug] that they purchased, but rather on the inflationary effect that [defendant’s] allegedly

fraudulent behavior had on the price of [the drug].” Id. at 640. The court thus held that plaintiffs

had alleged a concrete RICO injury in the form of overpaying for pharmaceutical products. Id.

        In reaching this conclusion, the Third Circuit explained that defendant’s reliance on In re

Schering-Plough Corp. Intron/Temodar Consumer Class Action was misplaced. It recognized

that the district court in that case “held that the plaintiffs lacked standing to assert [an injury

based on economic loss] because they failed to allege that any consumers or beneficiaries

received inadequate drugs or suffered personal injuries.” Id. (citing In re Schering-Plough Corp.

Intron/Temodar Consumer Class Action, 2009 WL 2043604, at *16). But, on appeal, the Third

Circuit “affirmed the District Court on causation grounds.” Id. (citing In re Schering-Plough

Corp. Intron/Temodar Consumer Class Action, 678 F.3d 235, 246 (3d Cir. 2012)). The Third

Circuit explained its reasoning this way: “To the extent we agreed with the District Court’s

injury analysis in that case, we did so in dictum, not in binding precedent.” Id. (citing In re



                                                   90
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 91 of 128




Schering-Plough Corp. Intron/Temodar Consumer Class Action, 678 F.3d at 246). For the same

reasons, defendants’ reliance on that case here is misplaced.

       And just as importantly, defendants cite no cases from the Tenth Circuit holding that a

RICO plaintiff lacks standing to assert a claim for overpaying for pharmaceuticals when the

plaintiff receives the benefit of the bargain in the form of purchasing effective drugs, even at

inflated prices. The court declines to apply the holdings from the District of New Jersey cases

here, as defendants urge. Instead, the court predicts that the Tenth Circuit would find more

persuasive the Third Circuit’s reasoning in the Avendia Marketing Sales Practices & Product

Liability Litigation case and adopt it. And, the court believes, the Circuit would conclude that

the class plaintiffs have alleged a plausible injury here by asserting that they paid inflated prices

for the EpiPen—prices that defendants produced with alleged unlawful conduct. See, e.g., Class

Compl. ¶ 492 (asserting that “but for defendants’ unlawful conduct . . . Plaintiffs and Class

Members would have paid less for both branded and generic versions of EpiPen” and that

“Plaintiffs and other members of the Class have sustained substantial losses and property in the

form of overcharges, the exact amount of which will be the subject of proof at trial.”).

                       7. RICO Conspiracy

       Subsection 1962(d) makes it “unlawful for any person to conspire to violate” subsection

1962(c). 18 U.S.C. § 1962(d). Defendants assert that the Class Complaint fails to state a

plausible RICO claim under § 1962(c), and so, it also fails to state a plausible RICO conspiracy

claim under § 1962(d). See Tal v. Hogan, 453 F.3d 1244, 1270 (10th Cir. 2006) (“If a plaintiff

has no viable claim under § 1962(a), (b), or (c), then its subsection (d) conspiracy claim fails as a

matter of law.”). For reasons already explained, the court rejects defendants’ arguments that the

Class Complaint fails to state a RICO conspiracy claim under § 1962(c). Instead, the court



                                                 91
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 92 of 128




concludes that the class plaintiffs have alleged a plausible RICO claim under § 1962(c) sufficient

to survive Rule 12(b)(6) dismissal. The class plaintiffs also allege that defendants violated

§ 1962(d) by conspiring to violate § 1962(c). Class Compl. ¶ 678. The class plaintiffs thus have

stated a plausible claim for RICO conspiracy.

                       8. CEO Heather Bresch is Named as a RICO conspirator

       Finally, the Mylan Defendants assert that it was malicious and improper for the class

plaintiffs to name Mylan CEO Heather Bresch as one of the RICO Defendants. The Mylan

Defendants argue that the Class Complaint attributes conduct to Ms. Bresch that she made on

behalf of Mylan in her role as the company’s CEO. And they assert that these allegations are

insufficient to state a RICO claim against Ms. Bresch in her personal capacity. See, e.g., Ferrari

v. Mercedes-Benz USA, LLC, No. 15-cv-04379-YGR, 2016 WL 7188030, at *3 (N.D. Cal. Dec.

12, 2016) (dismissing RICO claims against three named CEO defendants because the

“allegations are insufficient to allege that [the CEOs] conducted or participated in the conduct of

a racketeering enterprise, rather than just the business of [the company] separate and apart from

any alleged racketeering acts”). The court disagrees.

       The Class Complaint alleges that Ms. Bresch engaged in various fraudulent actions and

personally conducted or participated in the RICO enterprise’s affairs. See, e.g., Class Complaint

¶¶ 226–28, 380–84, 419–48, 613–22, 624–25. The Supreme Court has held that “an employee

who conducts the affairs of a corporation through illegal acts comes within the terms of [the

RICO] statute that forbids any ‘person’ unlawfully to conduct an ‘enterprise,’ particularly when

the statute explicitly defines ‘person’ to include ‘any individual . . . capable of holding a legal or

beneficial interest in property,’ and defines ‘enterprise’ to include a ‘corporation.’” Cedric

Kushner Promotions, Ltd. v. King, 533 U.S. 158, 163 (2001) (quoting 18 U.S.C. §§ 1961(3), (4)).



                                                  92
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 93 of 128




In Cedric Kushner, the Supreme Court held that an individual and his wholly owned corporation

were sufficiently distinct for RICO purposes. Id. at 166. The Court found that “[t]he corporate

owner/employee, a natural person, is distinct from the corporation itself, a legally different entity

with different rights and responsibilities due to its different legal status.” Id. at 163. And

“nothing in the [RICO] statute . . . requires more ‘separateness’ than that.” Id. The Court also

observed, “[a]fter all, incorporation’s basic purpose is to create a distinct legal entity, with legal

rights, obligations, powers, and privileges different from those of the natural individuals who

created it, who own it, or whom it employs.” Id. Applying that principle here, the Class

Complaint plausibly alleges that Ms. Bresch participated in the affairs of the RICO enterprise.

       Finally, the Mylan Defendants also argue that the Class Complaint’s allegations against

Ms. Bresch lack any factual support. The court cannot make that kind of decision on a motion to

dismiss. Taking the Class Complaint’s allegations as true, the class plaintiffs have alleged that

Ms. Bresch engaged in various false and fraudulent conduct sufficient to support the RICO

claim. Naturally, to prevail on their claims against Ms. Bresch, the class plaintiff must come

forward with admissible evidence to support their allegations. But that question is one for

another day. At the pleading stage, the class plaintiffs sufficiently have alleged a plausible RICO

claim against Ms. Bresch.

               C. Timeliness of the Class Plaintiffs’ Antitrust and State Consumer
                  Protection Claims.

       Defendants next assert that the class plaintiffs’ competitive delay claims are time-barred

under federal antitrust law, the RICO statutes, and 30 of the 33 state law claims pleaded in the

Class Complaint. Defendants explain that each of these laws impose a statute of limitations of

four years or less. And, defendants contend, the class plaintiffs’ competitive delay claims

accrued more than four years before they filed their lawsuit.

                                                  93
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 94 of 128




          Indeed, the Class Complaint alleges that defendants entered the unlawful “pay-for-delay”

agreements in 2011 and 2012. Class Complaint ¶¶ 270 (alleging that defendants settled the Teva

Litigation on April 27, 2012), 298 (alleging that defendants announced the Intelliject settlement

on February 16, 2012), 302–03 (alleging that defendants agreed to stay the Sandoz litigation

indefinitely and that the stay was entered on May 10, 2011). But, defendants assert, the class

plaintiffs didn’t file their competitive delay claims against Mylan until January 2017 and didn’t

add Pfizer as a defendant until February 3, 2017. Defendants thus contend that the four-year (or

shorter) statutes of limitations governing the class plaintiffs’ claims under the federal antitrust

laws, the RICO statute, and 30 of the 33 state law claims bar the competitive delay claims. The

class plaintiffs respond with two arguments why their competitive delay claims are not time-

barred.

          First, they argue that the continuing violation doctrine applies to make their competitive

delay claims timely. The Supreme Court has described this doctrine in the antitrust context in

this fashion:

          Antitrust law provides that, in the case of a “continuing violation,” say, a price-
          fixing conspiracy that brings about a series of unlawfully high priced sales over a
          period of years, each overt act that is part of the violation and that injures the
          plaintiff, e.g., each sale to the plaintiff, starts the statutory period running again,
          regardless of the plaintiff’s knowledge of the alleged illegality at much earlier
          times.

Klehr v. A.O. Smith Corp., 521 U.S. 179, 189 (1997) (citations and internal quotation marks

omitted).

          Applying the continuing violation doctrine, the class plaintiffs contend that their claims

accrued—not when defendants entered the alleged “pay-for-delay” settlement agreements—but

instead each time they were overcharged for the EpiPen at artificially inflated prices. As the

class plaintiffs recite, other courts have held that ongoing sales of a pharmaceutical product at a

                                                    94
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 95 of 128




supracompetitive price constitute a continuing violation that makes an action timely “so long as

the last act evidencing the continuing practice falls within the limitations period.” See, e.g., In re

Niaspan Antitrust Litig., 42 F. Supp. 3d 735, 746–47 (E.D. Pa. 2014) (citation and internal

quotation marks omitted); see also In re Nexium Antitrust Litig., 968 F. Supp. 2d 367, 400 (D.

Mass. 2013) (recognizing that “‘[a]lthough the business of a monopolist’s rival may be injured at

the time the anticompetitive conduct occurs, a purchaser, by contrast, is not harmed until the

monopolist actually exercises its illicit power to extract an excessive price,’” and so, “[i]ndulging

all inferences in the Plaintiffs’ favor” on a motion to dismiss “it is reasonable to assume here

that, every time the Direct Purchasers were overcharged for brand Nexium, they suffered a

cognizable injury” (quoting Berkey Photo, Inc. v. Eastman Kodak Co., 603 F.2d 263, 295 (2d

Cir. 1979))).

       Indeed, In re Niaspan Antitrust Litigation recognized: “Every court to have considered

this issue in the pay-for-delay context has held that a new cause of action accrues to purchasers

upon each overpriced sale of the drug.” Id. at 746–47 (first citing In re K-Dur Antitrust Litig.,

338 F. Supp. 2d 517, 549 (D.N.J. 2004); then citing In re Buspirone Patent Litig., 185 F. Supp.

2d 363, 378 (S.D.N.Y. 2002); then citing In re Skelaxin (Metaxalone) Antitrust Litig., No. 12-

md-2343, 2013 WL 2181185, at *29 (E.D. Tenn. May 20, 2013)); see also In re Aggrenox

Antitrust Litig., 94 F. Supp. 3d 224, 248 (D. Conn. 2015) (holding that purchasers’ antitrust

claims based on alleged unlawful reverse payment settlement agreements were timely because “a

new claim accrues with each alleged overcharge. Claims are therefore not time-barred that stem

from alleged overcharges incurred within the relevant statutory period, whatever that period may

be for a particular statute, measured backward from the filing of the claims”).




                                                 95
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 96 of 128




       Defendants respond that the above-cited cases applied a more “lenient continuing

violations standard” than the one used by the Tenth Circuit. Doc. 216 at 18. The court

disagrees. Although our Circuit has not considered the question in the pay-for-delay context, it

has applied the continuing violation doctrine to antitrust claims. The Circuit recognized: “In the

context of a continuing conspiracy to violate the antitrust laws, each time a plaintiff is injured by

an act of the defendants a cause of action accrues to him to recover the damages caused by that

act and as to those damages, the statute of limitations runs from the commission of the act.”

Auraria Student Hous. at the Regency, LLC v. Campus Vill. Apartments, LLC, 843 F.3d 1225,

1247–48 (10th Cir. 2016) (quoting Champagne Metals v. Ken-Mac Metals, Inc., 458 F.3d 1073,

1088 (10th Cir. 2006)). The Circuit has held that “an overt act will restart the statute of

limitations under the continuing conspiracy exception when the act is (1) a new and independent

act that is not merely a reaffirmation of a previous act; and (2) the act inflict[s] new and

accumulating injury on the plaintiff.” Id. at 1248 (citation and internal quotation marks omitted).

       Auraria Student Housing illustrates a proper use of the continuing violation doctrine.

There, the Tenth Circuit affirmed the district court’s application of the doctrine to plaintiff’s

claims that defendant had conspired with a university to exclude plaintiff from the freshmen

student housing market. Id. at 1248. The Tenth Circuit recognized that the “initial conspiratorial

decision”—enactment of a residency requirement that made defendant the sole provider of new

student housing—was not the “final” act of the conspiracy. Id. Instead, defendants’ efforts to

enforce the requirement each year made the injury to plaintiff “new and accumulating.” Id. The

Circuit thus held that plaintiff timely asserted its claims under the continuing conspiracy

exception.




                                                 96
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 97 of 128




       Similarly, in Champagne Metals, the Tenth Circuit applied the continuing conspiracy

exception to a horizontal group boycott. 458 F.3d at 1078. The Circuit held that the defendants’

initial agreement to exclude a competitor was not “final” but, instead, required “further action”

by the conspirators. Id. at 1089. The Circuit found that “[t]he subsequent actions (contacting

and pressuring the mills when those mills were considering recognizing [the excluded

competitor]) were both distinct from the act outside the limitations period (the agreement to

effect a boycott) and a continuation of the same conspiracy.” Id. (citation, internal quotation

marks, and alternations omitted). Also, the Circuit observed that the alleged conspirators “did

not simply sit back and watch as the unabated inertial consequences of their (alleged)

anticompetitive agreement harmed [plaintiff]; rather, their actions within the limitations period

manifested a commitment to renewing and enforcing that agreement.” Id. (citation, internal

quotation marks, and alternations omitted). Thus, the Circuit held, plaintiff asserted its claims

timely under the continuing violation doctrine. Id. at 1089–90.

       Likewise here, when the court reads the Class Complaint’s allegations in class plaintiffs’

favor, it finds allegations that defendants constructed “pay-for-delay” settlements as part of a

scheme to maintain monopoly power and force consumers to pay inflated prices for the EpiPen.

Construing the allegations in the light most favorable to class plaintiffs, the “pay-for-delay”

settlements were not the “final” act of the conspiracy. Rather, defendants engaged in new and

additional acts each time they charged the allegedly inflated prices for the EpiPen. And each of

those acts inflicted a new and accumulating injury on the class plaintiffs because they had paid

inflated prices for the EpiPen. The court concludes that the class plaintiffs asserted their claims

timely under the continuing violation doctrine. It reaches this conclusion because the Class




                                                 97
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 98 of 128




Complaint alleges damages for overcharges paid in the four years before the filing of this

lawsuit.

       Second, the class plaintiffs contend that the doctrines of the discovery rule, fraudulent

concealment, and equitable tolling apply to toll the statute of limitations. The class plaintiffs

assert that the statute of limitations for their “pay-for-delay” claims did not commence when

defendants entered the alleged reverse payment settlement in 2012. Instead, the class plaintiffs

assert, these three doctrines toll the statute of limitations because defendants fraudulently

concealed their actions and thus prevented the class plaintiffs from discovering their injuries and

asserting their claims timely.

       Indeed, the Class Complaint specifically alleges that the class plaintiffs “had no

knowledge of the combination or conspiracy alleged herein, or of facts sufficient to place them

on inquiry notice of the claims set forth herein, until on or about (at the earliest) August 22,

2016, the date [when] Congress publicly announced its investigation of EpiPen pricing.” Class

Compl. ¶ 503. The class plaintiffs assert that they are “consumers and third-party payors who

had no direct contact or interaction with Defendants and had no means from which they could

have discovered the combination and conspiracy described in this Complaint before August 1,

2016.” Id. ¶ 504. They also assert that no information about the alleged unlawful activities was

available in the public domain before August 1, 2016. Id. ¶ 505. Alternatively, the class

plaintiffs allege, defendants actively concealed their anticompetitive conspiracy and also that

defendants’ scheme was self-concealing. Id. ¶¶ 509–10. The Class Complaint thus asserts that

“a reasonable person under the circumstances would not have been alerted to begin to investigate

the legitimacy of the Defendants’ EpiPens prices before August 22, 2016.” Id. ¶ 510. And, the

class plaintiffs contend, they “could not have discovered the alleged unlawful activity, including



                                                 98
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 99 of 128




the conspiracy or combination alleged herein, at an earlier date by the exercise of reasonable

diligence because of the deceptive practices and techniques of secrecy employed by the

Defendants and their co-conspirators to avoid detection of, and fraudulently conceal, their

unlawful conduct.” Id. ¶ 511.

        These allegations “assert[ ] affirmative conduct to conceal the fraud” and “are sufficient

to invoke the doctrine of equitable tolling at this stage in the proceeding.” Aldrich v. McCulloch

Props., Inc., 627 F.2d 1036, 1042 (10th Cir. 1980) (citations omitted) (reversing district court’s

Rule 12(b)(6) dismissal of securities act violations on statute of limitations grounds because the

Complaint sufficiently alleged fraudulent concealment to toll the statute of limitations and render

the claims timely). Indeed, our Circuit has explained: “The question of whether a plaintiff

should have discovered the basis of his suit under the doctrine of equitable tolling does not lend

itself to determination as a matter of law.” Id. (citation omitted). Here, at the pleading stage, the

class plaintiffs adequately have alleged facts capable of supporting the discovery rule, fraudulent

concealment, and equitable tolling to avoid Rule 12(b)(6) dismissal on statute of limitations

grounds.

                 D. State Consumer Protection Claims

        The Class Complaint alleges that Mylan23 has violated various state consumer protection

laws. The Mylan Defendants argue that the Class Complaint fails to plead plausible claims

under these state consumer protection laws. And they assert four arguments why the court

should dismiss the claims. The court addresses each argument separately, below.




                                                            
23
               The Class Complaint asserts the state consumer protection law claims just against Mylan. Class
Complaint ¶¶ 683–93.

                                                      99
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 100 of 128




                        1. Standing

        First, the Mylan Defendants contend that the class plaintiffs lack standing to assert their

state consumer protection claims. Article III of the United States Constitution limits federal

courts’ jurisdiction to “cases” and “controversies.” Clapper v. Amnesty Int’l USA, 568 U.S. 398,

408 (2013). To present a case or controversy under Article III, a plaintiff must establish that he

has standing to sue. Id. (citations omitted); see also Ariz. Christian Sch. Tuition Org. v. Winn,

563 U.S. 125, 133 (2011) (citing Allen v. Wright, 468 U.S. 737, 751 (1984)). Article III standing

requires a plaintiff to establish (1) that he or she has “suffered an ‘injury in fact’”; (2) that the

injury is “‘fairly . . . trace[able] to the challenged action of the defendant’”; and, (3) that it is

“‘likely’” that “the injury will be ‘redressed by a favorable decision.’” Ariz. Christian Sch.

Tuition Org., 563 U.S. at 134 (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61

(1992)); see also Awad v. Ziriax, 670 F.3d 1111, 1120 (10th Cir. 2012). “At bottom, the gist of

the question of standing is whether petitioners have such a personal stake in the outcome of the

controversy as to assure that concrete adverseness which sharpens the presentation of issues

upon which the court so largely depends for illumination.” Massachusetts v. E.P.A., 549 U.S.

497, 517 (2007) (citation and internal quotation marks omitted).

        The Mylan Defendants argue that the class plaintiffs lack standing to assert consumer

protection claims because they neither plead (1) an injury-in-fact nor (2) that any injury is fairly

traceable to defendants’ conduct. Neither argument persuades the court.

        First, an injury in fact is “an invasion of a legally protected interest which is (a) concrete

and particularized, and (b) actual or imminent, not conjectural or hypothetical.” Lujan, 504 U.S.

at 560 (citations and internal quotation marks omitted). The Supreme Court has explained the

requirement of pleading injury in fact this way: “At the pleading stage, general factual



                                                   100
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 101 of 128




allegations of injury resulting from the defendant’s conduct may suffice, for on a motion to

dismiss we presume that general allegations embrace those specific facts that are necessary to

support the claim.” Id. at 561 (citations, internal quotation marks, and alterations omitted).

        Like the arguments addressed above, the Mylan Defendants assert that the class plaintiffs

cannot establish standing based on their pleading’s allegations that they paid inflated prices for

the EpiPen. The Mylan Defendants contend that the class plaintiffs received exactly what they

purchased—an EpiPen device (or, in some contexts, two of them). And, according to the Mylan

Defendants, absent allegations that the EpiPen was different than what they expected to

purchase, the class plaintiffs have no standing to assert their consumer protection claims.

        For support, the Mylan Defendants rely on two cases where courts held that the plaintiffs

had failed to allege actual injuries. See Rivera v. Wyeth-Ayerst Labs., 283 F.3d 315, 320 (5th

Cir. 2002) (holding that plaintiffs lacked standing to sue because they “concede they were not

among the injured” by an allegedly defective drug but only claim economic injury without

defining that injury); see also Eike v. Allergan, Inc., 850 F.3d 315, 318 (7th Cir. 2017) (finding

that class members lacked standing because “[o]ne cannot bring a suit in federal court without

pleading that one has been injured in some way (physically, financially—whatever) by the

defendant . . . [t]he fact that a seller does not sell the product that you want, or at the price you’d

like to pay, is not an actionable injury; it is just a regret or disappointment—which is all we have

here, the class having failed to allege ‘an invasion of a legally protected interest.’” (quoting

Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1548 (2016))). But these cases differ from the class

plaintiffs’ allegations here. The Class Complaint in this case actually alleges injury in the form

of economic loss. Specifically, the class plaintiffs allege that defendants engaged in unlawful

conduct (including unfair methods of competition and unfair or deceptive acts or practices) and



                                                  101
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 102 of 128




that, but for the unlawful conduct, the class plaintiffs “would have paid less for both branded and

generic versions of EpiPen by: (a) substituting their purchases of EpiPen with less-expensive

generic versions of EpiPen; (b) purchasing generic EpiPen at lower prices sooner; (c) purchasing

individual, rather than pairs, of EpiPen injectors; (d) buying spare auto-injectors that were

generic or cheaper brands; and (e) purchasing branded EpiPen at a reduced price.” Class Compl.

¶ 492; see also id. ¶ 679 (“But for the Defendants’ fraudulent scheme and racketeering, Plaintiffs

and the Class would not have accepted, acquired, and purchased the EpiPen 2-Pak.”). The class

plaintiffs also allege that they—as a consequence of defendants’ conduct—“have sustained

substantial losses and property in the form of overcharges, the exact amount of which will be the

subject of proof at trial.” Id. ¶ 492.

        “Generally, economic injury is a paradigmatic form of injury in fact.” Gonzalez v.

Pepsico, Inc., 489 F. Supp. 2d 1233, 1240 (D. Kan. 2007) (citing Danvers Motor Co. v. Ford

Motor Co., 432 F.3d 286, 291 (3d Cir. 2005) (further citations omitted)). In Gonzalez, our court

held that a plaintiff sufficiently alleged “economic damages resulting from the difference

between the purchase price of the beverage products as warranted and their actual value

considering the potential presence of benzene in those products.” Id. The court held that the

“benefit of the bargain damages are sufficient to demonstrate an injury in fact.” Id.

        Although the class plaintiffs here never allege that they purchased a defective product,

the court finds that they adequately have alleged economic loss sufficient to discharge the

standing requirement. The class plaintiffs allege that Mylan’s conduct caused them to pay

inflated prices for the EpiPen, and—but for Mylan’s unlawful conduct—they would have

purchased other versions of the EpiPen (both branded and generic) at lower cost. See Maya v.

Centex Corp., 658 F.3d 1060, 1069 (9th Cir. 2011) (holding plaintiffs’ allegations that they



                                                102
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 103 of 128




“spent money that, absent defendants’ actions, they would not have spent” constituted a

“quintessential injury-in-fact” (citing Gen. Motors Corp. v. Tracy, 519 U.S. 278, 286 (1997)

(holding that consumers who paid more for gas than they should have as a result of

discriminatory tax laws had Article III standing))); see also Pirozzi v. Apple, Inc., 913 F. Supp.

2d 840, 846–47 (N.D. Cal. 2012) (“Overpaying for goods or purchasing goods a person

otherwise would not have purchased based upon alleged misrepresentations by the manufacturer

would satisfy the injury-in-fact and causation requirements for Article III standing.”). Cf.

Estrada v. Johnson & Johnson, No. 2:14-cv-01051-TLN-EFB, 2015 WL 1440466, at *5 (E.D.

Cal. Mar. 27, 2015) (holding that plaintiff lacked standing because she never alleged that she

would have purchased an alternative product but for defendant’s conduct). Accepting these

allegations as true and in the class plaintiffs’ favor—as the court must for now—the court

concludes the class plaintiffs have alleged an injury in fact.

       Second, to satisfy the standing requirement of traceability, “the defendant[s’] conduct

must have caused the injury.” Benham v. Ozark Materials River Rock, LLC, 885 F.3d 1267,

1273 (10th Cir. 2018). “[T]he ‘traceability’ of a plaintiff’s harm to the defendant’s actions need

not rise to the level of proximate causation.” Habecker v. Town of Estes Park, Colo., 518 F.3d

1217, 1225 (10th Cir. 2008). But “Article III does ‘require proof of a substantial likelihood that

the defendant’s conduct caused plaintiff’s injury in fact.’” Id. (quoting Nova Health Sys. v.

Gandy, 416 F.3d 1149, 1156 (10th Cir. 2005)).

       Here, the class plaintiffs allege that Mylan engaged in unlawful anticompetitive conduct

and unfair or deceptive practices. The class plaintiffs allege that Mylan’s actions caused them to

pay inflated prices for the EpiPen. And, the class plaintiffs allege, but for Mylan’s unlawful

conduct, they would have paid less for the EpiPen (both branded and generic versions). The



                                                 103
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 104 of 128




court finds these alleged injuries are “fairly traceable” to Mylan’s alleged conduct, and they

suffice to satisfy the standing requirement at the pleading stage.

                       2. Preemption

       The Mylan Defendants next assert that federal patent law preempts the class plaintiffs’

state consumer protection law claims. In essence, the Mylan Defendants argue that the class

plaintiffs are using state consumer protection laws to regulate the EpiPen’s price—a patented

product. The Mylan Defendants contend that federal patent law preempts these claims because

the patent holder maintains the exclusive right to make pricing decisions about its patented

product. Doc. 95 at 85–87 (first citing Biotech. Indus. Org. v. District of Columbia, 496 F.3d

1362, 1374 (Fed. Cir. 2007) (holding that federal patent law preempted the District of

Columbia’s Prescription Drug Excessive Pricing Act of 2005 because the “underlying

determination about the proper balance between innovators’ profit and consumer access to

medication . . . is exclusively one for Congress to make,” and the local law stood “as an obstacle

to the federal patent law’s balance of objectives”); then citing Se. Pa. Transp. Auth. v. Gilead

Scis., Inc., 102 F. Supp. 3d 688, 703 (E.D. Pa. 2015) (holding that “[t]o the extent that plaintiffs

seek to use state law to challenge [defendant’s] exercise of its exclusive patent rights to make

pricing decisions, plaintiffs’ claims are preempted”)).

       The class plaintiffs respond that their state consumer protection claims don’t challenge

Mylan’s rights under the patent laws to make pricing decisions. Instead, the class plaintiffs

explain, their state consumer protection law claims allege that Mylan engaged in unfair methods

of competition, unfair or deceptive acts or practices, or unconscionable acts or practices that

violated various state consumer protection laws. The class plaintiffs allege that these violations

furthered defendants’ scheme to charge inflated prices for the EpiPen. According to the class



                                                104
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 105 of 128




plaintiffs, Mylan did not confine its conduct to lawful use of its patent rights. Instead, the class

plaintiffs allege, Mylan engaged in unlawful conduct that caused consumers to pay inflated

prices for the EpiPen.

       As the class plaintiffs point out, the Mylan Defendants cited no authority holding that

federal patent law permits a patent holder to commit unfair and deceptive practices that violate

state consumer protection laws—simply because it owns patent rights. Indeed, many courts have

concluded just the opposite. These cases hold that federal patent law does not preempt state

consumer protection claims when a state law claim “‘address[es] entirely different wrongs[,]’

‘provide[s] different forms of relief,’ and ‘is not an impermissible attempt to offer patent-like

protection to subject matter addressed by federal law.’” In re Loestrin 24 Fe Antitrust Litig., 261

F. Supp. 3d 307, 357 (D.R.I. 2017) (quoting Dow Chem. Co. v. Exxon Corp., 139 F.3d 1470,

1478 (Fed. Cir. 1998)). “For the claim to escape preemption, it must seek a remedy for ‘bad

faith misconduct in the marketplace,’ rather than ‘bad faith misconduct in the PTO.’” Id. (citing

Dow Chem., 139 F.3d at 1476–78). This standard requires a plaintiff to “allege and ultimately

prove, fraud on the PTO or bad faith in the marketplace, regardless of whether the underlying

state claim demands proof of such conduct.” Id. (citation omitted) (emphasis added).

       Applying that legal standard to the allegations here, the class plaintiffs have alleged that

Mylan has committed a variety of misconduct in the marketplace and thus violated the state

consumer protection laws. Class Complaint ¶¶ 684.a.–684.bb. Specifically, the Class Complaint

alleges that Mylan violated state consumer protection laws by “engaging in misleading, false,

unfair and/or deceptive acts or practices by foreclosing from consumers and the general public

the opportunity to purchase cheaper generic versions of the EpiPen and/or cheaper products that

could have competed with the EpiPen through anticompetitive practices including patent misuse,



                                                 105
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 106 of 128




reverse ‘pay-for-delay’ settlements, and sham citizens’ petitions as described herein.” Id. ¶

684.x.

         Other courts have found allegations like this sufficient to state plausible consumer

protection law claims not preempted by the federal patent laws. See, e.g., Picone v. Shire PLC,

No. 16-cv-12396-ADB, 2017 WL 4873506, at *14 (D. Mass. Oct. 20, 2017) (denying portion of

Rule 12(b)(6) motion seeking dismissal of state consumer protection and antitrust law claims

based on preemption because those claims “are based on tortious conduct in the marketplace—

i.e., the purportedly illegal settlement agreements—that require different elements than any

arguably corresponding federal patent law claim (such as patent invalidity), and are therefore not

protected or governed by federal patent law”); In re Loestrin 24 Fe Antitrust Litig., 261 F. Supp.

3d at 357 (holding on a Rule 12(b)(6) motion to dismiss that federal patent law did not preempt

plaintiffs’ state consumer protection law claims because plaintiffs alleged that defendants

enforced their patent in the marketplace with bad faith); In re DDAVP Indirect Purchaser

Antitrust Litig., 903 F. Supp. 2d 198, 224 (S.D.N.Y. 2012) (holding on a Rule 12(b)(6) motion

that the patent laws didn’t preempt plaintiffs’ state consumer protection law claims because

plaintiffs alleged other “wrongful conduct in the marketplace” to support the claims such as “an

invalid Orange Book listing, sham patent infringement litigation, and a sham citizen petition”).

         The court denies the Mylan Defendants’ motion to dismiss the class plaintiffs’ state

consumer protection law claims based on a federal preemption defense.

                        3. Elements of the State Consumer Protection Law Claims

         The Mylan Defendants next contend that the class plaintiffs have failed to plead the

elements of their state consumer protection law claims. Specifically, the Mylan Defendants

argue that the Class Complaint never alleges: (1) deceptive or misleading conduct; (2) unfair or



                                                 106
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 107 of 128




unconscionable conduct; (3) actual loss; (4) reliance; (5) causation; or (5) the requisite

particularity to support the claims. The court rejects each of these arguments.

       First, the Mylan Defendants assert that the Class Complaint never pleads any deceptive

or misleading conduct capable of supporting any of their state consumer protection law claims.

As the class plaintiffs explain, the various state consumer protection laws pleaded in the Class

Complaint differ in their language. But all of them prohibit deceptive or misleading acts or

practices in trade or commerce.

       Our court and many others have recognized that the question whether an act is deceptive

is a factual one for the jury to decide. Tufts v. Newmar Corp., 53 F. Supp. 2d 1171, 1177 (D.

Kan. 1999) (citing Farrell v. Gen. Motors Corp., 815 P.2d 538, 547 (Kan. 1991)); see also

Organic Consumers Assoc. v. Sanderson Farms, Inc., 284 F. Supp. 3d 1005, 1014 (N.D. Cal.

2018) (“Whether a business practice is deceptive [and thus violates the California consumer

protection laws] is generally a question of fact that requires weighing of evidence from both

sides.”); Nature’s Prods., Inc. v. Natrol, Inc., 990 F. Supp. 2d 1307, 1322 (S.D. Fla. 2013)

(holding that the jury must decide whether a seller’s representation (i.e., that certain healthcare

products were gluten free) constituted an unfair or deceptive trade practice under the Florida

statute because it presented “a question of fact for the jury to determine”); Quinn v. Walgreen

Co., 958 F. Supp. 2d 533, 543 (S.D.N.Y. 2013) (“Under either [the New York or Connecticut

consumer protection] statute, whether a particular act or practice is deceptive is usually a

question of fact.”) (citations omitted)).

       Here, the class plaintiffs assert that they have alleged various deceptive acts capable of

supporting a finding or inference that Mylan violated state consumer protection laws. The court

agrees. The Class Complaint alleges that Mylan made several misrepresentations as part of



                                                 107
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 108 of 128




defendants’ scheme to monopolize the EAI market and charge consumers inflated prices for the

EpiPen. These misrepresentations include: misinformation about Auvi-Q and its bioequivalence

to the EpiPen (Class Complaint ¶¶ 229–31); misleading statements about EpiPen’s status as the

“preferred brand” and suggesting that Auvi-Q’s exclusion from drug formularies was based on

clinical recommendations and not Mylan’s huge, conditional rebates (id. ¶¶ 232–34); false

representations about the medical necessity of the EpiPen 2-Pak (id. ¶¶ 335–46); Ms. Bresch’s

false statement that Mylan had invested $1 billion in developing the EpiPen to create “access and

awareness and improv[e] the product” (id. ¶ 375); and falsely claiming that 80% of consumers

with insurance pay nothing for EpiPen (id. ¶¶ 403–04).

       The Mylan Defendants assert that these alleged misrepresentations cannot possibly

support state law consumer protection claims because none amounted to material representations,

i.e., these statements did not affect consumers’ purchasing decisions because no reasonable

person would attach importance to them. The court cannot reach this conclusion as a matter of

law based on the allegations pleaded by the class plaintiffs. Indeed, as the class plaintiffs argue,

in the context of reviewing orders issued by the Federal Trade Commission, courts have

recognized the FTC’s presumption of materiality for matters “that significantly involve health,

safety, or other areas with which the reasonable consumer would be concerned, including a claim

that concerns the purpose, safety, efficacy, or cost of the product or service, its durability,

performance, warranties or quality or a finding by another agency regarding the product.”

Novartis Corp. v. FTC, 223 F.3d 783, 786 (D.C. Cir. 2000) (citations and internal quotations

marks omitted) (emphasis added); see also Kraft, Inc. v. FTC, 970 F.2d 311, 322 (7th Cir. 1992)

(enforcing an FTC order finding that Kraft had misrepresented information about the amount of

calcium contained in its cheese Singles relative to the calcium content in five ounces of milk and



                                                 108
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 109 of 128




concluding that the evidence supporting the presumption of materiality). It is plausible to infer

from the class plaintiffs’ allegations that a consumer would find the alleged misrepresentations

about the EpiPen’s cost material to consumers. The same is true for the medical necessity of the

2-Pak and Auvi-Q’s bioequivalence to the EpiPen. The court thus finds that the class plaintiffs’

allegations sufficiently allege material misrepresentations to support the state consumer

protection law claims and survive dismissal at the pleading stage.

       Also, the Mylan Defendants assert that none of the alleged misrepresentations about the

EpiPen price could have misled consumers about the actual price or the nature of the product.

The court disagrees. The class plaintiffs direct the court to at least two alleged

misrepresentations that—when viewed in the class plaintiffs’ favor—permit a plausible inference

that these statements were deceptive. First, the Class Complaint alleges that Mylan stated

publicly on its website and in the media that “80% of consumers with insurance pay nothing for

the EpiPen.” Class Compl. ¶ 403. The Class Complaint alleges that this statement is a

pernicious “half-truth” because, as one commentator has questioned, the EpiPen’s retail price is

over $600 and many Americans have high-deductible health plans that require making payments

out of pocket before insurance coverage applies. Id. Also, the class plaintiffs contend, this

statement ignores the costs that insurance companies incur to pay for the EpiPen which, in turn,

produces increased premiums and higher co-pays. Id. ¶ 404. Construing the allegations in the

class plaintiffs’ favor, it is plausible to infer that this statement misled consumers about the

EpiPen’s true price.

       Next, the class plaintiffs assert that Ms. Bresch falsely stated during a Forbes Summit

interview that “ Mylan has invested $1 billion in developing the EpiPen in creating access and

awareness and improving the product.” Id. ¶ 375 (citation and internal quotation marks omitted).



                                                 109
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 110 of 128




The Class Complaint alleges that this statement was false because Mylan did not spend $1 billion

on actual product improvement but, instead, spent it on lobbying and paying its executives. Id. ¶

385. Accepting these allegations as true—as the court must on a motion to dismiss—it is

plausible to infer that these false statements misled consumers about the EpiPen and influenced

their purchasing decisions.24

        The Mylan Defendants also contend that Mylan’s statements about the medical necessity

of the EpiPen 2-Pak are not deceptive. For support, the Mylan Defendants have submitted a

chart comparing statements from an August 2011 press release about the 2-Pak with NIAID and

WAO guidelines. Doc. 95-9. In doing so, the Mylan Defendants ask the court to construe the

medical guidelines and find that they support Mylan’s statement in the press release that its

decision to sell only the EpiPen 2-Pak “aligns” with medical guidelines. Id. at 3. The court

cannot properly decide this factual dispute on a motion to dismiss. Also, the class plaintiffs

assert that the press release is misleading because it omits material facts. These allegations

suffice to allege that Mylan’s statements about the EpiPen 2-Pak were deceptive or misleading.

        Finally, the Mylan Defendants argue that the alleged misleading statements about Auvi-Q

cannot support the state consumer protection law claims. The Mylan Defendants contend that


                                                            
24
               The Mylan Defendants also assert that Ms. Bresch’s statements to Forbes are not actionable
because she did not make them to consumers. For support, the Mylan Defendants cite Group Health
Plan, Inc. v. Philip Morris, Inc., 68 F. Supp. 2d 1064 (D. Minn. 1999). In that case, the Minnesota
federal court dismissed plaintiffs’ claims asserted under the Minnesota consumer protection laws because
the complaint “contain[ed] no allegations that Defendants were attempting to sell their products” when
they made the alleged misrepresentations while testifying before Congress. Id. at 1069. Also, plaintiffs
“[did] not allege that they purchased any products from Defendants.” Id. Those facts differ significantly
from the ones here.

        The class plaintiffs have alleged that they purchased the EpiPen. Also, the class plaintiffs allege
that Ms. Bresch made the false statements to Forbes as part of defendants’ scheme to monopolize the
market and inflate the EpiPen’s price. It is plausible to infer from the Class Complaint’s allegations that
Ms. Bresch directed the statements to consumers—through an interview with a nationally circulated
magazine—as part of defendants’ scheme to sell the EpiPen to consumers at inflated prices.

                                                    110
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 111 of 128




the statements could not have caused consumers to purchase EpiPen over Auvi-Q because the

class plaintiffs never allege that Auvi-Q was a superior product or less expensive than EpiPen.

The Mylan Defendants assert that the class plaintiffs could make no such allegations because, in

October 2015, Sanofi recalled Auvi-Q from the market. As the class plaintiffs argue, however,

the Mylan Defendants ignore the context of the alleged misrepresentations about Auvi-Q. The

Class Complaint alleges that Mylan made the misrepresentations as part of defendants’ scheme

to restrain competition in the EAI market and, specifically, to block Auvi-Q from that market.

See Class Compl. ¶ 235. On a motion to dismiss, the court cannot determine—as a matter of

law—whether Auvi-Q left the market because of manufacturing issues or, as the class plaintiffs

assert, Mylan’s conduct prevented it from gaining traction in the market. The court thus finds

that the allegedly deceptive and misleading statements about Auvi-Q suffice to support the state

consumer protection law claims.

       Second, the Mylan Defendants argue that the class plaintiffs never allege any unfair

practices that violate state consumer protection laws. Largely, the Mylan Defendants premise

this argument on ones that defendants asserted earlier in their briefs. The Mylan Defendants

contend that the Class Complaint fails to allege that Mylan engaged in any anticompetitive or

fraudulent conduct capable of supporting a finding or inference that it engaged in unfair practices

violating state consumer protection laws. But the court already has determined that the Class

Complaint plausibly alleges that defendants—including Mylan—violated the antitrust and RICO

laws by implementing a fraudulent scheme to monopolize the market and force consumers to pay

inflated prices for EpiPen. As explained in the next paragraph, these allegations also suffice to

assert plausibly that Mylan engaged in unfair practices violating state consumer protection laws.




                                               111
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 112 of 128




          As both parties explain in their briefs, states apply different standards to determine what

constitutes unfair or unconscionable conduct capable of violating state consumer protection laws.

Some states employ the “cigarette test,” examining whether the alleged unfair practice: (1)

offends established public policy; (2) is immoral, unethical, oppressive, unscrupulous; and (3)

causes substantial injury to consumers. See, e.g., Zito v. United Techs. Corp., No. 3:15-cv-

744(AWT), 2016 WL 2946157, at *6 (D. Conn. Mar. 11, 2016) (explaining that Connecticut has

adopted the “cigarette” test for determining when a practice is unfair under the Connecticut

Unfair Trade Practices Act); see also Hucke v. Kubra Data Transfer Ltd., Corp., 160 F. Supp. 3d

1320, 1328 (S.D. Fla. 2015) (applying the “cigarette test” to a Florida Deceptive and Unfair

Trade Practices Act claim); Hanrahan v. Specialized Loan Servicing, LLC, 54 F. Supp. 3d 149,

154 (D. Mass. 2014) (applying the “cigarette test” to the Massachusetts Consumer Protection

Act); Rodriguez v. Chase Home Fin., LLC, No. 10 C 05876CH, 2011 WL 5076346, at *3 (N.D.

Ill. Oct. 25, 2011) (applying the “cigarette test” to an Illinois Consumer Fraud Act claim).

          Other states apply a “substantial injury” test, considering whether the alleged unfair

practice: (1) produces substantial injury to consumers; (2) is not the type of injury that a

consumer reasonably could avoid; and (3) is not outweighed by countervailing benefits to

consumers or competition. See, e.g., Kautsman v. Carrington Mortg. Servs., LLC, No. C16-

1940-JCC, 2017 WL 8727860, at *1 (W.D. Wash. Nov. 3, 2017) (applying the “substantial

injury” test to a Washington Consumer Protection Act claim); Sager v. Hous. Comm’n of Anne

Arundel Cty., 957 F. Supp. 2d 627, 642 (D. Md. 2013) (applying the “substantial injury” test to a

Maryland Consumer Protection Act claim); Darling v. W. Thrift & Loan, 600 F. Supp. 2d 189,

202 (D. Me. 2009) (applying the “substantial injury” test to a Maine Unfair Trade Practices Act

claim).



                                                  112
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 113 of 128




        The class plaintiffs have demonstrated that their allegations suffice to state a claim under

either one of these tests. The Class Complaint adequately alleges the three elements of first test

recited above—the “cigarette test.” First, the class plaintiffs allege that Mylan’s unfair acts

offend public policy. Class Compl. ¶ 1012. Construing their allegations in the class plaintiffs’

favor, Mylan’s alleged unfair conduct offended the public policy against anticompetitive and

fraudulent conduct and the public policy favoring consumer protection.25 Second, the class

plaintiffs allege that the conduct is “immoral, unethical, oppressive, [and] unscrupulous . . . .”

See, e.g., Votto v. Am. Car Rental, Inc., 871 A.2d 981, 985 (Conn. 2005). One court has defined

the second prong of this test as including “[a] trade practice that is undertaken to maximize the

defendant’s profit at the expense of the plaintiff’s rights . . . .” Id. (applying the cigarette test to a

Connecticut Unfair Trade Practices Act claim). One reasonably can infer that Mylan’s alleged

conduct satisfies that definition under the test’s second prong. Finally, the class plaintiffs allege

that the unfair conduct substantially injured consumers. Id. Taking the allegations as true, the

Class Complaint alleges that Mylan’s conduct substantially injured the class plaintiffs by forcing

them to pay inflated prices for the EpiPen.

        The Class Complaint also plausibly alleges the elements of the second test—the

“substantial injury” test. Namely, it asserts that: (1) the class plaintiffs allege that Mylan’s

unfair conduct substantially harmed consumers by requiring them to pay inflated prices for the

EpiPen; (2) the class plaintiffs allege that they could not have avoided this injury because

                                                            
25
               The Mylan Defendants assert that public policy supports Mylan’s freedom to set prices for the
EpiPen—as its patent holder—because the exclusivity granted by patent rights encourages innovation.
Here, the class plaintiffs allege that Mylan did more than simply set prices as a patent holder. Instead, the
Class Complaint alleges that Mylan engaged in various anticompetitive and fraudulent competition for the
purpose of restraining competition. The court recognizes that these are just allegations in the Class
Complaint, but the court must accept them as true facts on a motion to dismiss. Taking them as true,
public policy does not favor this type of conduct.


                                                    113
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 114 of 128




Mylan—through its unfair conduct—restrained competition, limited consumer choice, and

prevented consumers from accessing competing products, and (3) the class plaintiffs identify no

countervailing benefits to consumers or competition that could outweigh Mylan’s unfair conduct.

        In sum, the court concludes that the class plaintiffs’ allegations plausibly allege unfair

practices sufficient to support their state consumer protection law claims.26

        Third, the Mylan Defendants assert that the state consumer protection law claims fail as a

matter of law because the class plaintiffs never allege that they sustained an actual injury or

ascertainable loss. The Mylan Defendants’ arguments mirror the ones that they asserted to attack

the class plaintiffs’ standing. For the same reasons already explained, the court rejects the Mylan

Defendants’ arguments. The class plaintiffs have pleaded economic loss adequately to support

state law consumer protection claims.

        Fourth, the Mylan Defendants argue that the class plaintiffs have failed to plead reliance.

But, when pleading their state consumer protection law claims, the Class Complaint explicitly

alleges that the class plaintiffs relied on Mylan’s misrepresentations and omissions about the

EpiPen. See, e.g., Class Complaint ¶¶ 716, 729, 748, 789, 806, 820, 835, 848, 863, 878, 893,

910, 925, 941, 956, 971, 986, 1001, 1018, 1036, 1050, 1063, 1076, 1101, 1115, 1127, 1141,

1155, 1168, 1183, 1196, 1211, 1225, 1239, 1253, 1267, 1281, 1296, 1312, 1328, 1343, 1357,

1372, 1386, 1401, 1416.




                                                            
26
               The Mylan Defendants also assert that the class plaintiffs fail to allege a claim under California’s
Unfair Competition Law (“UCL”). This law requires a plaintiff to allege that defendant violated some
other law. See Moran v. Prime Healthcare Mgmt., Inc., 208 Cal. Rptr. 3d 303, 311 (Cal. Ct. App. 2016)
(explaining that “violation of another law is a predicate for stating a cause of action under the UCL’s
unlawful prong” (citation and internal quotation marks omitted)). As the court already has concluded, the
class plaintiffs plausibly have alleged that defendants (including Mylan) violated other laws—including
the antitrust laws and RICO. These allegations suffice to support a plausible claims under the California
UCL.

                                                       114
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 115 of 128




        The Mylan Defendants contend that the class plaintiffs’ reliance allegations are just

conclusory, and thus insufficient to support the state consumer protection law claims. In the

context of a fraud claim, our court has held that a plaintiff—to satisfy Rule 9(b)’s heightened

pleading standard—need only allege that it relied on an alleged misrepresentation. Such

allegations need not assert “details concerning its reliance” because “the Tenth Circuit’s standard

does not require more.” In re Syngenta AG MIR 162 Corn Litig., 131 F. Supp. 3d 1177, 1228 (D.

Kan. 2015) (first citing Koch v. Koch Indus., Inc., 203 F.3d 1202, 1236 (10th Cir. 2000); then

citing Mattos v. Eli Lilly & Co., No. 12-1014-JWL, 2012 WL 1893551, at *7 n.7 (D. Kan. May

23, 2012) (Lungstrum, J.)). In Syngenta, Judge Lungstrum held that a plaintiff’s allegation that it

had relied on the alleged misrepresentations sufficed to state a fraud claim and that defendant

was “free to ask about the details of [the plaintiff’s] reliance in discovery.” Id. Applying the

same rationale here, the class plaintiffs’ allegations that they relied on Mylan’s

misrepresentations adequately state a claim for relief. Like Judge Lungstrum explained in

Syngenta, the Mylan Defendants can inquire during discovery about the details of that alleged

reliance.

        Also, as the class plaintiffs correctly assert, a majority of their state consumer protection

law claims do not require them to plead reliance.27 And, for other states, the class plaintiffs need

                                                            
27
               These state consumer protection laws include: Arizona (Siemer v. Assocs. First Capital Corp.,
No. CV97-281TUCJMRJCC, 2001 WL 35948712, at *4 (D. Ariz. Mar. 30, 2001) (holding that plaintiffs’
purchases of credit life insurance was “alone . . . sufficient to show reliance to the degree necessary”
under the Arizona Consumer Fraud Act)); Arkansas (Frelin v. Oakwood Homes Corp., No. CIV-2001-
53-3, 2002 WL 31863487, at *4 (Ark. Cir. Ct. Nov. 25, 2002)); Colorado (Hall v. Walter, 969 P.2d 224,
231 (Colo. 1998)); Connecticut (Hinchliffe v. Am. Motors Corp., 440 A.2d 810, 815–16 (Conn. 1981));
Delaware (Stephenson v. Capano Dev., Inc., 462 A.2d 1069, 1074 (Del. 1983)); Florida (Davis v.
Powertel, Inc., 776 So. 2d 971, 974 (Fla. Dist. Ct. App. 2000)); Hawaii (Courbat v. Dahana Ranch, Inc.,
141 P.3d 427, 435 (Haw. 2006)); Illinois (Connick v. Suzuki Motor Co., Ltd., 675 N.E.2d 584, 593 (Ill.
1996)); Kansas (Kan. Stat. Ann. § 50-626(b)(1); see also Midland Pizza, LLC v. Sw. Bell Tel. Co., No.
10-2219-CM-GLR, 2010 WL 4622191, at *3 (D. Kan. Nov. 5, 2010) (citing Pattern Instructions Kansas,
Civil 4th § 129.01-A)); Kentucky (Telcom Directories, Inc. v. Commonwealth ex rel. Cowan, 833
S.W.2d 848, 850 (Ky. Ct. App. 1991)); Maine (Doll v. Ford Motor Co., 814 F. Supp. 2d 526, 549 (D.

                                                    115
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 116 of 128




not plead reliance when they allege misrepresentations by concealment or omission. See In re

Motor Fuel Temperature Sales Practices Litig., 292 F.R.D. 652, 663 & n.5 (D. Kan. 2013)

(holding that plaintiffs need not prove actual reliance to support their California Unfair

Competition Law claims because “actual reliance is presumed given [defendant’s] material

misrepresentations and omissions”). See also, e.g., Glenn v. Hyundai Motor Am., No. SA CV

15-2052-DOC, 2016 WL 3621280, at *12–13 (C.D. Cal. June 24, 2016) (holding that plaintiff

stated a claim under the Alabama Deceptive Trade Practices Act based on defendants’ alleged

omissions that had plaintiff known the truth, he would not have made the purchase); Wright v.

Kia Motors Am., Inc., No. Civ. 06-6212-AA, 2007 WL 316351, at *3 (D. Or. Jan. 29, 2007)

(denying Rule 12(b)(6) motion to dismiss Oregon Unfair Trade Practices Act claim because

plaintiff need not allege reliance when she alleged that defendant failed to disclose material

facts). The Class Complaint here alleges various omissions of material fact that allow the court

to presume reliance under these state consumer protection statutes. See Class Complaint ¶¶

684.c., 684.e., 684.i., 684.j., 684.m., 684.n., 684.o.–684.t., 684.aa., 747–49.




                                                            
Md. 2001) (discussing the pleading requirements of a Maine Unfair Practices Act claim); Tungate v.
MacLean-Stevens Studios, Inc., 714 A.2d 792, 797 (Me. 1998)); Maryland (Md. Code Ann. Com. Law §
13-302); Massachusetts (Heller Fin. v. INA, 573 N.E.2d 8, 13 (Mass. 1991)); Michigan (Evans v.
Ameriquest Mortg. Co., No. 233115, 2003 WL 734169, at *3 (Mich. Ct. App. Mar. 4, 2003)); Minnesota
(Wiegand v. Walser Auto. Grps., Inc., 683 N.W.2d 807, 811 (Minn. 2004)); Missouri (Hess v. Chase
Manhattan Bank, USA, N.A., 220 S.W.3d 758, 774 (Mo. 2007)); New Hampshire (Mulligan v. Choice
Mortg. Corp., No. CIV. 96-596-B, 1998 WL 544431, at *11 (D.N.H. Aug. 11, 1998)); New Jersey
(Gennari v. Weichert Co. Realtors, 691 A.2d 350, 366 (N.J. 1997)); New Mexico (Lohman v. Daimler-
Chrysler Corp., 166 P.3d 1091, 1098 (N.M. Ct. App. 2007); New York (Oswego Laborers’ Local 214
Pension Fund v. Marine Midland Bank, 647 N.E.2d 741, 745 (N.Y. 1995)); North Carolina (Pearce v.
Am. Defender Life Ins. Co., 343 S.E.2d 174, 180 (N.C. 1986)); Ohio (Delahunt v. Cytodyne Techs., 241
F. Supp. 2d 827, 835–36 (S.D. Ohio 2003)); South Carolina (City of Charleston v. Hotels.com, LP, 487
F. Supp. 2d 676, 680 (D.S.C. 2007)); Tennessee (Fleming v. Murphy, No. W2006-00701-COA-R3-CV,
2007 WL 2050930, at *8 (Tenn. Ct. App. July 19, 2007)); Utah (Andreason v. Felsted, 137 P.3d 1, 4
(Utah Ct. App. 2006)); Vermont (Vt. Stat. Ann. tit. 9, § 2461(b)); Washington (Indoor
Billboard/Washington, Inc. v. Integra Telecom of Wash., Inc., 170 P.3d 10, 19–22 (Wash. 2007)); West
Virginia (W. Va. Code Ann. § 46A-6-102(7)(M)).

                                                 116
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 117 of 128




       The Mylan Defendants also allege that the class plaintiffs’ consumer protection claims

under six state laws fail as a matter of law because those state laws require continuing harm. See

Doc. 95 at 49 n.45 (citing the Georgia, Illinois, Maine, Minnesota, New Mexico, and Ohio

statutes). But the Class Complaint seeks injunctive relief “to stop Mylan’s continued deceptive

and unconscionable practices of selling the EpiPen 2-Pak at an inflated price.” Class Compl. ¶

692 (emphasis added). The court finds these allegations sufficient to assert continuing harm

under the consumer protection laws of these six states.

       In sum, the court declines to dismiss the class plaintiffs’ state consumer protection law

claims based on the Mylan Defendants’ argument that the Class Complaint never pleads reliance.

       Fifth, the Mylan Defendants contend that the state consumer protection law claims fail

because the class plaintiffs never allege that Mylan’s conduct caused their injuries. The Mylan

Defendants rely again on their standing arguments. See Doc. 219 at 49. As the court concluded

above, the Class Complaint adequately alleges that Mylan’s unlawful conduct caused them to

pay inflated prices for the EpiPen, and—but for Mylan’s unlawful conduct—the class plaintiffs

would have paid less for the EpiPen (both branded and generic versions). These allegations

adequately allege causation sufficient to support the state consumer protection law claims.

       Finally, the Mylan Defendants assert that the class plaintiffs have failed to plead the state

consumer protection law claims with the particularity required by Fed. R. Civ. P. 9(b). The class

plaintiffs respond, asserting that at least 15 state consumer protection statutes don’t require a

plaintiff to plead the claims with particularity. Doc. 123 at 143 & n.567. The class plaintiffs

also assert that Rule 9(b)’s heightened pleading standards don’t apply to their allegations of fraud

by omission or concealment. See, e.g., AKH Co. v. Universal Underwriters Ins. Co., No. 13-

2003-JAR, 2015 WL 1809157, at *13 (D. Kan. Apr. 21, 2015) (explaining that “allegations of



                                                 117
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 118 of 128




concealment, as opposed to an affirmative act, do not require the same level of specificity

because often it is impossible to know of the exact ‘who, when, and where’ in relation to an

omission” and finding that “[g]iven this relaxed standard” the alleged claims about concealment

were sufficiently specific to state a fraud claim). And, the class plaintiffs contend, they need not

plead their claims based on unconscionable or unfair practices with particularity. See DuMont v.

Litton Loan Servicing, LP, No. 12 Civ. 2677(ER), 2015 WL 1061138, at *13 (S.D.N.Y. Mar. 11,

2015) (explaining that “ unconscionable commercial practices claims are distinct from

[consumer protection] claims sounding in fraud,” and thus “the heightened pleading standard of

Rule 9(b) does not apply” (citations and internal quotation marks omitted)).

        The court concludes that the class plaintiffs have alleged their state consumer protection

law claims with sufficient particularity. The Tenth Circuit “requires a complaint alleging fraud

to set forth the time, place and contents of the false representation, the identity of the party

making the false statements and the consequences thereof.” See Koch v. Koch Indus., Inc., 203

F.3d 1202, 1236 (10th Cir. 2000) (internal quotation and citation omitted). The Class Complaint

satisfies that standard here.

        It alleges several misrepresentations or omissions identifying the time, place, and

contents of the alleged misrepresentations, as well as the identity of the party making them. For

example, the Class Complaint alleges that Mylan CEO Heather Bresch gave false and misleading

statements about EpiPen’s profits and the reasons for raising the EpiPen’s profits in her

September 21, 2016, Congressional testimony, a January 27, 2017, interview with CBS News, a

June 9, 2017, interview with the Los Angeles Times, and a December 1, 2016, Forbes Summit

interview. See Class Complaint ¶¶ 194–95, 375, 417–48. It also alleges that Mylan made

misleading statements in an August 24, 2011, press release about its decision to sell the EpiPen



                                                 118
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 119 of 128




exclusively as a 2-Pak. Id. ¶¶ 336–39. It also alleges that Mylan made misleading statements in

its marketing materials distributed during 2014. Id. 232–34. According to the Class Complaint,

the marketing materials included misleading statements, touting EpiPen as the “preferred brand”

and suggesting that Auvi-Q’s exclusion was based on clinical recommendations—not the large,

conditional rebates that Mylan gave to formularies in exchange for offering EpiPen exclusively

and excluding Auvi-Q. Id.

       While it is true, the Class Complaint does not “provide[ ] details about how and when”

the class plaintiffs learned about the misrepresentations, this is of no legal consequence at this

stage. The “Tenth Circuit’s standard requires only particular information about the

representation itself.” In re Syngenta AG MIR 162 Corn Litig., 131 F. Supp. 3d at 1228 (citing

Near v. Crivello, 673 F. Supp. 2d 1265, 1285 (D. Kan. 2009)). As Judge Lungstrum explained,

“[a] plaintiff need not plead every fact that supports its claim of fraud, and such facts concerning

[a plaintiff’s] receipt of the statements are readily obtained in discovery.” Id. Here, the Class

Complaint’s allegations about Mylan’s purported misrepresentations satisfy the Tenth Circuit’s

standard.

       The Class Complaint also alleges the consequences of Mylan’s alleged

misrepresentations. They caused the class plaintiffs to pay inflated prices for the EpiPen. Id. ¶¶

492, 685–91. For all these reasons, the court finds that the class plaintiffs have alleged their state

consumer protection law claims with sufficient particularity—to the extent the asserted state law

claims even require such heightened pleading.

                       4. Specific State Consumer Protection Laws

       Finally, the Mylan Defendants assert that the court must dismiss the class claims under

certain state consumer protection laws because those statutes bar class actions. These statutes



                                                 119
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 120 of 128




include the state consumer protection laws of Alabama, Colorado, Georgia, Louisiana,

Mississippi, South Carolina, and Tennessee.

       The class plaintiffs respond, asserting that the Mylan Defendants’ argument is premature

and without merit. They contend that the court can address this issue at the class certification

stage, and, even then, other courts have permitted putative class action claims for state consumer

protection violations to proceed despite a statute’s restrictions on class actions. See Lisk v.

Lumber One Wood Preserving, LLC, 792 F.3d 1331, 1336 (11th Cir. 2015) (holding that the

Alabama Deceptive Trade Practices Act “restricting class actions . . . does not apply in federal

court. Rule 23 controls.”); Suchanek v. Sturm Foods, Inc., 311 F.R.D. 239, 264 (S.D. Ill. 2015)

(holding that Rule 23 governed plaintiffs’ consumer protection act claims under Alabama, South

Carolina, and Tennessee law despite those statutes’ restrictions on class actions); In re

Hydroxycut Mktg. & Sales Practices Litig., 299 F.R.D. 648, 654 (S.D. Cal. 2014) (explaining

that “[w]hether the state statutory provisions that prohibit class actions for unfair or deceptive

practices are ‘procedural’ or ‘substantive,’ is a difficult question with no clear answer” but

concluding that “these limitations on class actions [are] procedural in nature” so “Rule 23

governs Plaintiffs’ claims [under the consumer protection laws of Georgia, Louisiana, Montana,

South Carolina, and Tennessee] and are not subject to dismissal based on the state statutes

prohibiting class actions”).

       As the class plaintiffs recognize, the Tenth Circuit has not provided guidance on the

question. See Friedman v. Dollar Thrifty Auto. Grp., Inc., No. 12-cv-02432-WYD-KMT, 2015

WL 8479746, at *5 (D. Colo. Dec. 10, 2015) (acknowledging “there is no definitive guidance

from the Tenth Circuit or the Colorado Supreme Court” whether the Colorado Consumer

Protection Act’s class action restriction is substantive and thus controls over Rule 23). Although



                                                 120
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 121 of 128




our court has dismissed class claims asserted under the Colorado Consumer Protection Act at the

pleading stage based on that statute’s restriction for class actions, see In re Syngenta AG MIR

162 Corn Litig., 131 F. Supp. 3d at 1234–35, this ruling never addressed whether Colorado’s

class action restriction is a substantive right or procedural rule, see id.28

        Some courts have concluded that the Colorado class action restriction is substantive, thus

controlling, and requires dismissal of class action claims asserted under the Act. See, e.g.,

Davidson v. Apple, Inc., No. 16-CV-04942-LHK, 2018 WL 2325426, at *11 (N.D. Cal. May 8,

2018) (holding that the Colorado Consumer Protection Act’s restriction on class actions was a

substantive state right that barred plaintiffs’ class claims); Friedman, 2015 WL 8479746, at *5

(holding that “the class action restriction in the [Colorado Consumer Protection Act] is

substantive, not procedural . . . [a]ccordingly, the state statute controls rather than Fed. R. Civ. P.

23, and the class action restriction is enforceable”).

        Other courts have reached the opposite conclusion. See Andren v. Alere, Inc., No.

16cv1255-GPC(AGS), 2017 WL 6509550, at *21–22 (S.D. Cal. Dec. 20, 2017) (holding that the

class action restriction in the Colorado consumer protection statute was procedural and thus did

not bar class action claims asserted under the statute); In re Volkswagen Timing Chain Prod.

Liab. Litig., No. 16-2765(JLL), 2017 WL 1902160, at *24 (D.N.J. May 8, 2017) (holding that

class action restrictions in the state consumer protection laws of Colorado, Georgia, and South



                                                            
28
               The class plaintiffs argue that Syngenta differs because that case involved only money damages—
not claims for injunctive relief like the class plaintiffs seek here. The court is not persuaded by this
argument. Indeed, one Colorado court recently has concluded that the Colorado Consumer Protection Act
does not permit a plaintiff to seek injunctive relief “on behalf of either himself or a class.” Carter v.
Amica Mut. Ins. Co., No. 17-cv-02156-RM-MEH, 2018 WL 3093320, at *9 (D. Colo. June 22, 2018)
(citation omitted). The Mylan Defendants have not moved the court to dismiss the class plaintiffs’ claims
for injunctive relief under the Colorado Consumer Protection Act for this reason. Their motion only
seeks dismissal of the class claims generally. For reasons explained above, the court defers ruling this
issue until later in the litigation.

                                                    121
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 122 of 128




Carolina did not bar plaintiffs’ class action claims in federal court because Rule 23—not the state

law restrictions—governed the claims).

       While it is a close call, the court declines, for now, to dismiss these state law claims.

This interim conclusion is driven by pragmatic factors. For one, leaving these claims in the case

will not materially affect the discovery burden borne by the parties. Also, it may provide an

opportunity for our Circuit to decide the question conclusively. This tack, as plaintiffs suggest,

is one other courts have employed. See, e.g., Falk v. Nissan N. Am., Inc., No. 17-cv-04871-HSG,

2018 WL 2234303, at *7 (N.D. Cal. May 16, 2018) (denying defendant’s motion to dismiss a

plaintiff’s Colorado Consumer Protection Act claim based on the statute’s class action restriction

because the issue was too “premature to decide at this early stage” and “can be addressed on a

motion for class certification”); In re Volkswagen Timing Chain Prod. Liab. Litig., 2017 WL

1902160, at *24 (denying motion to dismiss state consumer protection law claims based on the

statutes’ class action restrictions because the motion “does not attack the sufficiency of the class

allegations in the Complaint, but rather directs its argument as to whether the action could

proceed as a class action in general” and “any attacks as to whether class certification is

appropriate can be raised at the class certification phase.”).

       Finding these cases persuasive and following their guidance, the court declines to dismiss

the state consumer protection claims asserted under the laws of Alabama, Colorado, Georgia,

Louisiana, Mississippi, South Carolina, and Tennessee on the Rule 12(b)(6) motion to dismiss.

But class plaintiffs are on notice that real doubt exists about the substance of these claims. And,

if the Mylan Defendants reassert these arguments at class certification or summary judgment, the

court will decide them then.




                                                 122
 
     Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 123 of 128




        The Mylan Defendants also argue that other state-specific grounds exist to dismiss the

class plaintiffs’ state consumer protection law claims. See Doc. 95 at 101 & n.78. But “[i]n the

interest of judicial economy,” the Mylan Defendants assert that the court need not confront all

these issues now. Id. And the Mylan Defendants reserve their right to address their additional

defenses on a motion for judgment on the pleadings under Rule 12(c). The class plaintiffs don’t

respond to this request. The court thus permits the Mylan Defendants to raise such arguments

later in the litigation, if they choose to do so.

        In sum, the court finds that the class plaintiffs have stated plausible claims for relief

under the various state consumer protection laws asserted in the Class Complaint. However, the

court still dismisses the state consumer protection law claims asserted under the laws of ten

states because the Class Complaint includes no named plaintiff who resides in those ten states.

See supra Part III.A.8. Those states include: Arizona, Idaho,29 Indiana,30 Louisiana,31 New

Mexico, Oregon, Vermont, Washington,32 Wisconsin, and Wyoming.33 The court also dismisses



                                                            
29
               See Doc. 569. After the class plaintiffs filed a voluntary dismissal of the only class plaintiff
residing in Idaho (Doc. 555), the Mylan Defendants filed a Notice asking the court to dismiss the Idaho
consumer protection claim for the same reasons asserted in their previously filed Motion to Dismiss
because a named plaintiff no longer exists in the Class Complaint.
30
       The Class Complaint names only one plaintiff who resides in Indiana—Alene McDaniel. Class
Compl. ¶ 29. But Ms. McDaniel voluntarily dismissed her claims on July 31, 2018. Doc. 829. So the
Class Complaint contains no named plaintiff residing in Indiana.
  
31
         See Doc. 569. The Notice described in note 29 supra also seeks dismissal of the Louisiana
consumer protection claim because the class plaintiffs filed a voluntary dismissal of the only class
plaintiff residing in Louisiana (Doc. 549).
32
        The Class Complaint names only one plaintiff who resides in Washington—Connie Stafford.
Class Compl. ¶ 61. But Ms. Stafford voluntarily dismissed her claims on July 24, 2018. Doc. 811. So
the Class Complaint contains no named plaintiff residing in Washington.
33
       The Class Complaint names only one plaintiff who resides in Wyoming—Curt Palmer. Class
Compl. ¶ 64. But Mr. Palmer voluntarily dismissed his claims on February 7, 2018. Doc. 139. So the
Class Complaint contains no named plaintiff residing in Wyoming.

                                                      123
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 124 of 128




the Class Complaint’s claim asserted under the Georgia Uniform Deceptive Trade Practices Act.

Kimberly Dollander is the only plaintiff who asserts a claim under this statute on her own behalf

and on behalf of other George residents. Class Compl. ¶ 855. But Ms. Dollander voluntarily

dismissed her claims on July 31, 2018. Doc. 829. The court does not dismiss the Georgia Fair

Business Practice Act claim, however, because two plaintiffs—Ms. Dollander and Local 282—

assert this claim on behalf of themselves and other Georgia residents. Class Compl. ¶ 841.

Because Local 282 remains a plaintiff in the case, the court does not dismiss the Georgia Fair

Business Practice Act claim.

                E. Unjust Enrichment

        Leaving no stone unturned, the class plaintiffs bring an unjust enrichment claim “under

the common law of all 50 states” and even one under the laws of unidentified “territories” of the

United States. Class Compl. ¶ 60. Because the Class Complaint includes no named plaintiff

who resides in Alaska, Arizona, the District of Columbia, Idaho, Indiana, Iowa, Louisiana,

Montana, New Mexico, North and South Dakota, Oregon, Puerto Rico, Rhode Island, Vermont,

Washington, Wisconsin, or Wyoming, the court dismisses the unjust enrichment claims asserted

under those states’ laws. See supra Part III.A.8.

        The Mylan Defendants34 seek dismissal of the remaining unjust enrichment claims,

arguing—similar to other arguments that the court has addressed above—that the class plaintiffs

cannot assert unjust enrichment claims when they received exactly what they paid for—i.e., the

EpiPen. Other courts have refused to dismiss unjust enrichment claims for this reason at the

motion to dismiss stage because, generally, the question whether a plaintiff received the benefit

of the bargain is a factual one. See, e.g., In re Auto. Parts Antitrust Litig., 29 F. Supp. 3d 982,

                                                            
34
               The Class Complaint asserts the unjust enrichment claim against just Mylan. Class Compl. ¶¶
1421–28.

                                                    124
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 125 of 128




1015 (E.D. Mich. 2014) (denying motion to dismiss unjust enrichment claims because the court

“disagree[d] with Defendants that the exchange of Fuel Senders for payment acts as a flat ban on

[plaintiffs’] unjust enrichment claims,” instead, “[t]he issue is whether the transaction was

unjust” and plaintiffs’ allegations that they “overpaid for Fuel Senders because Defendants fixed

the prices of Fuel Senders and rigged the bidding process . . . [gave] rise to factual questions as

to whether the consideration was reasonable, valuable or adequate”); In re Bisphenol-A (BPA)

Polycarbonate Plastic Prods. Liab. Litig., 687 F. Supp. 2d 897, 910 (W.D. Mo. 2009) (holding

that defendants’ argument that “there can be no unjust enrichment because Plaintiffs received

what they bargained for” involved “factual matters that the Court cannot resolve while ruling on

a motion to dismiss”); In re K-Dur Antitrust Litig., 338 F. Supp. 2d 517, 545 (D.N.J. 2004)

(denying a Rule 12(b)(6) motion to dismiss unjust enrichment claims because “[p]laintiffs’

receipt of valuable medicine for their payments does not, as Defendants contend, bar an unjust

enrichment claim” and “[d]eterminations that depend on evaluating whether a benefit received

approximates the value paid are primarily questions of fact, and as such, are not appropriately

addressed on a motion to dismiss”). For the same reason, the court cannot conclude—as a matter

of law—that the class plaintiffs’ unjust enrichment claims fail simply because they have alleged

that they received the EpiPen in exchange for their payments.

       Instead, the court finds that the class plaintiffs have alleged facts that plausibly state a

claim for unjust enrichment. Although the elements of an unjust enrichment claim differ among

various state laws, generally, an unjust enrichment claim requires a plaintiff to allege that: (1) he

or she conferred a benefit on defendant, and (2) defendant’s retention of the benefit under the

circumstances is unjust. See Doc. 95-3 (Mylan Defendants submitted a chart showing the

pleading requirements for unjust enrichment claims under the various state laws asserted in the



                                                 125
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 126 of 128




Class Complaint);35 see also In re Estate of Sauder, 156 P.3d 1204, 1220 (Kan. 2007) (“The

theory of unjust enrichment rests upon three elements: (1) a benefit conferred; (2) an

appreciation or knowledge of the benefit by the one receiving the benefit; and (3) the acceptance

or retention of the benefit under such circumstances as to make it inequitable to retain the benefit

without payment of its value.” (citations omitted)).

        Here, the class plaintiffs have alleged facts sufficient to support the elements of an unjust

enrichment claim. The Class Complaint alleges that the class plaintiffs conferred a benefit on the

Mylan Defendants in the form of overpayments for the EpiPen. Class Compl. ¶ 1424. And, the

class plaintiffs assert, the Mylan Defendants’ retention of those benefits is unjust because they

procured the benefit through “price gouging, unconscionable sales, unlawful acts, and as set forth

[in other parts of the Class Complaint].” Id. ¶ 1427. These allegations suffice to state plausible

unjust enrichment claims under the remaining state laws asserted in the Class Complaint.

        IV.     Conclusion

        For reasons explained, the court grants defendants’ Motions to Dismiss in part.

The court dismisses:

        (1)     the class plaintiffs’ exclusive dealing claims against the Mylan Defendants based

                on discounts or rebates that Mylan offered to state or state agencies because the

                Noerr-Pennington doctrine immunizes them from liability;

        (2)      the class plaintiffs’ antitrust claim based on deceptive speech asserted against the

                Mylan Defendants to the extent the class plaintiffs base their claim on Mylan’s




                                                            
35
               The class plaintiffs agree that the Mylan Defendants’ chart provides the elements of unjust
enrichment claims under the various state laws asserted in the Class Complaint. See Doc. 123 at 147 n.
581.

                                                    126
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 127 of 128




             alleged failure to disclose that it paid physicians for their statements supporting

             the EpiPen 2-Pak;

       (3)   the class plaintiffs’ state law antitrust claims asserted against both sets of

             defendants under the laws of Alaska, Arizona, the District of Columbia, Iowa,

             New Mexico, North and South Dakota, Oregon, Puerto Rico, Rhode Island,

             Vermont, and Wisconsin because the Class Complaint includes no named plaintiff

             who resides in any of these states;

       (4)   the class plaintiffs’ state law antitrust claims asserted under the laws of Arkansas,

             Massachusetts, and Missouri because indirect purchasers may not bring a cause of

             action under these state statutes;

       (5)   the class plaintiffs’ state law claims based on unilateral conduct and asserted in

             Counts IV, V, and VI (monopolization, attempted monopolization, and tying)

             under California’s Cartwright Act (but not its the Unfair Competition Law) and

             under the laws of Kansas, New York, and Tennessee because these states do not

             recognize unilateral conduct claims;

       (6)   the class plaintiffs’ state law consumer protection claims asserted in Count VIII

             under the laws of Arizona, Idaho, Indiana, Louisiana, New Mexico, Oregon,

             Vermont, Washington, Wisconsin, and Wyoming and the Georgia Uniform

             Deceptive Trade Practices Act because the Class Complaint includes no named

             plaintiff who resides in any of these states; and

       (7)   the class plaintiffs’ unjust enrichment claims asserted in Count IX under the laws

             of Alaska, Arizona, the District of Columbia, Idaho, Indiana, Iowa, Louisiana,

             Montana, New Mexico, North and South Dakota, Oregon, Puerto Rico, Rhode



                                               127
 
    Case 2:17-md-02785-DDC-TJJ Document 896 Filed 08/20/18 Page 128 of 128




                Island, Vermont, Washington, Wisconsin, and Wyoming because the Class

                Complaint includes no named plaintiff who resides in any of these states.

        In all other respects, the court denies defendants’ Motions to Dismiss.

        IT IS THEREFORE ORDERED BY THE COURT that the Pfizer Defendants’

Motion to Dismiss Plaintiffs’ Consolidated Class Action Complaint (Doc. 92) is granted in part

and denied in part as set forth in this Order.

        IT IS FURTHER ORDERED THAT that the Mylan Defendants’ Motion to Dismiss

Plaintiffs’ Consolidated Class Action Complaint (Doc. 94) is granted in part and denied in part as

set forth in this Order.

        IT IS FURTHER ORDERED THAT the Mylan Defendants’ Request for Oral

Argument (Doc. 220) is denied.

        IT IS SO ORDERED.

        Dated this 20th day of August, 2018, at Kansas City, Kansas.

                                                       s/ Daniel D. Crabtree
                                                       Daniel D. Crabtree
                                                       United States District Judge

 

 




                                                 128
 
